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                     UNITED STATES DISTRICT COURT
                   NORHTERN DISTRICT OF CALIFORNIA
                          OAKLAND DIVISION




IN RE COLLEGE ATHLETE NIL
LITIGATION

                                            Case No. 4:20-cv-03919-CW




    SUPPLEMENTAL DECLARATION OF PROFESSOR ROBERT H. KLONOFF

 RESPONDING TO PROFESSOR CHARLES SILVER’S DECLARATION (Doc. 622-2)
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  I. INTRODUCTION 1


         1.   In a Declaration filed on September 26, 2024 (Doc. 536) (hereinafter “Klonoff”), I

opined that there was no legitimate basis for requiring separately appointed counsel for the

damages class and the injunctive class. In response, the Vogelsong Objectors (hereinafter, the

Colorado Objection) have submitted a Declaration by Professor Charles Silver, who disputes my

conclusions. Class Counsel have asked me to prepare a Supplemental Declaration responding to

Professor Silver’s Declaration. 2 In this Supplemental Declaration, I incorporate the Qualifications

(including my CV), Materials Relied Upon, and Background paragraphs from my prior

Declaration (Klonoff ¶¶ 4–24). 3


 II.    MY OPINIONS IN RESPONSE TO PROFESSOR SILVER’S DECLARATIONS


A. Summary of this Supplemental Declaration

         2.   In his Declaration, which focuses heavily on my initial Declaration, Professor Silver

contends that the class settlement in this case must be rejected because class counsel




   1
      All citations to court filings are to the court-assigned page numbers, not those in the original
filings.
    2
      I address solely Professor Silver’s Declaration and do not opine on any of the other points
raised in any of the objections.
    3
      One update regarding my qualifications: Subsequent to the filing of my initial Declaration,
Judge Stephen Bough issued an opinion in the nationwide antitrust litigation involving the real
estate industry, in which I served as an expert on attorneys’ fees. He noted that my “credentials
are extensive” and adopted my suggested methodology for calculating attorneys’ fees in the
context of multiple settlements. Burnett et al. v. National Association of Realtors, et al., 19-CV-
00332-SRB (W.D. Mo. Nov. 27, 2024) (Doc. 1622), slip op. 28, 29, 85.
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simultaneously represented both the Rule 23(b)(3) class for damages and the Rule 23(b)(2) class

for injunctive relief. He contends that this conflict of interest cannot be cured through anything

other than the appointment of separate counsel for the injunctive class because “informed client

consent . . . cannot be obtained in class actions.” Silver Decl. ¶ 9. Professor Silver relies heavily

on the Second Circuit’s opinion in In re Payment Card Payment Card Interchange Fee & Merch.

Disc. Antitrust, Litig., 827 F.3d 223 (2d Cir. 2016) (hereinafter Payment Card Interchange Fee).

          3.   In my opinion, Professor Silver’s analysis is flawed for many reasons. To begin with,

while not disputing that in the present case, unlike in Payment Card Interchange Fee, there were

sequential negotiations of the injunctive and damages claims, he claims that this approach is

meaningless in reducing conflicts. Silver ¶¶ 35–37. In making this argument, he cites no authority

and is forced to repudiate legions of cases (including Ninth Circuit case law, see Klonoff ¶ 44) that

have recognized the effectiveness of sequential negotiations in the analogous context of

minimizing conflicts when class counsel are negotiating both the class’s recovery and attorneys’

fees.

          4.   Moreover, Professor Silver ignores several critical differences between this case and

Payment Card Interchange Fee. For example, he ignores the crucial fact the that the injunctive

relief here is extraordinary (unlike in Payment Card Interchange Fee, where the injunctive relief

was worthless for most class members). He also ignores the important fact that class certification

here was contested (unlike the settlement class in Payment Card Interchange Fee). Indeed,

Professor Silver’s reliance on Payment Card Interchange Fee as his main authority is perplexing.

As discussed below (¶ 28, infra), he was an expert on attorneys’ fees in that case; in sworn

testimony he submitted prior to the Second Circuit’s opinion, he raved about the spectacular

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damages settlement negotiated by class counsel, who simultaneously represented both the damages

and injunctive claims. He did not even allude to any potential conflict. Here, by contrast, in sworn

testimony on behalf of objectors, he now accuses those same Payment Card Interchange Fee

attorneys of operating under a flagrant conflict of interest in negotiating that settlement. And even

after the Second Circuit’s opinion in Payment Card Interchange Fee, he has enthusiastically

supported attorneys’ fees for attorneys who simultaneously represent both damages and injunctive

relief claimants, again without even alluding to any potential conflict. See ¶ 29, infra.

       5.   Apart from the readily distinguishable Payment Card Interchange Fee case, Professor

Silver offers no authority in the context of damages and injunctive relief. He does not refute or

distinguish the countless cases approving settlements in which the same class counsel sought both

damages and injunctive relief.      Nor does he dispute that countless courts have recognized

sequential negotiation as the gold standard for reducing or eliminating conflicts when class counsel

are negotiating both recovery for the class and attorneys’ fees for class counsel. Moreover, his

positions here directly conflict with positions he has taken elsewhere—in expert declarations,

amicus briefing, and in his scholarship. Those other statements not only undermine his views here;

they directly support crucial points I made in my initial Declaration. At bottom, Professor Silver’s

Declaration does not alter my view that this Court should not unravel this landmark settlement and

require appointment of additional counsel.

B. Sequential Negotiations Here are Critical

       6.   In my original Declaration, I analogized the sequential negotiations here—negotiating

the injunctive relief and the various damages claims seriatim—to the well accepted practice of

avoiding conflicts in negotiating both class settlements and attorneys’ fees by first negotiating the
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class settlement and only then negotiating fees (Klonoff ¶¶ 40–45 & nn. 51–57). This fact alone

(wholly apart from the others noted in ¶¶ 15–16, infra) readily distinguishes this case from

Payment Card Interchange Fee and ensured structural integrity. 4

         7.   Professor Silver does not dispute that no such sequential negotiations were used in

Payment Card Interchange Fee. Nor does he dispute that (1) this analogy is squarely on point;

and (2) countless courts have relied on sequential negotiations as the gold standard to ensure

structural integrity when attorneys are simultaneously negotiating the class’s recovery and their

own fees. Instead, he asserts that “[s]equencing negotiations, so that fees are discussed after other

relief does not eliminate [the] conflict.” Silver ¶ 35. Put another way, Professor Silver urges this

Court to reject a well-recognized method for reducing or eliminating potential conflicts, even

though he cites no authority for his position, and even though his position (if accepted) would put

this Court in conflict with countless other courts that have recognized the value of sequential

negotiations, including the Ninth Circuit (see Klonoff ¶ 44). Separate negotiations here minimized




   4
     Professor Silver criticizes my use of the term “structural integrity” in my initial Declaration.
He suggests that I invented the term, and says he is “not certain” what it means and has to venture
a “guess.” Silver ¶ 20. He further criticizes me for not including a definition of the term in my
Declaration. Id. I find this criticism puzzling. The highly respected MDL judge in the landmark
Deepwater Horizon MDL litigation (Judge Carl Barbier) used this exact term—without including
a definition—in two separate opinions, see In re Oil Spill by Oil Rig Deepwater Horizon, 295
F.R.D. 112, 138 (E.D. La. 2013) (“Magistrate Judge Shushan’s involvement ensured structural
integrity during the negotiations.”) (emphasis added); In re Oil Spill by Oil Rig Deepwater Horizon
in Gulf of Mexico, on Apr. 20, 2010, 910 F. Supp. 2d 891, 918 (E.D. La. 2012) (also using the
term “structural integrity”), aff’d sub nom. In re Deepwater Horizon, 739 F.3d 790 (5th Cir. 2014);
and courts at all levels use similar phrases without including definitions, see, e.g., Amchem Prods.,
Inc., v. Windsor, 521 U.S. 591, 627 (1997) (using the term “structural assurance”); Payment Card
Interchange Fee, 827 F.3d at 231 (using the term “structural protection”).

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the risk that class counsel traded off the claims of one class for those of another, just as that

approach works to reduce the risk of conflicts in the attorneys’ fees context. Indeed, the settlement

here speaks for itself: Both the damages and injunctive remedies are tremendous and

unprecedented, a point Professor Silver does not dispute. 5 The settlement thus refutes any notion

that one class suffered at the expense of the other, or that, as Professor Silver claims, class

counsel’s “incentive to maximize [the injunctive portion] of the recovery was clearly nil.” Silver

¶ 32. Under this settlement, if approved, both classes will achieve excellent relief because class

counsel negotiated forcefully (and separately) for each group.




   5
      Professor Silver errs in contending that “the size of a settlement is irrelevant” when
considering whether class members received adequate representation. (Silver ¶ 12, emphasis
added). Numerous courts have recognized that the relief secured for the class is a relevant factor
in assessing alleged inadequacy of representation and conflicts of interest. See, e.g., In re
Volkswagen "Clean Diesel" Mktg., Sales Pracs., & Prods. Liab. Litig., 895 F.3d 597, 608 (9th Cir.
2018) ("we see no indication of an ‘irreparable conflict of interest,’ either in the structure of the
class or the terms of the settlement") (emphasis added); In re California Micro Devices Sec. Litig.,
168 F.R.D. 257, 261 (N.D. Cal. 1996) (“[T]he terms of a settlement may be so defective that they
themselves provide compelling evidence that the class representative did not ‘fairly and
adequately’ protect the interests of the class during settlement negotiations.”); Cohen v. Brown
Univ., 16 F.4th 935, 950–51 n.11 (1st Cir. 2021) (concluding that “the specter of intra-class conflict
raised by the Objectors is purely speculative” and that “[t]his conclusion is . . . confirmed by the
terms of the Amended Settlement Agreement”); Larson v. AT & T Mobility LLC, 687 F.3d 109,
133 n. 39 (3d Cir. 2012) (“while adequacy of representation cannot be determined solely by
reviewing the settlement benefits available to class members, examining such benefits may be
indicative of whether the Class Representatives did, in fact, vigorously represent the claims of all
class members”); Stephens v. Farmers Rest. Grp., 329 F.R.D. 476, 485 (D.D.C. 2019) (concluding
“that the absent Rule 23 class members were adequately represented,” in part, due to “the apparent
reasonableness of the settlement terms”). In fact, in Professor Silver’s main authority, Payment
Card Interchange Fee, the court specifically considered “the substance of the deal that was
struck”—particularly, the extremely weak injunctive relief—in holding “that class plaintiffs were
inadequately represented.” 827 F.3d at 236 (“the bargain that was struck between relief and release
on behalf of absent class members is so unreasonable that it evidences inadequate representation”).
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       8.   In what is presumably the best concrete example he could come up with to illustrate

the purported conflict here, Professor Silver states a concern that “every dollar moved from the

Additional Compensation Fund to the NIL Settlement Fund increases the fee award by 10 cents.”

Silver ¶ 30. He says the dangers are “obvious.” Id. In my view, this argument is meritless for

several reasons, and it does not begin to justify Professor Silver’s position that this massive

settlement should be rejected so that new counsel can be added to the negotiations.

       9.   First, his point that the concerns he notes are “obvious” does not resonate with me,

either as a scholar in this field or as a practicing attorney who has personally represented clients in

more than 100 class actions. I cannot imagine that this scenario described by Professor Silver was

ever given even a moment’s thought by any of the attorneys involved in this case—plaintiff or

defense—or by mediator Eric Green. It certainly was not a driving force behind this massive,

complicated settlement. Rather, it appears to be a case of an objector (and the objector’s supporting

expert) searching to find any conceivable conflict. Notably, as I discuss below, Professor Silver,

in his academic writings, has warned about the serious risk that class objectors will search for any

conceivable conflicts in order to extort payments from class counsel or to derive other benefits;

indeed, he has advocated that courts should be very cautious in finding that purported conflicts

require separate representation. See ¶ 35, infra. Here, of course, Professor Silver is advocating on

behalf of class objectors—whose attorneys are seeking to secure important benefits for themselves.

See ¶ 34, infra (noting that objectors’ counsel are arguing that they should be appointed as

additional counsel).

       10. Second, the attorneys’ fees aspect of the injunctive relief was not negotiated until after

the negotiation of the injunctive terms. ECF No. 494 at 5 n.4. As I have explained (see ¶ 6, supra;

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Klonoff ¶¶ 42–45), this sequential negotiation of fees is a well-settled technique to reduce or

eliminate any conflict concerns––a technique recognized by the Ninth Circuit. See Klonoff ¶ 44.

Moreover, the proposed fee structure hardly suggests a bias against the injunctive class. As

proposed by class counsel and supported by fee expert Brian Fitzpatrick, class counsel seek 20%

from the House damages recovery ($395 million) and 10% from the Carter damages recovery ($60

million), both over a ten-year period. For the injunctive relief––where the value could vastly

outstrip the value of the damages settlement—class counsel seek $20 million in fees up front and

then only up to 1.25% from future pool payments. ECF No. 583–5 ¶ 10. Thus, if the Court

approves the proposed fee structure, injunctive relief class members will inevitably get a larger

percentage of their value than the damages class members.

       11. Third, while Professor Silver raises what he calls an “obvious” concern in the text of

his Declaration, he makes clear in an accompanying footnote (Silver ¶ 30 n.6) that his concern is

anything but obvious. As he concedes, “Class Counsel have some contingent percentage fee

interest in the injunctive relief.” Id. (emphasis added). Thus, his assertion in the text (Silver ¶30)

that the “incentives [in the injunctive fee structure] are incompatible with zealous representation

of absent class members with injunctive claims” is refuted by his own footnote. This structure of

aligning attorneys’ fees with the class’s recovery ensures that as the class does better, class counsel

also do better. That is precisely the kind of incentive structure that Professor Silver has praised

elsewhere. For example, in his Declaration in support of attorneys’ fees in In re Namenda Direct

Purchaser Antitrust Litigation, No. 1:15-cv-07488-CM-RWL (Doc. 928) (Ex. A), ¶ 21, Professor

Silver noted that the goal in setting fees should be “to maximize class members’ net expected

recoveries—the amounts they expect to take home after paying their attorneys.” (emphasis added).

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That goal is met here by Professor Silver’s admission that class counsel have a contingent interest

in the injunctive relief. Silver ¶ 30 n.6.

 C. Payment Card Interchange Fee is Readily Distinguishable

        12. Professor Silver says that the question whether separate counsel are required for

damages and injunctive classes “depends upon the facts.” Silver ¶ 43. Yet he fails to grapple with

the crucial factual distinctions I identified between Payment Card Interchange Fee––his primary

authority––and the present case. Nor does he attempt to distinguish, on their facts, the many other

cases I cited approving class settlements in which the same attorneys sought both the damages and

injunctive relief.

        13. I have already discussed the fact that class counsel in Payment Card Interchange Fee

did not employ sequential negotiations—an established practice for addressing conflicts in the

attorneys’ fees negotiation process. That distinction alone is fatal to Professor Silver’s reliance on

Payment Card Interchange Fee. His only attempt to avoid the clear force of that distinction is to

claim that every court (including the Ninth Circuit) that has relied on sequential negotiations to

reduce conflicts got it wrong. Silver ¶ 34 (admitting that “judges have approved many settlements

in which class counsel negotiated fees for themselves after discussions of the relief for class

members concluded,” but stating that this is an “obvious violation of [] fiduciary duty”) (emphasis

added). In other words, Professor Silver’s approach works only if this Court is willing to cast aside

decades of settled law, including Ninth Circuit law.

        14. Apart from his weak challenge to the sequential negotiations that occurred here,

Professor Silver does not even attempt to address the various critical distinctions I articulated

between this case and Payment Card Interchange Bank.
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         15. First, Professor Silver ignores a critical distinction between the terms of the Payment

Card Interchange Fee settlement and the terms of the settlement in the present case. As I noted in

my prior Declaration (Klonoff ¶ 49), the majority of merchants in the (b)(2) class in Payment Card

Interchange Fee gained little or no benefit from the settlement; indeed, the value of the injunctive

portion was worthless to most class members. Here, by contrast, as I noted in my prior Declaration

(Klonoff ¶¶ 18, 25, 49), the injunctive relief here is extraordinary and historic. Given this fact,

which is directly relevant in assessing adequacy of representation, see ¶ 7 n.5, supra, it is difficult

to credit Professor Silver’s argument that class counsel’s “incentive to maximize [the injunctive]

portion of the recovery was clearly nil.” Silver ¶ 32. If that were so, one would have expected a

severely lopsided settlement that had massive damages but little or no meaningful injunctive relief.

But the actual settlement is very strong both for the damages class and the injunctive class, a point

Professor Silver does not dispute. 6 Again, Professor Silver fails to grapple with the fact that the

injunctive relief here is enormous while the injunctive relief in Payment Card Interchange Fee

was patently deficient; his failure is especially notable because he argues that whether separate

counsel must be appointed for damages and injunctive claims “depends upon the facts.” Silver ¶

43.

         16. Second, as I noted in my prior declaration (Klonoff ¶ 50), in contrast to Payment Card

Interchange Fee, in which there was no prior contested class certification ruling, the settlement




   6
     Professor Silver references my praise for the historic nature of this settlement (Silver ¶11);
significantly, he does not dispute my characterization and does not claim that the conflict he alleges
led to an inadequate settlement. His contention that “the size of a settlement is irrelevant” when
considering whether class members received adequate representation (Silver ¶ 12) is incorrect. See
¶ 7 n.5, supra.
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here occurred only after the issue of class certification was extensively litigated and the Court

granted class certification. 7 The Second Circuit underscored the importance of the settlement class

context there by noting: “[W]e have blessed multi-class settlements that were the product of

unitary representation, but those were entered into after class certification.” 827 F.3d at 236

(emphasis in original). The Court recognized that in the latter context (the context here), it is

“more skeptical of allegations that subclass conflicts require[] separate representation.” Id. Again,

despite his statement that the analysis of potential conflicts must be fact-based, Professor Silver

ignores this critical difference between Payment Card Interchange Fee and this case—even though

the Second Circuit itself made clear (even using italicized language) that a case involving a

settlement after class certification would present a wholly different context.

         17. While Professor Silver ignores the Second Circuit’s heavy reliance on the settlement

class posture of that case, he himself has written extensively elsewhere that there is a critical

difference between a contested class certification (like the present case) and a settlement class

when a court evaluates the fairness of a settlement and considers attorneys’ fees. For example, in




   7
     As I noted in my original Declaration (Klonoff ¶ 50 n.70), the contested classes that were
certified here were modified to some extent in the settlement process. But I explained that this
fact has no significance, and I cited several cases declining to apply Amchem’s heightened review
even though the class certified for settlement was not identical to the class certified after the
contested class certification procedure. Klonoff ¶ 50 n.70. Indeed, as I explained (id.), again citing
authority, the configuration of classes frequently changes during the settlement review process.
As I noted (id.), the crucial point is that the existence of hard-fought, contentious class certification
proceedings—leading to an order granting class certification—undermines any concern that the
settlement negotiations were collusive because class counsel were “disarmed.” Id. Professor Silver
nowhere argues that the changes to the litigation class somehow converted the settlement here into
a settlement class subject to Amchem’s heightened scrutiny.

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a Declaration in support of attorneys’ fees that he submitted in Namenda, supra (Ex. A), Professor

Silver—at the very outset of his Declaration—praised the class settlement because it involved a

contested class certification and not a settlement class.         He noted: “This litigation is also

exceptional in that class certification was achieved over [defendant’s] objection rather than with

its acquiescence as part of a settlement. Settlement classes are more common than litigation

classes, but the latter convey greater bargaining leverage in settlement negotiations.” (Doc. 928

¶ 2; emphasis added).

         18. As another example, in his Declaration in support of attorneys’ fees in Allapattah

Services, Inc. et al. v. Exxon Corp., No. 91-00986-ASG (Doc. 2638) (Ex. B), filed on February 16,

2006, he similarly emphasized, in supporting attorneys’ fees of well over $300 million, 8 the fact

that class counsel “[p]revailed, in the trial court and on appeal, on class certification”; he noted

that this accomplishment alone “would entitle Class Counsel to hold their heads high” —and was

one important reason why he believed that “Class Counsel [did] an extraordinary job.” (Ex. B at

11, 12).

         19. Professor Silver has made the same point in a Supreme Court amicus brief. In ¶ 6 of

his current Declaration, Professor Silver cites an amicus brief of law professors in Amchem, and

states that he was “the principal drafter[.]” In that brief, he explains:




   8
     See Ex. B at 12, 50 (supporting fee request for 33.33% of a “$1.2 billion recovery”); see also
Supplemental Expert Report of Professor Charles Silver Concerning Attorneys’ Fees and
Expenses, Allapattah Services, Inc. et al. v. Exxon Corp. et al., No. 91-00986-ASG (Doc. 2638) at
3–4 (supporting revised fee request of “31.33% of $1.060 billion, or roughly $332 million,” after
a settlement was reached post-trial).
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       “Once a class is properly certified, there is reason to hope the named plaintiffs and
       their attorneys will adequately represent the absent plaintiffs. But before
       certification, and especially when absent plaintiffs object to certification, there is a
       classic trilateral dispute in which the interests of the named plaintiffs, their
       attorneys, and the settling defendants conflict with those of the absent plaintiffs,
       and there is a palpable danger that the former will seek to profit at the latter’s
       expense.”
                                            ***
       “When the Rule 23 requirements are met for trial purposes, a plaintiffs’ attorney
       possesses two important bargaining advantages in settlement negotiations: a
       credible threat to stick a defendant with an adverse class-wide judgment; and a fee-
       related interest in trying the lawsuit unless the defendant offers its expected value
       in settlement. The threat is a club. The desire for the largest possible recovery
       yielding the largest possible fee award is an incentive to use it. Both advantages
       disappear when the Rule 23 requirements can be met only in settlement. . . . A
       plaintiffs’ attorney who can obtain certification only if a defendant agrees to it in
       settlement is a boxer whose hands are tied.”


Amicus Brief of Law Professors in Support of Respondents in Amchem 1997 WL 13605 (1997),

at *17, *19 (emphasis added).


       20. Despite his strong belief—expressed as an attorneys’ fees expert and as an amicus

brief author—that a contested class is fundamentally different than a settlement class, in his current

role as an expert supporting an objector, Professor Silver ignores the fact that the present

settlement—like Namenda and Allappattah—involved a contested class certification. Professor

Silver’s own logic in his Namenda and Allapattah Declarations and his Amchem amicus brief

dovetails the logic of the Second Circuit in Payment Card Interchange Fee (emphasizing the

crucial difference between the settlement class there and a contested class certification). His logic

also dovetails my reliance (in my prior Declaration) on the fact that the settlement here involved a

contested class certification.


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       21. In light of his reasoning in his Namenda and Allapattah Declarations and his Amchem

amicus brief—and the critical language in Payment Card Interchange Fee (quoted in ¶ 16,

supra)—it is conspicuous that in his 19-page Declaration, Professor Silver never once even

acknowledges (let alone grapples with) the fact that the settlement here involved a contested class

certification. Surely, he cannot claim that this fact was unimportant in my analysis. I devoted two

full pages of my initial Declaration to this important point, including multiple footnotes. See

Klonoff ¶ 50 and accompanying footnotes.

       22. Given that this crucial fact (a contested class certification) was front and center when

Professor Silver drafted his Declaration, it is quite possible that he did not address this critical

point because he had no plausible response and thought it best to simply ignore this damaging fact

altogether. After all, his principal case (Payment Card Interchange Fee), his Amchem amicus

brief, and his own prior expert testimony all make clear that this is a very bad fact for him and the

Colorado Objection. See ¶¶ 17–19, supra.

       23. It is also possible, however, that Professor Silver misunderstood the facts here and

erroneously believed that the present case, like Payment Card Interchange Fee, was also a

settlement class without any prior contested class certification. That possibility seems highly

unlikely given my heavy emphasis on the fact that the class certification here was contested.

Nonetheless, portions of Professor Silver’s Declaration suggest that perhaps he did misunderstand

the facts. For instance, in his Declaration he emphasizes the inapposite point that “when a district

court certifies a class and approves a settlement concurrently, the requirements of Rule 23(a)

‘demand undiluted, even heightened, attention.’” Silver ¶ 12 (quoting Amchem; emphasis added).

Moreover, he includes an extensive block quote from the Second Circuit in Payment Card

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Interchange Fee, which similarly highlights the Second Circuit’s recognition that “‘[t]he

requirements of Rule 23(a) are applied with added solicitude in the settlement-only class context

. . . .’” Silver ¶ 43 n. 10 (quoting the Second Circuit; emphasis added). Why would he highlight

the more onerous test applicable to settlement classes if he was aware that the class certification

here was contested? But in the end, it does not matter. Either way—whether by deliberate

omission or by misunderstanding the critical facts—Professor Silver’s Declaration is seriously

flawed, in my opinion, because it fails to address this core point.

D. Professor Silver’s Position Conflicts with Countless Cases In Which Settlements were

    Approved Despite Class Counsel Seeking Both Damages and Injunctive Relief

       24. I cited dozens of cases in my original Declaration as examples of the countless cases

that found no conflict where the same attorneys sought both the damages and injunctive relief.

Klonoff ¶ 38 & nn. 46–48. Yet Professor Silver does not even attempt to distinguish a single one

of those cases on their facts, even though, as I noted, he says that whether separate representation

is required “depends upon the facts.” Silver ¶ 43. Nor does he offer this Court any guidance on

how a court should conduct such a fact-based inquiry—or how this Court should grapple with the

overwhelming authority that approves settlements involving simultaneous representation of class

members seeking damages and those seeking injunctive relief. Indeed, other than the inapposite

Payment Card Interchange Fee case, Professor Silver does not cite a single case holding that

representation of both damages claims and injunctive claims presents a fatal conflict of interest

requiring separate representation.

       25. Professor Silver does make the irrelevant concession that, in his view, separate counsel

are not required for damages and injunctive claims when (unlike here) “class actions are tried[.]”
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Silver ¶ 43. But that concession raises more questions than it answers. The myriad cases that I

cited—which did not require separate representation of damages and injunctive claims—were all

settlements, not trials, so this concession does not begin to grapple with the case law. Moreover,

his approach (for which he offers no authority) would be impossible to implement. For example,

assume that a case involving damages and injunctive relief settled on the eve of trial without

separate counsel for the two subgroups. Would that settlement be invalid because trial counsel

negotiated a settlement, without a separate group of lawyers, hours before trial? Or what if the

settlement occurred during the trial? Would that settlement be invalid because separate counsel

were not appointed to join the settlement discussions or because the trial was never completed?

Put another way, under his approach, is a settlement during trial a trial case (no need for separate

counsel) or a settlement case (separate counsel must be appointed)? Moreover, what approach

would he apply if a settlement is reached shortly after a completed trial? Given the risk of reversal

on appeal, it is not uncommon for class actions to settle even after plaintiffs achieve a favorable

trial verdict. Would separate counsel have to be appointed before any such settlement discussions

could commence? More generally, is the trial context really distinguishable from the settlement

context under his (current) rigid view of conflict principles (see ¶ 2, supra)? At a trial, class

counsel could choose to devote substantially more time and energy to the damages component

before the jury than to the injunctive piece being considered by the court. Why would that trial

approach be acceptable to Professor Silver? To my knowledge, no court has ever adopted

Professor Silver’s view that, in a case seeking both damages and injunctive relief, separate counsel

is required if a case is settled but not if it is tried. And with good reason: It makes no sense. Indeed,




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I know of no case in which anyone has even tried to argue the point. Nor do I know of any law

review article or treatise that espouses this distinction.

         26. Professor Silver also suggests that he is less concerned about separate representation

“[w]hen all class members stand to benefit from both forms of relief.” Silver ¶ 43 (emphasis

added). But that is an extremely rare occurrence, as is clear from the cases I cited in my original

Declaration. 9 By so severely limiting the universe of damages/injunction settlements that do not

require separate representation, Professor Silver’s approach would mean that virtually no

settlements in which class counsel represented both damages claimants and injunctive claimants

could survive scrutiny. But as I noted (¶ 24, supra), settlements involving damages and injunctive

relief are routinely approved despite the absence of separate groups of attorneys. No court to my

knowledge has ever adopted the stringent test urged by Professor Silver; nor have I seen any

scholarly work take this position.




   9
     For just a few examples, see, e.g., Charron v. Wiener 731 F.3d 241, 245, 246, 253 (2d Cir.
2013) (involving a class action against landlords in New York City who conspired to “raise rents
above legally chargeable levels and to drive tenants out of rent-regulated units” in order to “charge
new tenants a higher, market-rate monthly rent”; the settlement included compensation for
“damages for past rent overcharges” and injunctive relief for “all class members who presently
reside in Pinnacle-owned housing”); Nevarez v. Forty Niners Football Co., 474 F. Supp. 3d 1041,
1045 (N.D. Cal. 2020) (involving a (b)(2) class of individuals with disabilities who “will attempt
to purchase accessible seating” at the stadium and a (b)(3) class who “purchased, attempted to
purchase, or for whom third parties purchased accessible seating and who have been denied equal
access” to the stadium); McKibben v. McMahon, No. EDCV 14-02171 JGBSPX, 2018 WL
11350605 (C.D. Cal. Sept. 10, 2018) at *1, *5 (involving a class action against the San Bernardino
County Jail for treatment of inmates based on sexual orientation, gender identity, and gender;
settlement included damages for inmates housed in San Bernardino County Jail between October
22, 2012, and March 31, 2018, and injunctive relief for “individuals who currently are, or in the
future will be, GBT inmates housed in San Bernardino County jails”).


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E. Professor Silver’s Position on the Need for Separately Represented Classes Conflicts

        With His Own Prior Expert Testimony

          27. Significantly, Professor Silver—in his own work as an attorneys’ fees expert for class

counsel (as opposed to his work on behalf of class objectors)—has made clear that settlements of

damages and injunctive claims without separate counsel pose no concerns for him.

          28. For instance, in the pre-Second Circuit phase of Payment Card Interchange Fee,

Professor Silver was not simply an academic bystander; he was an expert who submitted a

Declaration in support of class counsel’s request for attorneys’ fees. He had no difficulty

submitting a sworn Declaration on behalf of those attorneys—whom he now claims operated under

a fatal conflict of interest. Specifically, in his 2013 Declaration (ECF No. 2113–5) (Ex. C), he

offered testimony urging that the class attorneys who originally settled both the damages and the

injunctive portions of the Payment Card Interchange Fee case—the settlement later overturned by

the Second Circuit—were entitled to their requested fees of approximately $725 million for the

damages class. 10 He praised the settlement as “the largest class-based antitrust recovery in history”

(Ex. C at 1) and argued that class counsel’s fee request was “entirely reasonable and considerably

below what the attorneys ought to receive” (Ex. C at 4). In his support of the fees requested for

the damages settlement, Professor Silver did not indicate any concern about class counsel’s

simultaneous representation of a (b)(3) and a (b)(2) class. That is notable because his current

position is that this very Payment Card Interchange Fee settlement suffered from a fatal conflict




   10
      See Ex. C at 1–4 (supporting award of “10 percent in fees” of the proposed $7.25 billion
settlement).
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of interest, thus rendering the settlement invalid. See Silver Decl. ¶ 42 (arguing that the district

court in Payment Card Interchange Fee should have appointed “(at least) two teams of attorneys—

one to negotiate the damages recovery and one to bargain for injunctive relief”). Of course, if the

settlement in that case was invalid on conflict-of-interest grounds because separate counsel were

not appointed, then class counsel’s request for over $700 million in fees for the damages settlement

was a fortiori invalid and moot. Consistent with his current position, Professor Silver should have

declined to testify that class counsel there were entitled to any attorneys’ fees. Yet, Professor

Silver accepted this retention and never even alluded to any potential conflict. Apparently, just as

many courts have routinely approved settlements in which the same attorneys represented both

damages and injunctive claims, Professor Silver saw no red flags in the Payment Card Interchange

Fee settlement, and thus he unequivocally supported class counsel’s large fee request. And that is

true even though, as I explained above, the Payment Card Interchange case had severe problems

that do not exist here. See ¶¶ 6, 13–16, supra.

        29. Nor did the Second Circuit’s 2016 opinion in Payment Card Interchange Fee

somehow lead to a sea change in Professor Silver’s approach as an attorneys’ fee expert. For

example, in a 2021 Declaration, written five years after the Second Circuit’s opinion, Professor

Silver offered a Declaration supporting the attorneys’ fees requested by class counsel in Kolton v.

Frerichs, No. 16-cv-3792 (N.D. Ill. Sept. 22, 2021) (Doc. 126-1) (Ex. D). In that case, the same

attorneys represented both a Rule 23(b)(3) settlement class and a Rule 23(b)(2) litigation class. 11




   11
     See Ex. D ¶ 14 ("The settlement includes two classes: a settlement class to be certified under
Rule 23(b)(3) . . . and a litigation class that the Court previously certified under Rule 23(b)(2)").
                                                     18
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Again, under his current position, he should have declined class counsel’s request to opine on

attorneys’ fees because, under his current rationale, the settlement suffered from a fatal conflict of

interest, given that separate counsel were not appointed for the two classes. Yet, again, he took on

that work and did not express any concern in his Declaration about class counsel’s simultaneous

representation of the damages and injunctive claims. Instead, he offered a 40-page Declaration

strongly supporting class counsel’s $9.5 million fee request. 12

          30. Professor Silver’s failure to acknowledge a red flag in his Declarations in Payment

Card Interchange Fee and Kolton shows that, until the present case, he viewed simultaneous

representation of damages and injunctive classes as routine, unremarkable, and not even worth

alluding to in sworn testimony. Yet now, testifying on behalf of an objector, he claims that this

same structure here requires the draconian remedy of striking down this massive, historic

settlement and requiring additional counsel. For this reason, among many others discussed herein,

I do not find Professor Silver’s current testimony persuasive.

F. Professor Silver’s Current View Would Lead to “Balkanization” and Potentially

        Countless Separately Represented Classes




   12
     Although Professor Silver now says that he is less concerned about separate representation
“[w]hen all class members stand to benefit from both forms of relief,” Silver ¶ 43 (emphasis
added), that view does not allow him to distinguish his expert work in Kolton because not all class
members there benefited from both forms of relief. See Ex. D ¶¶ 14–16 (describing the two classes,
containing different class periods). Under his current analysis, the Kolton settlement should have
concerned him deeply. Likewise, he cannot explain his expert work in Payment Card Interchange
Fee on that basis; it was clearly not the case that all class members in that settlement benefited
from both forms of relief.
                                                  19
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       31. It is possible to envision a conflict in virtually every class action, since one can almost

always articulate some differences among class members. As I explained, using Deepwater

Horizon as an example, a class might include some individuals with business losses and others

with real estate damages. See Klonoff ¶ 33. Given the ability of an objector to theorize conflicts

in virtually every class action, I noted concerns about “Balkanization” and explained that courts

have been very reluctant, post-Amchem, to require separately represented subclasses when other

less onerous approaches can be used. See Klonoff ¶¶ 27–36 and accompanying footnotes. Indeed,

in this case, the Colorado Objection complains not only about the need for separate counsel for the

damages and injunctive claims, but also about numerous conflicts within the group of class

members seeking damages. And Professor Silver repeats that concern in his Declaration. He notes

that “the problem [he] describe[s] [involving simultaneous representation of damages and

injunctive claims] also afflicted the negotiations of the various damages claims . . . .” Silver ¶ 24

n.2. And he carefully argues not just for two separately represented teams of attorneys but for “(at

least) two teams of attorneys[.]” Silver ¶ 42 (emphasis added). This is not surprising; as I noted,

one can hypothesize multiple conflicts among class members in virtually every class action. Thus,

in reality, Professor Silver’s approach raises the specter of numerous subclasses with separate

representation—not only here but in many, if not most, class actions.

       32. Professor Silver does not address the serious complications that would ensue if a court

goes down the road of creating multiple subclasses with separate representation. Settlement

negotiations in class actions are never easy, and adding multitudes of lawyers for separate

subgroups only exacerbates the difficulties and can lead to a stalemate. The huge downsides of

requiring separately represented classes or subclasses is precisely why courts and commentators

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post-Amchem have made clear that protections less onerous than subclasses with separate

representation are sufficient other than for the most serious and egregious conflicts. I focused in

detail on this authority, Klonoff ¶¶ 30–34, but Professor Silver ignores the cases and treatises I

reference, including Deepwater Horizon, NFL Concussion, the McLaughlin treatise, and the

Newberg/Rubenstein treatise.

        33. In his current Declaration Professor Silver espouses the view that “fiduciary law has

not embraced the view that prophylactic measures can cure conflicts.” Silver ¶ 18. In other words,

his view is that this Court must be “conservative” (Silver ¶ 42) and must err on the side of ordering

subclasses with separate representation. Of course, that approach is exactly the opposite of the

approach that courts and authoritative treatises have taken (see supra; Klonoff ¶¶ 30–32).

        34. Professor Silver’s current approach—that multiple groups of lawyers should be

appointed whenever a potential conflict is identified—would be a green light for strategic objectors

to attack virtually any class settlement. As noted, virtually every class action has differences

among class members, and in virtually every class settlement an objector could argue for some

sort of subclassing with separate representation. Such an approach would vastly complicate class

settlements because objectors, eager to seek their own attorneys’ fees or side payments—or to

secure appointment as the additional class counsel—would inevitably (and routinely) mount

myriad challenges. 13 Indeed, this case illustrates the dangers of Professor Silver’s approach: The




   13
     The 2018 amendments to Federal Rule of Civil Procedure 23, which were drafted when I
served as the academic member of the Federal Civil Rules Advisory Committee (and as a member



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attorneys who submitted the Colorado Objection do not propose to leave it to this Court to select

the additional counsel; instead, they propose themselves as the new counsel (Klonoff ¶ 39 n.3), a

conflict Professor Silver never mentions.

       35. Professor Silver’s position here is a 180-degree shift from the position he has taken in

his academic writing. As a scholar, he has expressed grave concern that requiring separate

representation for subgroups can lead to abuse by objectors. Thus, in a 1998 article that he co-

authored with Professor Lynn Baker, written shortly after Amchem, he warned against a strict

approach to requiring subclasses with separate representation precisely because it would encourage

countless strategic objectors. Charles Silver & Lynn Baker, I Cut, You Choose: The Role of

Plaintiffs’ Counsel in Allocating Settlement Proceeds, 84 Va. L. Rev. 1465, 1499–1500 (1998). 14

As he and his co-author explained, the imposition of rigid duties on class counsel in light of

Amchem would only encourage “endless rounds of extortion” by “[a]ttorneys representing

objectors.” Id. at 1499 (emphasis added). As he and his co-author explained: “No two class

members have identical interests”; therefore, under a literal reading of Amchem, “no two can be

jointly represented in settlement,” meaning that “an objector can logically and cheaply raise this

complaint in any class action[.]” Id. As a result of this concern, Professor Silver and his co-author

urged the following approach: “In class actions, a standard of zero tolerance for conflicts is




of the Class Action Subcommittee), were designed to curtail strategic objections for personal gain.
See Robert Klonoff, Class Action Objectors: The Good, the Bad, and the Ugly, 89 Fordham L.
Rev. 475, 493–97 (2020). Professor Silver’s approach here would turn back the clock and create
vast new grounds for strategic objectors to challenge class settlements.
    14
       Professor Silver is listed as the first author, even though alphabetically Professor Baker would
be listed first. This suggests that he was the lead author of the piece. But in all events, he put his
name on the article as a co-author of the entire article, without reservation.
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impossible to defend or meet. Class counsel must be allowed to incur and resolve many conflicts.

Otherwise, they cannot make the strategy calls and financial decisions that have to be made for

class actions to proceed.” Id. at 1499–1500 (emphasis added). Of course, this flexible approach to

conflicts is the exact opposite of the rigid approach that Professor Silver urges here, i.e., that courts

must err on the side of designating multiple separately represented classes or subclasses whenever

a conflict is raised. See Silver ¶ 9.

        36. What Professor Silver and his co-author argued in their 1998 article is exactly what

class counsel did here—and what courts around the country have approved post-Amchem (see

Klonoff ¶ 30): They negotiated a settlement that included important protective measures short of

subclassing with separate representation. Specifically, they first litigated class certification; then

they conducted sequential settlement negotiations of the injunctive and damages claims with the

assistance of an experienced mediator; and they left the bargaining table only after securing historic

results for both the damages class and the injunctive class. To use Professor Silver’s words, class

counsel “resolve[d] [the] conflict[]” without the need for an additional team of lawyers. 84 Va. L.

Rev. at 1499–1450. This settlement is thus a textbook example of what Professor Silver himself

urged in his 1998 article. Only now does he advocate a completely different approach.

 G. Professor Silver’s Attack on My Reliance on the Role of Mediator Eric Green is

     Meritless

        37. Professor Silver sets up a straw man by attributing to me the view that “plaintiffs’

lawyers can cure conflicts among co-clients by employing mediators when negotiating settlements

. . . .” Silver ¶ 21 (emphasis added). I never said that the presence of a mediator, standing alone,

was a panacea. Rather, I wrote that “having one of the country’s most respected mediators
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involved throughout the negotiation process is one piece of the puzzle in demonstrating fairness.”

Klonoff ¶ 41 (emphasis added). My Declaration focused much more heavily on several other

reasons why separate counsel are not required: the extraordinary result achieved both for the

damages class and the injunctive class (in contrast to the grossly deficient injunctive relief in

Payment Card Interchange Fee); the staged negotiations (which did not occur in Payment Card

Interchange Fee); and the fact that this case involved a contested class certification, not a

settlement class as in Payment Card Interchange Fee.

       38. However, contrary to Professor Silver, who argues that no weight should be given to

the presence of a mediator, Silver ¶¶ 21, 22, I believe that the presence of a mediator is a relevant

fact that this Court can and should consider in deciding whether to throw out this historic class

settlement, appoint additional counsel, and start over from scratch. The reality is that no mediator

wants to preside over a settlement that is likely to be overturned because of severe conflicts of

interest; and an experienced mediator such as Eric Green will inevitably be alert to avoiding serious

conflicts. That is why the Ninth Circuit (and many other courts) have recognized that the “presence

of a neutral mediator” is a “factor weighing in favor of a finding of non-collusiveness[.]” In re

Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 948 (9th Cir. 2011) (emphasis added). The

Ninth Circuit’s language (“a factor”) is exactly what I opined in saying that the presence of

mediator Eric Green is “one piece of the puzzle.” Finally, Professor Silver’s assertion that there

is “no authority” for this Court to give any weight to the presence of a mediator is mystifying. In

fact, I cited several examples from countless cases I could have chosen, see Klonoff ¶ 41 n.51 ,

including Ninth Circuit law. See also ¶ 6 n.4, supra (quoting Deepwater Horizon court’s reliance

on the involvement of the magistrate judge in approving a class settlement).

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H. Professor Silver’s Reliance on Cases Involving Coupon Settlements is Unpersuasive

       39. Although—as I explained above (¶¶ 7, 24, 32, 33, 38, supra)—Professor Silver does

not and cannot refute the many cases I cite that are directly on point, he chooses to focus

extensively on the Ninth Circuit’s discussion of coupon settlements in In re HP Inkjet Printer

Litig., 716 F.3d 1173 (9th Cir. 2013). Silver ¶ 31 (devoted entirely to HP Inkjet Printer). But

coupon settlements are the polar opposite of the settlement here. The problem with coupon

settlements, and the reason they were targeted under the Class Action Fairness Act, is that coupons

are often worthless, leaving the class with nothing of value, while class counsel reap substantial

attorneys’ fees. See, e.g., Ciolino v. Frank, 716 F.3d 1173, 1178 (9th Cir. 2013) (noting concern

that with coupon settlements “‘class members receive nothing but essentially valueless coupons,

while the class counsel receive substantial attorneys’ fees’”) (quoting CAFA legislative history).

The settlement here is the exact opposite of what motivated Congress in CAFA to regulate coupon

settlements: Congress wanted to address a major category of potentially worthless settlements and

thereby ensure that class settlements would create genuine and substantial value for the class,

exactly what has occurred here. If this Court grants final approval to the present settlement, both

the damages class and the injunctive class will receive extraordinary relief. As noted (¶ 15 n.6,

supra), Professor Silver takes no issue with my characterization of the settlement as extraordinary

and highly beneficial to those in both the damages and injunctive classes. I cannot think of a less

relevant analogy than a coupon settlement. The coupon settlement analogy might have had some

merit in Payment Card Interchange Fee, where the injunctive relief was worthless to most class

members. But it has no relevance here, given the substantial settlement of both the damages and




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injunctive claims. In his attempt to unravel this settlement, the fact that Professor Silver’s best

analogy is a coupon settlement speaks volumes.

                                              ***

       40. At bottom, nothing raised by Professor Silver in his current Declaration gives me any

pause with respect to any of the conclusions I reached in my initial Declaration. Indeed, his prior

attorneys’ fee expert declarations, amicus briefing, and academic writing support my opinions, not

his. In my view, this Court should reject the Colorado Objection’s (and Professor Silver’s) request

to unravel this landmark settlement, and the Court should decline their request to appoint separate

counsel for the injunctive class.




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                                    Ex. A

            Declaration of Professor Charles Silver (excluding CV)

             In Re Namenda Direct Purchaser Antitrust Litigation,
                     Case No. 1:15-cv-07488-CM-RWL,

                           Filed on March 13, 2020
 Case
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK




IN RE NAMENDA DIRECT PURCHASER
ANTITRUST LITIGATION                   Case No. 1:15-cv-07488-CM-RWL


THIS DOCUMENT RELATES TO:
All Direct Purchaser Actions



 DECLARATION OF PROFESSOR CHARLES SILVER IN SUPPORT OF CLASS
      COUNSEL’S MOTION FOR AN AWARD OF ATTORNEYS’ FEES,
REIMBURSEMENT OF EXPENSES, AND INCENTIVE AWARDS FOR THE CLASS
                      REPRESENTATIVES
       Case
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I, Charles Silver, state as follows:

I.      SUMMARY OF OPINIONS

        1.      This is a landmark settlement. At $750 million, it is the largest-ever settlement of

a private antitrust case against a single drug maker alleging suppression of generic competition. It

is also in the top 1 percent of all class action settlements regardless of case type.

        2.      This litigation is also exceptional in that class certification was achieved over

Forest’s objection rather than with its acquiescence as part of a settlement. Settlement classes are

more common than litigation classes, but the latter convey greater bargaining leverage in

settlement negotiations. That the lawsuit settled on the eve of trial reflects the importance Forest

attached to avoiding the risk of suffering a class-wide judgment at trial.

        3.      The failure of any governmental agency to pursue the generic delay arrangement

shows that Class Counsel bore all the litigation risk associated with this claim alone. While it is

true that the New York Attorney General (“NYAG”) obtained an injunction against the product

hop, only Class Counsel pursued damages on that claim. Class Counsel also pursued damages on

the generic delay settlement, which the NYAG did not challenge and which accounts for the bulk

of damages sought.

        4.      The time, effort, and expense devoted to this lawsuit—approximately 52,000 hours

of professional time and approximately $5.8 million in out-of-pocket costs—reflect the difficulty

and intensity of the litigation and, in view of the success Class Counsel achieved, justify an ample

fee award.

        5.      In view of the preceding, I believe that a request by Class Counsel for 27.5 percent

of the recovery—$206.25 million—as fees and reimbursement of approximately $5.8 million in



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expenses is reasonable. I also believe that an award of this magnitude is supported by (1) rates

prevailing in the private market for legal services, (2) awards granted in other generic delay cases,

(3) awards granted in other cases with mega-fund recoveries (recoveries of $100 million or more),

and (4) a lodestar cross-check.

II.     CREDENTIALS

        6.     I hold the Roy W. and Eugenia C. McDonald Endowed Chair in Civil Procedure at

the University of Texas School of Law. I joined the Texas faculty in 1987, after receiving an M.A.

in political science at the University of Chicago and a J.D. at the Yale Law School. I received

tenure in 1991. Since then, I have been a Visiting Professor at University of Michigan School of

Law (twice), the Vanderbilt University Law School, and the Harvard Law School.

        7.     I have taught, researched, written, consulted with lawyers, and testified about class

actions, other large lawsuits, attorneys’ fees, professional responsibility, and related subjects for

30 years. I have published over 100 major writings, many of which appeared in peer-reviewed

publications and many of which focus on subjects relevant to this Declaration. My writings are

cited and discussed in leading treatises and other authorities, including the MANUAL FOR COMPLEX

LITIGATION, THIRD (1996), the MANUAL FOR COMPLEX LITIGATION, FOURTH (2004), the

RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS, and the RESTATEMENT (THIRD) OF

RESTITUTION AND UNJUST ENRICHMENT.

        8.     My first publication after joining the Texas Law faculty, an analysis of the

restitutionary basis for fee awards in class actions, appeared in 1991.          Charles Silver, A

Restitutionary Theory of Attorneys’ Fees in Class Actions, 76 CORNELL L. REV. 656 (1991). My

most recent publication in the field, an empirical study of fee awards in securities fraud class

actions, appeared in the Columbia Law Review nearly twenty-five years later. Lynn A. Baker,

Michael A. Perino, and Charles Silver, Is the Price Right? An Empirical Study of Fee-Setting in
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Securities Class Actions, 115 COLUM. L. REV. 1371 (2015) (Is the Price Right?). The CORPORATE

PRACTICE COMMENTATOR chose this article as one of the ten best in the field of corporate and

securities law in 2016. The study of attorneys’ fees has been a principal focus of my academic

career.

          9.    From 2003 through 2010, I served as an Associate Reporter on the American Law

Institute’s PRINCIPLES OF THE LAW OF AGGREGATE LITIGATION (2010). Many courts have cited

the PRINCIPLES with approval, including the U.S. Supreme Court.

          10.   I have testified as an expert on attorneys’ fees many times. Courts have cited or

relied upon my opinions when awarding fees in many class actions, including In re Enron Corp.

Securities, Derivative & “ERISA” Litig., 586 F. Supp. 2d 732 (S.D. Tex. 2008), In re Payment

Card Interchange Fee and Merchant Discount Antitrust Litigation, 2019 WL 6888488 (E.D.N.Y.

2019); and Allapattah Services, Inc. v. Exxon Corp., 454 F. Supp. 2d 1185 (S.D. Fla. 2006), all of

which settled for amounts exceeding $1 billion.

          11.   Finally, because awards of attorneys’ fees may be thought to raise issues relating

to the professional responsibilities of attorneys, I note that I have an extensive background,

publication record, and experience as an expert witness testifying on matters relating to this field.

I also served as the Invited Academic Member of the Task Force on the Contingent Fee created by

the Tort Trial and Insurance Practice Section of the American Bar Association. In 2009, the Tort

Trial and Insurance Practice Section of the American Bar Association gave me the Robert B.

McKay Award in recognition of my scholarship in the areas of tort and insurance law.

          12.   I have attached a copy of my resume as Exhibit 1 to this declaration.

III.      PRIOR TRIAL AND DEPOSITION TESTIMONY

          13.   In the past four years, I have testified in the following matters:



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                                                                             Topic of
                  Case                  Proceeding       Jurisdiction                       Year
                                                                            Testimony
 William “Max” Duncan, Jr. and                                            Legal Ethics-
 Duncan Litigation Investments,                                           Fee Splitting
                                         Arbitration         N/A                            2019
 LLC v. Robert C. Hilliard and                                            with Non-
 HMG, LLP                                                                 Lawyer


IV.       DOCUMENTS REVIEWED

          14.    In preparing this report, I reviewed the items listed below. I also reviewed other

items including, without limitation, cases, studies, and published scholarly works.

                       Documents Generated in Connection with This Case
      •   Order on Certain Evidentiary Matters Raised in the Parties’ October 23, 2019 and October
          24, 2019 Letter Briefs, In re Namenda Direct Purchaser Antitrust Litigation, 15-cv-07488
          (S.D.N.Y. Oct. 24, 2019) (ECF No. 907)
      •   Transcript of Final Pretrial Conference, In re Namenda Direct Purchaser Antitrust
          Litigation, 15-cv-07488 (S.D.N.Y. Oct. 10, 2019) (ECF No. 889)
      •   Transcript of Settlement Conference, In re Namenda Direct Purchaser Antitrust Litigation,
          15-cv-07488 (S.D.N.Y. Oct. 38, 2019) (ECF No. 913)
      •   Revised Joint Pretrial Order, In re Namenda Direct Purchaser Antitrust Litigation, 15-cv-
          07488 (S.D.N.Y. Apr. 30, 2019) (ECF No. 699)
      •   Memorandum of Law in Support of Class Counsel’s Motion for Attorneys’ Fees,
          Reimbursement of Expenses and Incentive Awards for the Named Plaintiffs
      •   Declaration of Bruce E. Gerstein in Support of Class Counsel’s Motion for Attorneys’ Fees,
          Reimbursement of Expenses and Incentive Awards for the Named Plaintiffs
      •   Memorandum Decision and Order Denying Defendants’ Motion for Summary Judgment;
          Granting in Substantial Part and Denying in Part Defendants’ Daubert Motions to Exclude
          Opinions and Testimony of Plaintiffs’ Experts; and Granting Plaintiffs’ Motion for Class
          Certification In re Namenda Direct Purchaser Antitrust Litigation, 15-cv-07488 (S.D.N.Y.
          Aug. 16, 2018) (ECF No. 570)
      •   Settlement Agreement, In re Namenda Direct Purchaser Antitrust Litigation, 15-cv-07488
          (S.D.N.Y. Dec. 24, 2019) (ECF No. 919)
      •   Order Granting Direct Purchaser Class Plaintiffs’ Motion for Preliminary Approval of the
          Form and Manner of Notice to the Class and Proposed Schedule for a Fairness Hearing, In
          re Namenda Direct Purchaser Antitrust Litigation, 15-cv-07488 (S.D.N.Y. Jan. 6, 2020)
          (ECF No. 920)
      •   Settlement Notice




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                                      Other Documents
•   Settlement Agreement Between the Attorney General for the State of New York and
    Allergan, People of the State of New York v. Actavis Plc, et al, 14-cv-07473 (S.D.N.Y.
    Nov. 30, 2015) (ECF No. 96-1)
•   Transcript of Civil Cause for Settlement and Attorneys’ Fees, In re Buspirone, 01-md-1410
    (S.D.N.Y. Apr. 11, 2003)
•   Letter from Steven Winick, In re Asacol Antitrust Litigation, 15-cv-12730 (D. Mass. Oct.
    26, 2017) (ECF No. 581-1)
•   Letter from Robert J. Tucker, In re Asacol Antitrust Litigation, 15-cv-12730 (D. Mass.
    Sept. 15, 2017) (ECF No. 582-2)
•   Letter from David A. Schumacher, In re Asacol Antitrust Litigation, 15-cv-12730 (D.
    Mass. Sept. 11, 2017) (ECF No. 582-3)
•   Letter from David A. Schumacher, In re Celebrex (Celecoxib) Antitrust Litig., 2:14-cv-
    00361 (E.D. Va. Jan. 2, 2018) (ECF No. 619-4)
•   Letter from Robert J. Tucker, American Sales Company, LLC v. Pfizer, Inc., et al., 2:14-
    cv-00361 (E.D. Va. Dec. 26, 2017) (ECF No. 619-5)
•   Letter from Steven Winick, In re Celebrex (Celecoxib) Antitrust Litig., 2:14-cv-00361
    (E.D. Va. Jan. 4, 2018) (ECF No. 619-6)
•   Letter from Robert J. Tucker, In re Flonase Antitrust Litigation, American Sales Co., Inc.
    v. SmithKlineBeecham, 08-cv-03149 (E.D. Pa. Dec. 19, 2012) (ECF No. 488-4)
•   Letter from Steven Winick, In re Flonase Antitrust Litigation, American Sales Co., Inc. v.
    SmithKlineBeecham, 08-cv-03149 (E.D. Pa. February 13, 2013) (ECF No. 488-5)
•   Letter from Robert J. Tucker, In re K-Dur Antitrust Litigation, 2:01-cv-01652 (D.N.J. Aug.
    9, 2017) (ECF No. 1050-7)
•   Letter from David A. Schumacher, In re K-Dur Antitrust Litigation, 2:01-cv-01652 (D.N.J.
    Aug. 7, 2017) (ECF No. 1050-8)
•   Letter from Steven Winick, In re K-Dur Antitrust Litigation, 2:01-cv-01652 (D.N.J. Aug.
    21, 2017) (ECF No. 1050-9)
•   Letter from Donald W. Myers, In re Neurontin Antitrust Litigation, MDL No. 1479 (D.N.J.
    June 19, 2014) (ECF No. 750-3)
•   Letter from Robert J. Tucker, In re Neurontin Antitrust Litigation, MDL No. 1479 (D.N.J.
    June 18, 2014) (ECF No. 750-4)
•   Letter from Steven Winick, In re Neurontin Antitrust Litigation, MDL No. 1479 (D.N.J.
    June 16, 2014) (ECF No. 750-5)
•   Letter from Steven E. Bizar, In re Nifedipine Antitrust Litigation, 1:03-ms-223 (D.D.C.
    Jan. 19, 2011) (ECF No. 331)
•   Letter from Thomas L. Long, In re Nifedipine Antitrust Litigation, 1:03-ms-223 (D.D.C.
    Jan. 19, 2011) (ECF No. 331)
•   Letter from Richard A. Ardoin, In re Nifedipine Antitrust Litigation, 1:03-ms-223 (D.D.C.
    Jan. 14, 2011) (ECF No. 331)
•   Letter from Thomas L. Long, Meijer, Inc. et al. v. Abbott Laboratories, No. C 07-5985
    (N.D. Cal. May 5, 2011) (ECF No. 510-1)
•   Letter from Richard Ardoin, Meijer, Inc. et al. v. Abbott Laboratories, No. C 07-5985 (N.D.
    Cal. May 4, 2011) (ECF No. 510-1)

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•   Letter from Donald J. Myers, Meijer, Inc. et al. v. Abbott Laboratories, No. C 07-5985
    (N.D. Cal. May 9, 2011) (ECF No. 510-1)
•   Letter from Steven E. Bizcar, In re OxyContin Antitrust Litig., MDL No. 1603 (S.D.N.Y.
    Nov. 10, 2010) (ECF No. 359-4)
•   Letter from Thomas L. Long, In re OxyContin Antitrust Litig., MDL No. 1603 (S.D.N.Y.
    Nov. 10, 2010) (ECF No. 359-5)
•   Letter from Richard Ardoin, In re OxyContin Antitrust Litig., MDL No. 1603 (S.D.N.Y.
    Nov. 15, 2010) (ECF No. 359-6)
•   Letter from Robert J. Tucker, In re Prandin Direct Purchaser Antitrust Litigation, 2:10-
    cv-12141 (E.D. Mich. Dec. 10, 2014) (ECF No. 67-3)
•   Letter from David A. Schumacher, In re Prandin Direct Purchaser Antitrust Litigation,
    2:10-cv-12141 (E.D. Mich. Dec. 11, 2014) (ECF No. 67-4)
•   Letter from Steven H. Winick, In re Prandin Direct Purchaser Antitrust Litigation, 2:10-
    cv-12141 (E.D. Mich. Dec. 16, 2014) (ECF No. 67-5)
•   Letter from David A. Schumacher, In re Prograf Antitrust Litigation, 11-md-02242 (D.
    Mass. Apr. 1, 2015) (ECF No. 669-2)
•   Letter from Robert J. Tucker, In re Prograf Antitrust Litigation, 11-md-02242 (D. Mass.
    Apr. 2, 2015) (ECF No. 669-3)
•   Letter from Steven H. Winick, In re Prograf Antitrust Litigation, 11-md-02242 (D. Mass.
    Apr. 2, 2015) (ECF No. 669-4)
•   Letter from David A. Schumacher, King Drug Co. of Florence v. Cephalon, Inc., et al.,
    2:06-cv-1797 (E.D. Pa. Sept. 11, 2015) (ECF No. 864-3)
•   Letter from Robert J. Tucker, King Drug Co. of Florence v. Cephalon, Inc., et al., 2:06-cv-
    1797 (E.D. Pa. Sept. 14, 2015) (ECF No. 864-4)
•   Letter from Steven H. Winick, King Drug Co. of Florence v. Cephalon, Inc., et al., 2:06-
    cv-1797 (E.D. Pa. Sept. 11, 2015) (ECF No. 864-5)
•   Letter from Donald W. Myers, In re Metoprolol Succinate Direct Purchaser Antitrust
    Litigation, 06-cv-052 (D. Del. Sept. 27, 2011) (ECF No. 189-1)
•   Letter from Thomas L. Long, In re Metoprolol Succinate Direct Purchaser Antitrust
    Litigation, 06-cv-052 (D. Del. Sept. 27, 2011) (ECF No. 189-1)
•   Letter from Richard Ardoin, In re Metoprolol Succinate Direct Purchaser Antitrust
    Litigation, 06-cv-052 (D. Del. Oct. 3, 2011) (ECF No. 189-1)
•   Letter from Richard Ardoin, In re Wellbutrin SR Antitrust Litigation, 2:04-cv-5525 (E.D.
    Pa. Oct. 3, 2011) (ECF No. 409-3)
•   Letter from Donald W. Myers, In re Wellbutrin SR Antitrust Litigation, 2:04-cv-5525 (D.
    Del. Sept. 27, 2011) (ECF No. 409-4)
•   Letter from Thomas L. Long, In re Wellbutrin SR Antitrust Litigation, 2:04-cv-5525 (E.D.
    Pa. Sept. 27, 2011) (ECF No. 409-5)
•   Letter from Robert J. Tucker, In re Wellbutrin XL Antitrust Litigation, 2:08-cv-2431 (E.D.
    Pa. Oct. 22, 2012) (ECF No. 481-4)
•   Letter from Steven Winick, In re Wellbutrin XL Antitrust Litigation, 2:08-cv-2431 (E.D.
    Pa. Oct. 17, 2012) (ECF No. 481-5)
•   Letter from Donald W. Myers, In re Wellbutrin XL Antitrust Litigation, 2:08-cv-2431 (E.D.
    Pa. Oct. 10, 2012) (ECF No. 481-6)


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V.      FACTS

        15.    The litigation-related facts upon which my conclusions rest are set out in the

documents listed above.

        16.    In brief, Class Counsel1 have negotiated a proposed settlement that will make $750

million (less attorneys’ fees and other expenses) available for the benefit of the Direct Purchaser

Class, which includes drug wholesalers, some of which are extremely large.

        17.    Class Counsel have applied to the Court for a common fund fee award of 27.5

percent of the gross recovery ($206.25 million) plus cost reimbursements of approximately $5.8

million.

VI.     BACKGROUND ANALYSIS

        18.    Throughout my academic career, I have urged courts to base fee awards from

common funds on rates prevailing in the private market for legal services. Although the view was

not widely shared when I first expressed it, it is now. It is not unusual for courts to want to know

what those rates are and to give them weight when deciding how much lawyers to award lawyers

whose efforts create common funds, even when they are not legally bound to do so. In this report,

I will show that Class Counsel’s request for a fee equal to 27.5 percent of the recovery falls on the

low end of the range of percentages that prevails in the private market, which typically runs from

25 percent to 40 percent.




1
 Class Counsel are Garwin Gerstein & Fisher, LLP (“GGF”), Berger Montague PC (“Berger”),
Faruqi & Faruqi LLP, Heim Payne & Chorush LLP, Odom & Des Roches LLC, and Smith Segura
Raphael & Leger LLP.
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       A.      Fee-Setting Is A Positive-Sum Interaction

       19.     Many people think that fee-setting is a zero-sum game in which more for the lawyer

means less for the client. Because the object of class litigation is to help the victims, they infer

that lower fees are always better than higher ones.

       20.     This belief is mistaken. Fee-setting is a positive-sum interaction in which higher

fees can help claimants. To see this, imagine how class members would fare if courts set common

fund fee awards at 0 percent. When the fee is zero, the expected recovery is zero too because

lawyers will not agree to represent class members (or signed clients) on these terms. From class

members’ perspective, any fee percentage greater than zero is better than zero because any positive

recovery is better than no recovery.

       21.     When regulating fees, then, the object should not be to set them as close to zero as

possible. It should be to maximize class members’ net expected recoveries—the amounts they

expect to take home after paying their attorneys. Because a claimant who nets $1 million after

paying a 40 percent fee is better off than one who nets $500,000 after paying a 20 percent fee, it

is rational for clients to offer higher percentages when doing so is expected to leave them with

more money after fees are paid.

       22.     Courts have known this for years. In 2002, a task force on fees commissioned by

the Third Circuit stated that “The goal of appointment [of class counsel] should be to maximize

the net recovery to the class and to provide fair compensation to the lawyer, not to obtain the lowest

attorney fee. The lawyer who charges a higher fee may earn a proportionately higher recovery for

the class than the lawyer who charges a lesser fee.” Third Circuit Task Force Report, 208 F.R.D.

340, 373 (January 15, 2002) (emphasis added). The Seventh Circuit made a similar point in In re

Synthroid Marketing Litig., 264 F.3d 712 (7th Cir. 2001). It rejected the so-called “mega-fund

rule,” according to which fees must be capped at low percentages when recoveries are very large,
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noting that “[p]rivate parties would never contract for such an arrangement” because it would

encourage cheap settlements. Id. at 718. Private clients want lawyers to maximize the value of

their claims, not to settle them cheaply.

       B.      Courts Should Mimic The Market When Awarding Fees

       23.     In the market for legal services, claimants negotiate fees when litigation starts, not

when it ends. Upfront, they see the risks that lie ahead and the virtue of paying fees that encourage

lawyers to bear them. As the Seventh Circuit observed,

       The best time to determine [a contingent fee lawyer’s] rate is the beginning of the
       case, not the end (when hindsight alters the perception of the suit’s riskiness, and
       sunk costs make it impossible for the lawyers to walk away if the fee is too low).
       This is what happens in actual markets. Individual clients and their lawyers never
       wait until after recovery is secured to contract for fees. They strike their bargains
       before work begins.

In re Synthroid Marketing Litigation, 264 F.3d at 724.
       24.     Unfortunately, courts typically set fee terms when class actions end, not when they

start. Consequently, the hindsight bias may cause them to set fees too low. To guard against this

tendency, which can only harm class members in the long-run by weakening lawyers’ incentives,

I believe that courts should try to determine the percentage that class members would have agreed

to pay had they bargained directly with their lawyers when litigation was about to commence.

       25.     The best evidence on which to base an answer is the market rate. A general insight

from the economics of contracts is that parties tend to agree on terms that maximize the amount of

wealth available for them to share. When markets are competitive, as the market for legal services

plainly is, clients and lawyers should settle on the lowest percentages that maximize their joint

expected return. This is the percentage that maximizes clients’ net expected recoveries.

       26.     The information I have gathered over years of study shows that claimants typically

agree to pay contingent fees of 25 percent to 40 percent, even when sophisticated clients hire


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lawyers to handle complex commercial lawsuits with the potential to generate enormous

recoveries. To encourage lawyers to maximize class members’ net recoveries, I believe that courts

should set fee awards from common funds in this range.

       C.      Quality of Plaintiffs’ Counsel

       27.     When considering how much lawyers should be paid, it is also important to

remember that the quality of counsel matters greatly. Lawyers’ charges vary with experience,

rank, and accomplishment. For example, it is well known that a select group of attorneys with

outstanding reputations command exceedingly high rates, often more than $1,500 per hour.

       28.     In this case, the lawyers who represent the class are the best in the world at what

they do. Lawyers comprising Class Counsel pioneered antitrust challenges to settlements that

delay or impede the entry of generic drug manufacturers. The Memorandum of Law in Support of

Class Counsel’s Motion for Attorneys’ Fees, Reimbursement of Expenses and Incentive Awards

for the Named Plaintiffs (“Fee Memorandum”) lists 27 prior cases of this type with gross

recoveries exceeding $2.6 billion, “virtually of all which Class Counsel here prosecuted.” The

lawyers’ experience is actually greater than this because there are several unlisted generic delay

cases that turned out poorly. See Fee Memorandum, at pp. 5-7 (discussing cases that were lost).

Lawyers have a learning curve, the antitrust caselaw needed time to develop, and even after it

developed significant risks remained. The lawyers comprising Class Counsel know this minefield

better than anyone else.

       29.     The antitrust world has taken note of Class Counsel’s success. According to the

2018 Antitrust Annual Report, Berger ranked 16th in aggregate antitrust settlements over the 2013

to 2018 period, with $975 million recovered, and GGF ranked 10th, with $1.18 billion recovered.

University of San Francisco Law School and The Huntington National Bank, 2018 Antitrust

Annual Report (2019), p. 27. Because GGF and Berger are elite antitrust firms, the members of
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the Direct Purchaser Class would rationally have agreed to pay them the prevailing rate for such

firms when hiring them to handle this case.2

       30.     In fact, this is precisely what the class members did in past cases. As Class Counsel

reports, in prior litigations members of the Direct Purchaser Class “provided letters and

declarations attesting to the reasonableness of a 33⅓% fee.” Fee Memorandum, pp. 2-3. Class

members’ willingness to pay 33⅓ percent of their recoveries as fees in prior antitrust cases of this

type supports the inference that a percentage that high would be appropriate here, and a lower

percentage like 27.5% moreso. There is no better evidence of market rates than the fees that

sophisticated clients willingly pay.

VII.   FEES PREVAILING IN THE PRIVATE MARKET FOR LEGAL SERVICES

       31.     As mentioned, over the course of my career I have consistently urged courts to take

guidance from the market for legal services when sizing fee awards, and the number of courts that

do so has grown. For example, in Goldberger v. Integrated Resources, Inc., 209 F.3d 43 (2d Cir.

2000), the Second Circuit wrote that “market rates, where available, are the ideal proxy for [class

action lawyers’] compensation.” Id., p. 52. It is hard to do better than “ideal.”

       32.     In my experience, courts have found the “mimic the market” approach attractive

for two reasons. They understand the importance of incentivizing lawyers properly and they want

an objective basis on which to decide how much lawyers will be paid. The two considerations–

incentives and objectivity–are linked. By taking guidance from the market, courts constrain their

discretion and thereby make lawyers’ incentives clearer and more reliable.




2
 The 2018 Antitrust Annual Report also points out that Faruqi & Faruqi LLP, another firm working
for the class, was co-lead counsel in the sixth-largest settlement approved in 2018. Id., p. 15.
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       A.      In Contingent Fee Litigation, Percentage-Based Compensation Predominates

       33.     Having established that market rates are “ideal” proxies, it remains to consider how

the market compensates plaintiffs’ attorneys. In this section and the next, I explain what I know

about this issue.

       34.     I start by noting that when clients hire lawyers to handle lawsuits on straight

contingency, the market sets lawyers’ compensation as percentages of claimants’ recoveries. Even

sophisticated business clients with complex, high-dollar legal matters use the percentage approach.

       [T]he contingency fee model covers all sorts of plaintiffs’ litigation, including cases
       where sophisticated individual clients have high-stakes, complex claims worth
       hundreds of millions of dollars. . . . [I]t is essentially unheard of for sophisticated
       lawyers to take on a case of this magnitude and type on any basis other than a
       contingency fee, expressed as a percentage of the relief obtained.

In re Payment Card Interchange Fee & Merchant Discount Litig., 991 F. Supp. 2d 437, 440

(E.D.N.Y. 2014).3 See also Kirchoff v. Flynn, 786 F.2d 320, 324 (7th Cir. 1986) (Easterbrook, J.)

(noting the predominance of the percentage method in plaintiff representations and observing that

“[w]hen the ‘prevailing’ method of compensating lawyers for ‘similar services’ is the contingent

fee, then the contingent fee is the ‘market rate’” (emphasis in the original)).

       35.     Abundant evidence supports this contention. When two coauthors and I studied

hundreds of settled securities fraud class actions specifically looking for terms included in fee

agreements between lawyers and investors seeking to serve as lead plaintiffs, all the agreements

we found provided for contingent percentage fees. Is the Price Right, supra. No lead plaintiff

agreed to pay its lawyers by the hour; nor did any retain counsel on a lodestar basis.

       36.     The finding just described was expected. Over the course of my academic career,

I have studied or participated in hundreds of class actions, many of which were led by sophisticated


3
 This opinion became a nullity when the decision approving the settlement was reversed on appeal,
but the observation quoted is correct.
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business clients. To the best of my recollection, I have encountered only one in which a lead

plaintiff paid class counsel out of pocket, and that case is more than 100 years old. Even wealthy

clients that, in theory, might have paid lawyers by the hour used contingent, percentage-based

compensation arrangements instead.         Because percentage-based compensation arrangements

dominate the market, courts should also use them when awarding fees from common funds.

        37.     The market also appears to favor fee percentages that are flat or that rise as

recoveries increase. Scales with percentages that decline at the margin are rarely employed.

Professor John C. Coffee, Jr., the country’s leading authority on class actions, made this point in

a report filed in the antitrust litigation relating to high fructose corn syrup.

        I am aware that “declining” percentage of the recovery fee formulas are used by
        some public pension funds, serving as lead plaintiffs in the securities class action
        context. However, I have never seen such a fee contract used in the antitrust
        context; nor, in any context, have I seen a large corporation negotiate such a
        contract (they have instead typically used straight percentage of the recovery
        formulas).

Declaration of John C. Coffee, Jr., submitted in In re High Fructose Corn Syrup Antitrust

Litigation, M.D.L. 1087 (C.D. Ill. Oct. 7, 2004), ECF No. 1421, ¶ 22. My experience is similar to

Professor Coffee’s. I know of no instance in which a large corporation used a scale of declining

percentages when hiring a lawyer or firm to represent only itself.

        38.     In view of the rarity with which declining scales are used, the ‘mimic the market’

approach suggests that flat percentages and scales with percentages that rise at the margin create

better incentives. This is so because flat percentages and rising scales better incentivize plaintiffs’

attorneys to extract higher dollars that are harder to obtain. Flat percentages or percentages that

increase with the recovery encourage plaintiffs’ attorneys to turn down inadequate settlements.




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       B.      Clients Normally Pay Contingent Fees In The Range Of 25 Percent To 40
               Percent

       39.     Countless plaintiffs have hired lawyers on contingency to handle cases of diverse

types. Consequently, the market for legal services is a rich source of information about lawyers’

fees. In this section, I survey this evidence.

       40.     Before doing so, I wish to note that there is broad agreement that fees ranging from

25 percent to 40 percent prevail in most types of plaintiff representations. For example, courts

have often noted that fees in personal injury cases normally equal or exceed 33⅓ percent of

plaintiffs’ recoveries. See, e.g., George v. Acad. Mortg. Corp. (UT), 369 F. Supp. 3d 1356, 1382

(N.D. Ga. 2019) (“Plaintiffs request for approval of Class Counsel’s 33% fee falls within the range

of the private marketplace, where contingency-fee arrangements are often between 30 and 40

percent of any recovery”); Leung v. XPO Logistics, Inc., 326 F.R.D. 185, 201 (N.D. Ill. 2018) (“a

typical contingency agreement in this circuit might range from 33% to 40% of recovery”); Wolff

v. Cash 4 Titles, No. 03-22778-CIV, 2012 U.S. Dist. LEXIS 153786, 2012 WL 5290155, at *4

(S.D. Fla. Sept. 26, 2012) (“One-third of the recovery is considered standard in a contingency fee

agreement.”); Burkholder v. City of Ft. Wayne, 750 F. Supp. 2d 990, 997 (N.D. Ind. 2010)

(observing that “a counsel fee of 33.3% of the common fund ‘is comfortably within the range

typically charged as a contingency fee by plaintiffs’ lawyers’ in an FLSA action”).

       41.     Many courts have also observed that attorneys regularly contract for contingent fees

between 30 percent and 40 percent in non-class, commercial cases. See, e.g., Kapolka v. Anchor

Drilling Fluids USA, LLC, No. 2:18-CV-01007-NR, 2019 WL 5394751, at *10 (W.D. Pa. Oct. 22,

2019); Lincoln Adventures LLC v. Those Certain Underwriters at Lloyd's, London Members, No.

CV 08-00235 (CCC), 2019 WL 4877563, at *8 (D.N.J. Oct. 3, 2019); Cook v. Rockwell Int'l Corp.,

No. 90-CV-00181-JLK, 2017 WL 5076498, at *2 (D. Colo. Apr. 28, 2017); and In re Schering-


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Plough Corp. Enhance Sec. Litig., No. CIV.A. 08-2177 DMC, 2013 WL 5505744, at *32 (D.N.J.

Oct. 1, 2013).

       42.       The point of surveying the evidence, then, is not to establish something new. It is

to show that what everyone already knows is correct. In cases of diverse types, the market rate for

contingent fee lawyers ranges from 25 percent to 40 percent of clients’ recoveries.

                 1.     Personal Injury Cases

       43.       If courts chose to base fee awards in class actions on fees charged in personal injury

cases, this Report could be quite short. The evidence clearly shows that contingent fees normally

range from 25 percent to 40 percent in these cases,4 are often higher in mass tort contexts,5 and are


4
  On fees in personal injury cases, see Deborah R. Hensler et al., COMPENSATION FOR ACCIDENTAL
INJURIES IN THE UNITED STATES 135-36 & Table 5.11 (RAND 1991), available at
http://www.rand.org/pubs/reports/2006/R3999.pdf (reporting that randomly selected accident
victims who hired attorneys on contingency paid median fees of 33 percent and mean fees of 29
percent); Herbert M. Kritzer, Investing in Contingency Fee Cases, WISCONSIN LAWYER 11, 12
(August 1997) (reporting that in a sample of 989 plaintiff representations in Wisconsin, slightly
more than half of the claimants agreed to pay a one-third contingent fee); Nora Freeman Engstrom,
Sunlight and Settlement Mills, 86 N.Y.U. L. REV. 805, 846 (2011) (reporting that “every one of
the twelve [high volume plaintiffs’ firms she] studied charge[d] a tiered contingency fee,” with
most charging “at least 33%--and perhaps as high as 40%”).
5
  On fees in mass tort cases, see James S. Kakalik, et al., COSTS OF ASBESTOS LITIGATION Table
S.2 (RAND 1983) (finding that asbestos claimants whose cases closed before August, 1982, paid
legal fees and other litigation expenses equal to about 42 percent of their recoveries); James S.
Kakalik et al., VARIATION IN ASBESTOS LITIGATION COMPENSATION AND EXPENSES xviii Figure
S.1 (RAND 1984) (finding that asbestos claimants paid legal fees and expenses equal to 39 percent
of their recoveries). For anecdotal reports of fees in mass tort cases, see In re A.H. Robins Co.,
Inc., 182 B.R. 128, 131 (E.D. Va. 1995) (reporting that thousands of women injured by the Dalkon
Shield signed contingent fee arrangements providing for fees between one-quarter and one-half of
the recovery, with most charging one-third); Mireya Navarro, Sept. 11 Workers Agree to Settle
Health Lawsuits, NEW YORK TIMES, November 19, 2010, available at
http://www.nytimes.com/2010/11/20/nyregion/20zero.html (reporting that thousands of rescue
and clean-up workers who were harmed as a result of the terrorist attacks on September 11, 2001,
hired lawyers on terms requiring them to pay one-third of their recoveries); Martha Neil,
Frustration Over Uncontained Gulf Oil Spill – and Tort Claim Contingency Fees of Up to
50 Percent,        ABA         JOURNAL        (May         24,      2010),        available     at
http://www.abajournal.com/news/article/frustration_over_uncontained_gulf_oil_spill--and_tort_
legal_fees_of_up_to_5/ (reporting that thousands of clients with claims against BP arising out of
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higher still in medical malpractice cases, which are exceptionally risky and costly.6 Lower rates

prevail in commercial airplane crash cases, where liability is usually conceded.7 Fees vary across

contexts because cases of different types require lawyers to bear different risks.

               2.      Large Commercial Lawsuits

       44.     We do not know as much about fees paid in large commercial lawsuits as we might.8

No publicly available database collects information about this sector of the market, and businesses

that sue as plaintiffs rarely reveal their fee agreements. Consequently, most of what is known is

drawn from anecdotal reports.9 That said, the evidence available on the use of contingent fees by

sophisticated clients shows that marginal percentages tend to be high.




the Deepwater Horizon catastrophe promised to pay contingent fees in the range of 40 percent to
50 percent).
6
  On factors affecting the size of contingent fees charged in medical malpractice cases, see
ABA/TIPS Task Force on Contingent Fees, Report on Contingent Fees In Medical Malpractice
Litigation   (September     20,    2004),   available   at    http://apps.americanbar.org/tips/
contingent/MedMalReport092004DCW2.pdf.
7
  See id., at 27. See also ABA Formal Opinion 94-389, n. 13 (1994) (reporting that “[i]n cases
where airline insurers voluntarily . . . [made] an early settlement offer and concede[d] all legal
liability, average contingent fee rates dropped to 17% and were often only charged on a portion of
the recovery”) (citing L. Kriendler, The Letter: It Shouldn’t be Sent, 12 THE BRIEF 4, 38 (November
1982)).
8
  I have studied the costs insurance companies incur when defending liability suits. See Bernard
Black, David A. Hyman, Charles Silver and William M. Sage, Defense Costs and Insurer Reserves
in Medical Malpractice and Other Personal Injury Cases: Evidence from Texas, 1988-2004, 10
AM. L, & ECON, REV. 185 (2008). Unfortunately, this information sheds no light on the amounts
that businesses pay when acting as plaintiffs.
9
  Businesses sometimes use hybrid arrangements that combine guaranteed payments with
contingent bonuses. In a recent case against Bank of America, for example, a group of bankruptcy
creditors with about $58 million at stake agreed to pay a law firm $1 million upfront and 5 percent
of the net recovery. Petra Pasternak, It’s BIG, You’re in Charge! Firm Picked for Pending Case
Against BofA, Citi, CORP. COUNS. (Online) April 9, 2010. Hybrid arrangements hold few lessons
for class actions, however, because lawyers representing plaintiff classes must work on straight
contingency.

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                       a)      Patent Cases

       45.     Consider patent infringement representations. There are many anecdotal reports of

high percentages in this area. The most famous one related to the dispute between NTP Inc. and

Research In Motion Ltd., the company that manufactures the Blackberry. NTP, the plaintiff,

promised its law firm, Wiley Rein & Fielding (“WRF”), a 33⅓ percent contingent fee. When the

case settled for $612.5 million, WRF received more than $200 million in fees. Yuki Noguchi,

D.C. Law Firm’s Big BlackBerry Payday: Case Fees of More Than $200 Million Are Said to

Exceed Its 2004 Revenue, WASHINGTON POST, March 18, 2006, D03.

       46.     The fee percentage that WRF received is typical, as Professor David L. Schwartz

found when he interviewed 44 experienced patent lawyers and reviewed 42 contingent fee

agreements.

       There are two main ways of setting the fees for the contingent fee lawyer [in patent
       cases]: a graduated rate and a flat rate. Of the agreements using a flat fee reviewed
       for this Article, the mean rate was 38.6% of the recovery. The graduated rates
       typically set milestones such as “through close of fact discovery,” “through trial,”
       and “through appeal,” and tied rates to recovery dates. As the case continued, the
       lawyer’s percentage increased. Of the agreements reviewed for this Article that
       used graduated rates, the average percentage upon filing was 28% and the average
       through appeal was 40.2%.

David L. Schwartz, The Rise of Contingent Fee Representation in Patent Litigation, 64 ALA. L.

REV. 335, 360 (2012). In a case like this one that required the lawyers to bear significant litigation

expenses with no guarantee of reimbursement a high fixed percentage would apply.10


10
   Professor Schwartz’s findings are consistent with reports found in patent blogs, one of which
stated as follows.
       Contingent Fee Arrangements: In a contingent fee arrangement, the client does not
       pay any legal fees for the representation. Instead, the law firm only gets paid from
       damages obtained in a verdict or settlement. Typically, the law firm will receive
       between 33-50% of the recovered damages, depending on several factors – a strictly
       results-based system.

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        47.    Clearly, in the segment of the market where sophisticated business clients hire

lawyers to litigate patent cases on contingency, successful lawyers earn enormous premiums over

their normal hourly rates. The reason is obvious. When waging patent cases on contingency,

lawyers must incur large risks and high costs, so clients must promise them hefty returns. Clients

still prefer this arrangement to bearing the risks and costs of litigation themselves, so they willingly

do.

                       b)      Other Large Commercial Cases

        48.    Turning from patent lawsuits to business representations more generally, many

examples show that compensation tends to be a significant percentage of the recovery. A famous

case from the 1980’s involved the Texas law firm of Vinson & Elkins (“V&E”). ETSI Pipeline

Project (“EPP”) hired V&E to sue Burlington Northern Railroad and other defendants, alleging a

conspiracy on their part to prevent EPP from constructing a $3 billion coal slurry pipeline. Harry

Reasoner, then V&E’s managing partner, described the financial relationship between EPP and

V&E.

        The terms of our retention were that our client would pay all out-of-pocket expenses
        as they were incurred, but all legal fees were contingent upon a successful outcome.
        We were paid 1/3 of all amounts received by way of settlement or judgment. We
        litigated the matter for 5 years. At the conclusion, we had settled with all
        defendants for a total of $634,900,000.00. As a result, a total of $211,633,333.00
        was paid as contingent legal fees.

Declaration of Harry Reasoner, filed in In re Washington Public Power Supply System Securities

Litigation, MDL No. 551 (D. Ariz., Nov. 30, 1990).

        49.    Several things about this example are noteworthy. First, the contingency fraction

was one-third of the recovery in a massive case. Second, V&E bore no liability for out-of-pocket



Matt Cutler, Contingent Fee Patent Litigation, and Other Options, PATENT LITIGATION,
http://intellectualproperty-rights.com/?page_id=30 (reviewed March 13, 2012).

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expenses. Third, the ETSI Pipeline case was enormous, ultimately generating a recovery greater

than $600 million and a fee north of $200 million. Fourth, the client was a sophisticated business

with access to the best lawyers in the country. No claim of pressure or undue influence by V&E

could possibly be made.

       50.     The National Credit Union Administration’s (“NCUA”) experience in litigation

against securities underwriters provides a more recent example of contingent-fee terms that were

used successfully in large, related litigations. After placing 5 corporate credit unions into

liquidation in 2010, the NCUA filed 26 complaints in federal courts in New York, Kansas, and

California against 32 Wall Street securities firms and banks. To prosecute the complaints, which

centered on sales of investments in faulty residential mortgage-backed securities, the NCUA

retained two outside law firms, Korein Tillery LLP and Kellogg, Hansen, Todd, Figel, & Frederick

PLLC, on a straight contingency basis. The original contract entitled the firms to 25 percent of

the recovery, net of expenses. As of June 30, 2017, the lawsuits had generated more than $5.1

billion in recoveries on which the NCUA had paid $1,214,634,208 in fees.11

       51.     When it retained outside counsel on contingency, NCUA knew that billions of

dollars were at stake. The failed corporate credit unions had sustained $16 billion in losses, and

the NCUA’s objective was to recover as much of that amount as possible. It also knew that dozens

of defendants would be sued and that multiple settlements were possible. Even so, the NCUA



11
  The following documents provide information about NCUA’s fee arrangement and the
recoveries obtained in the litigations: Legal Services Agreement dated Sept. 1, 2009,
https://www.ncua.gov/services/Pages/freedom-of-information-act/legal-services-agreement.pdf;
National Credit Union Administration, Legal Recoveries from the Corporate Crisis,
https://www.ncua.gov/regulation-supervision/Pages/corporate-system-resolution/legal-
recoveries.aspx; Letter from the Office of the Inspector General, National Credit Union
Administration     to     the     Hon.      Darrell    E.      Issa,    Feb.      6,    2013,
https://www.ncua.gov/About/leadership/CO/OIG/Documents/OIG20130206IssaResponse.pdf.

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agreed to pay a straight contingent percentage fee in the standard market range on all the

recoveries. It neither reduced the fees that were payable in later settlements in light of fees earned

in earlier ones, nor bargained for a percentage that declined as additional dollars flowed in, nor

tied the lawyers’ compensation to the number of hours they expended.

       52.     In In re Merry-Go-Round Enterprises, Inc., 244 B.R. 327 (D. Md. 2000), the

bankruptcy trustee wanted to assert claims against Ernst & Young. He looked for counsel willing

to accept a declining scale of fee percentages, found no takers, and ultimately agreed to pay a law

firm a straight 40 percent of the recovery. Ernst & Young subsequently settled for $185 million,

at which point the law firm applied for $71.2 million in fees, 21 times its lodestar. The bankruptcy

judge granted the request, writing: “[v]iewed at the outset of this representation, with special

counsel advancing expenses on a contingency basis and facing the uncertainties and risks posed

by this representation, the 40% contingent fee was reasonable, necessary, and within a market

range.” Id. at 335.

       53.     Based on what lawyers who write about fee arrangements in business cases have

said, contingent percentages of 33⅓ percent or more remain common. In 2011, THE ADVOCATE,

a journal produced by the Litigation Section of the State Bar of Texas, published a symposium

entitled “Commercial Law Developments and Doctrine.” It included an article on alternative fee

arrangements, which reported typical contingent fee rates of 33 percent to 40 percent.

       A pure contingency fee arrangement is the most traditional alternative fee
       arrangement. In this scenario, a firm receives a fixed or scaled percentage of any
       recoveries in a lawsuit brought on behalf of the client as a plaintiff. Typically, the
       contingency is approximately 33%, with the client covering litigation expenses;
       however, firms can also share part or all of the expense risk with clients. Pure
       contingency fees, which are usually negotiated at approximately 40%, can be useful
       structures in cases where the plaintiff is seeking monetary or monetizable damages.
       They are also often appropriate when the client is an individual, start up, or
       corporation with limited resources to finance its litigation. Even large clients,



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          however, appreciate the budget certainty and risk-sharing inherent in a contingent
          fee arrangement.

Trey Cox, Alternative Fee Arrangements: Partnering with Clients through Legal Risk Sharing, 66

THE ADVOCATE (TEXAS) 20 (2011).

                           c)      Sophisticated Named Plaintiffs in Class Actions

          54.      I mentioned above that the members of the Direct Purchaser Class supported fee

awards in the range of one-third of the recovery in many prior cases. By doing so, they joined

many other sophisticated businesses that supported similarly sized fees when serving as lead

plaintiffs in class actions. Here are a few examples.

      •   In Payment Card, 2019 WL 6888488, a multi-billion-dollar litigation, twelve business
          clients signed retainer agreements when litigation commenced which generally provided
          that class counsel would receive one-third of the class-wide recovery.12



12
     Typical language read as follows:
          (a) Fees As Class Counsel
                (1) Fees for the Firm’s professional services in the Action as Class Counsel will
                be on a contingent basis and dependent upon the results obtained. In the event
                of a settlement or a favorable outcome at or after a trial, the Firm shall seek to
                recover legal fees equal to one-third of the Value of the Recovery attributable
                to our representation of the Class from one or more of the defendants. Any
                amount which is not recovered from the defendant(s) shall be payable on a
                contingent fee basis as described in paragraph (2) below. The Company agrees
                to support any request for attorney’s fees, costs and disbursements to the court
                that is in an amount of one-third of the Value of the Recovery or less.
                (2) In the event that the court does not approve the fee requested by the Firm,
                the Company and the other named plaintiffs agree to pay the difference between
                the fee awarded by the court and an amount equal to one-third of the Value of
                the Recovery made on behalf of the named plaintiffs.
          (b) Fees Owed If Recovery Is Made Outside Of Class Action.
                In the event that The Company makes a recovery outside of the class action (as,
                for example, if a class is not certified or the Company withdraws as a class
                representative) the Company agrees to pay a contingent fee equal to one-third
                of the Value of the Recovery to the Company.

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   •   In In re International Textile Group Merger Litigation, C.A. No. 2009-CP-23-3346 (Court
       of Common Pleas, Greenville County, South Carolina), which settled in 2013 for relief
       valued at about $81 million, five sophisticated investors serving as named plaintiffs agreed
       to pay 35 percent of the gross class-wide recovery as fees, with expenses to be separately
       reimbursed. (The 35 percent fee was bargained down after initially being set at over 40
       percent.)
   •   In San Allen, Inc. v. Buehrer, Case No. CV-07-644950 (Ohio – Court of Common Pleas),
       which settled for $420 million, seven businesses serving as named plaintiffs signed retainer
       contracts in which they agreed to pay 33.3 percent of the gross recovery obtained by
       settlement as fees, with a bump to 35 percent in the event of an appeal. Expenses were to
       be reimbursed separately.
   •   In In re U.S. Foodservice, Inc. Pricing Litigation, Case No. 3:07-md-1894 (AWT) (D. Ct.),
       a RICO class action that produced a $297 million settlement, both of the businesses that
       served as named plaintiffs were represented by counsel in their fee negotiations and both
       agreed that the fee award might be as high as 40 percent.
       C.      Direct Purchasers’ Support For A One-Third Fee In Prior Generic Delay
               Antitrust Class Actions

       55.     Having shown that sophisticated business clients regularly pay contingent fees in

the range requested here and that they do so when serving as lead plaintiffs in class actions too, I

will now discuss the support that the three largest members of the Direct Purchaser Class—

AmerisourceBergen, Cardinal Health, and McKesson—offered for the fees requested in prior

cases. They did so by submitting letters when the lawsuits settled.

       56.     AmerisourceBergen, Cardinal Health, and McKesson are enormous companies. In

2018, their revenues were $170 billion, $137 billion, and $208 billion, respectively. They plainly

qualify as highly sophisticated clients with ready access to the market for legal services and great

ability to bargain with lawyers over prices. Their attitudes and actions in prior cases where Class

Counsel represented them therefore merit study.

       57.     Table 1, below, identifies a group of settled antitrust class action for which I have

information showing that AmerisourceBergen, Cardinal Health, and McKesson submitted letters

expressing their affirmative support for proposed settlements and fee awards. In all but one of the

listed cases, all three companies did so. There are also many cases not listed in the table in which,

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although these businesses did not submit supporting letters, they did not object. Given their

sophistication, it seems reasonable to infer that silence equals approval.

 Table 1: Settlements With Letters Of Support From The Three Largest Direct
 Purchasers
                             Settlement          Amerisource Cardinal
          Litigation                      Fee                               McKesson
                             (Millions)             Bergen      Health
 In re Asacol Antitrust
 Litig., No. 15-12730 (D.       $15.00   33⅓%         Y            Y           Y
 Mass. Dec. 7, 2017)
 In re K-Dur Antitrust
 Litig., No. 01-1652            $60.00   33⅓%         Y            Y           Y
 (D.N.J. Oct. 5, 2017)
 In re Prograf Antitrust
 Litig., No. 11-md-2242         $98.00   33⅓%         Y            Y           Y
 (D. Mass. May 20, 2015)
 In re Prandin Direct
 Purchaser Antitrust Litig.,
                                $19.00   33⅓%         Y            Y           Y
 No. 10-12141 (E.D.
 Mich. Jan. 20, 2015)
 In re Neurontin Antitrust
 Litig., No. 02-1830          $191.00    33⅓%         Y            Y           Y
 (D.N.J. Aug. 6, 2014)
 In re Flonase Antitrust
 Litig., No. 08-cv-3149       $150.00    33⅓%         N            Y           Y
 (E.D. Pa. June 14, 2013)
 In re Wellbutrin XL
 Antitrust Litig., No. 08-
                                $37.50   33⅓%         Y            Y           Y
 cv-2431 (E.D. Pa. Nov. 7,
 2012)
 In re Metoprolol
 Succinate Antitrust Litig.,
                                $20.00   33⅓%         Y            Y           Y
 No. 06-52 (D. Del. Jan.
 11, 2012)
 In re Wellbutrin SR
 Antitrust Litig., No. 04-
                                $49.00   33⅓%         Y            Y           Y
 5525 (E.D. Pa. Nov. 21,
 2011)




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 Table 1: Settlements With Letters Of Support From The Three Largest Direct
 Purchasers
                            Settlement           Amerisource Cardinal
          Litigation                      Fee                               McKesson
                            (Millions)              Bergen      Health
 In re Nifedipine Antitrust
 Litig., No. 03-mc-223-
                               $35.00    33⅓%         Y            Y           Y
 RJL (D.D.C. Jan. 31,
 2011)
 In re Oxycontin Antitrust
 Litig., No. 04-md-1603-
                               $16.00    33⅓%         Y            Y           Y
 SHS (S.D.N.Y. Jan. 25,
 2011)
 In re Celebrex
 (Celecoxib) Antitrust
 Litig., No. 2:14-CV-
 00361, 2018 WL              $94.00     33⅓%          Y            Y           Y
 2382091 (E.D. Va. Apr.
 18, 2018)
 Meijer, Inc. v. Abbot
 Labs., No. 07-5985 (N.D.        $52.00        33⅓%               Y              Y              Y
 Cal.) (August 11, 2011)
 King Drug Company of
 Florence, Inc. v.
 Cephalon, Inc., No. 2:06-       $512.00        27.5%             Y              Y              Y
 cv-1797-MSG (E.D. Pa.
 Oct. 8, 2015)


VIII. THE DIFFICULTY OF WINNING ANTITRUST CLASS ACTIONS

        58.     The successes that Class Counsel has accomplished when attacking generic delay

settlements on antitrust grounds may create the impression that the cases are “slam-dunks.” They

are not. Many hurdles must be overcome.

        59.     Class Counsel describe many of the risks they faced in the Fee Memorandum and

the Declaration of Bruce E. Gerstein in Support of Class Counsel’s Motion for Attorneys’ Fees,

Reimbursement of Expenses and Incentive Awards for the Named Plaintiffs. Because they know

this terrain far better than I do, I can add little to their account. However, I can say, first, that had

this lawsuit been a “slam dunk,” it would have been financially advantageous for Forest to have


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settled far sooner than it did. Why waste tens of millions of dollars defending a lawsuit until the

eve of trial when it is obvious that one will lose? Why file a 71-page motion to dismiss or resist

class certification if it is obvious that both maneuvers will fail? Why spend millions more on

expert witnesses too? Forest’s willingness to mount an aggressive defense makes sense only if the

company thought it had a decent chance of winning the case.

       60.     I can also point out that antitrust class actions with mega-fund recoveries are fairly

uncommon. From 2013 to 2018, the median settlement amount (half above/half below) for

antitrust class actions varied from a high of $11 million (in 2013) to a low of $5 million (in 2016

and 2017). Of the 730 settlements that occurred over this period, 92 percent fell below $100

million, the traditional mega-fund threshold. 2018 Annual Antitrust Report, supra, p. 14.

       61.     The lack of a prior governmental investigation of the Forest/Mylan generic delay

settlement is also worth mentioning because it a sign of high risk.13 A government agency’s

involvement in a lawsuit may reduce the burden on class action lawyers, lend credence to the

plaintiffs’ allegations, and be a source of valuable information or other assistance. Many antitrust

cases produced mega-fund recoveries were assisted substantially by criminal prosecutions and

guilty pleas. See, e.g., In re Vitamins Antitrust Litig., No. 99-197, 2001 WL 34312839 (D.D.C.

July 16, 2001) ($365 million class recovery and 34.6% fee award in case supported by criminal

prosecutions and guilty pleas); In re TFT-LCD (Flat Panel) [Indirect Purchaser] Antitrust Litig.,

MDL No. 1827, 2013 WL 1365900 (N.D. Cal. Apr. 3, 2013) ($1.08 billion class recovery and




13
   In late 2014, the New York Attorney General sued to enjoin the withdrawal of Namenda IR
from the market. It did not challenge the generic delay settlement that is at the heart of this case.
It also wound down its lawsuit after an injunction was secured, without seeking damages. Gerstein
Dec., ¶¶ 3 & 7.
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approximately 30% fee to class counsel and state attorneys general in case supported by sweeping

criminal prosecutions and guilty pleas).

       62.     If prior or parallel government proceedings make class actions less risky, then

(other things being equal) fee awards should be higher in cases like this one, where Class Counsel

undertook the litigation challenging a patent litigation settlement without help from a regulator.

In fact, in this context the lack of a governmental investigation of the Forest/Mylan generic delay

settlement may have increased the risk, because the settlement was submitted to the Federal Trade

Commission and the Justice Department, both of which chose not to act. Had this fact been made

know to a jury—and Forest intended to introduce evidence of it at trial—its members may have

inferred that the settlement was fine.

       63.     By saying that Class Counsel undertook the litigation without help from a regulator,

I do not mean to deny that the New York Attorney General sued Forest and secured an injunction

against the company’s attempt to “product hop” by withdrawing Namenda IR from the market. I

mean that only Class Counsel attacked the anticompetitive settlement agreement between Forest

and Mylan and that only Class Counsel sought damages for the attempted product hop. The New

York Attorney General seemed to think that the injunction it secured protected purchasers

sufficiently. Nor did the New York Attorney General assist the private action by obtaining guilty

pleas or other concessions, such as an agreement to cooperate, that might have made the damages

action less risky. Only Class Counsel quantified the damages and bore the risk associated with the

generic delay settlement.

       64.     Finally, it bears emphasis that Class Counsel secured class certification for trial

before negotiating the proposed settlement. Although settlement classes are common in antitrust




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cases and cases of other types, litigation classes are not, as other commentators have noted. The

following paragraph appears in a study published in 2017.

       Many class actions are resolved as settlement classes—meaning that the parties
       settle the class certification issue at the same time as they settle the merits, and
       present both agreements to the judge for approval at the fairness hearing.
       Settlement classes were common in our data, constituting approximately three-
       quarters of the cases: Of the 422 cases for which data were available, 318 were
       settlement classes and 104 were litigation classes.

Theodore Eisenberg, Geoffrey Miller & Roy Germano, Attorneys’ Fees in Class Actions: 2009-

2013, 92 N.Y.U. L. Rev. 937, 961 (2017). Eleven of the 16 antitrust cases in the authors’ dataset

were settlement classes. Id., Table 10.

       65.     Both the risk and the value of certifying a class for litigation are important.

Winning a contested certification motion in an antitrust case is hard. During the era of the Roberts

Court, federal courts have been increasingly hard on antitrust plaintiffs. See, e.g., Mark S.

Popofsky and Douglas H. Hallward-Driemeier, Antitrust and the Roberts Court, 28-SUM

ANTITRUST 26, 26 (2014) (observing that “the Roberts Court has consistently raised the threshold

for plaintiffs seeking to pursue class actions”). Plaintiffs who win in the trial courts also face a

serious prospect of losing on appeal, as I pointed out almost two decades ago.

       Rule 23(f) is a one-way ratchet for defendants. Although early evidence was
       ambiguous, … a clear pattern of antiplaintiff decisions has emerged. See Jennifer
       K. Fardy, Disciplining the Class: Interlocutory Review of Class Action
       Certification Decisions Under Rule 23(f), 13 Class Actions & Derivative Suits 3, 9
       (2003) (reporting that federal circuit courts have granted thirty-two petitions for
       interlocutory review, that “the vast majority of the decisions ... have resulted in
       elimination of class status,” and that no federal circuit has used [a] 23(f) appeal to
       reverse      [a]     denial     of      class     certification),     available     at
       http://www.seyfarth.com/db30/cgi-bin/pubs/fardy.PDF.

Charles Silver, “We’re Scared to Death”: Class Certification and Blackmail, 78 N.Y.U. L. Rev.

1357, 1430 (2003).




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        66.    Although the odds of losing are great, the value of having a class certified for

litigation is enormous. Certification cements counsel’s control of the lawsuit and forces the

defendant to confront the possibility of suffering a class-wide judgment at trial. The combination

greatly enhances plaintiffs’ leverage in settlement negotiations.

IX.     FEE AWARDS IN COMPARABLE CASES

        67.    In my experience, courts want to know how other courts have handled fees in

similar cases. Being familiar with both empirical studies of fee awards and awards made in cases

with recoveries exceeding $100 million, I can confidently report that Class Counsel’s request for

a fee of 27.5 percent of the recovery falls at the low end of the range that courts typically award.

        68.    The 2018 Antitrust Annual Report, supra, at p. 23, contains the most comprehensive

information I have been able to find on fee awards in antitrust class actions. It reports that fees

and expenses are most often calculated as a percentage of the overall settlement fund, and that

lodestar cross checks are common too. The report then breaks out median fee awards and expenses

in antitrust class action by size of recovery. As is visually apparent, at most recovery levels, the

median award falls between 28 percent and 33 percent. Only when recoveries exceed $1 billion

does the median fee award percentage substantially decline.




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Source: University of San Francisco Law School and The Huntington Bank, 2018 Antitrust Annual
Report, Fig. 12 (2019).

       69.     In this case, Class Counsel may request a fee award equal to 27.5 percent of the

$750 million recovery. The request falls slightly below the median award—28 percent—for cases

in the relevant size band. In view of this, Class Counsel’s request seems modest, not exceptional.

       70.     An examination of fee awards in mega-fund cases with recoveries of $100 million

or more strengthens this impression. There are many mega-fund cases with awards in the relevant

range, as shown in Table 2, below. The table is exemplary, not exhaustive. There may be more

cases than it reports. The entries have not been adjusted for inflation, either. By increasing

settlement values to current dollars, an inflation adjustment would increase the number of

qualifying cases and make the older cases in the table seem larger. For example, the $359 million

paid in the Vitamins antitrust case in 2001 equals $523 million in 2020.


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Table 2: Mega-Fund Settlements With Fee Awards Of 30 Percent Or More
                                                    Settlement
                          Case                      Amount (in  Fee    Type
                                                     Millions)
    In re Vitamins Antitrust Litig., No. MDL
 1 1285, 2001 WL 34312839 (D.D.C. July 16,            359.00    34%  Antitrust
    2001)
    In re Urethane Antitrust Litig., 2016 WL
 2                                                    835.00    33%  Antitrust
    4060156, at *8 (D. Kan. July 29, 2016)
    In re Initial Pub. Offering Sec. Litig., 671 F.
 3                                                    586.00    33%  Securities
    Supp. 2d 467 (S.D.N.Y. 2009)
    In re Tricor Direct Purchaser Antitrust Litig.,
 4                                                    250.00    33%  Antitrust
    No. 05-340-SLR, ECF No. 543 (D. Del. 2009)
    In re Buspirone Antitrust Litig., MDL No.
 5 1413 (JGK), 2003 U.S. Dist. LEXIS 26538, at        220.00    33%  Antitrust
    *11 (S.D.N.Y. Apr. 11, 2003)
    In re Neurontin Antitrust Litig., No. 02-1830
 6                                                   $191.00   33⅓%  Antitrust
    (D.N.J. Aug. 6, 2014)
    In re Titanium Dioxide Antitrust Litig., No.
 7 10-CV-00318 RDB, 2013 WL 6577029 (D.               163.50    33%  Antitrust
    Md. Dec. 13, 2013)
    In re Se. Milk Antitrust Litig., No. 2:07-CV
 8 208, 2013 WL 2155387, at *8 (E.D. Tenn.            158.60    33%  Antitrust
    May 17, 2013)
    In re Flonase Antitrust Litig., 951 F. Supp. 2d
 9                                                    150.00    33%  Antitrust
    739 (E.D. Pa. 2013)
    In re Apollo Grp. Inc. Sec. Litig., No. CV 04-
10 2147-PHX-JAT, 2012 WL 1378677 (D. Ariz.            145.00    33%  Securities
    Apr. 20, 2012)
    In re Plasma-Derivative Protein Therapies
11 Antitrust Litig., No. 09-cv-07666, ECF Nos.        128.00    33%  Antitrust
    693, 697, 697-1 and 701 (N.D. Ill. 2014)
    Erica P. John Fund, Inc. v. Halliburton Co.,
12 No. 02-xc-01152, ECF No. 844 (N.D. Tex.            100.00    33%  Securities
    Apr. 25, 2018)
    Dahl v. Bain Capital Partners, LLC, No. 07-
13 CV-12388, ECF No. 1095 (D. Mass. Feb 2,            590.50    33%  Antitrust
    2015).




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Table 2: Mega-Fund Settlements With Fee Awards Of 30 Percent Or More
                                                    Settlement
                          Case                      Amount (in Fee     Type
                                                     Millions)
    In re Relafen Antitrust Litig., No. 01-12239,
14                                                    175.00   33%   Antitrust
    ECF No. 297 (D. Mass. Apr. 9, 2004)
    Standard Iron Works v. Arcelormittal, et al.,
15 No. 08-cv-5214, ECF. No. 539 (N.D. Ill.            163.90   33%   Antitrust
    2014)
    In re Auto. Refinishing Paint Antitrust Litig.,
16 No. MDL NO 1426, 2008 WL 63269 (E.D.               105.75   33%   Antitrust
    Pa. Jan. 3, 2008)
    Allapattah Servs., Inc. v. Exxon Corp., 454 F.
17                                                   1075.00   31%   Securities
    Supp. 2d 1185, 1241 (S.D. Fla. 2006)
    In re Checking Account Overdraft Litig., 830
18                                                    410.00   30%   Antitrust
    F. Supp. 2d 1330, 1358 (S.D. Fla. 2011)
    Schuh v. HCA Holdings Inc., No. 3:11-cv-
19 01033, ECF No. 563 at 1 (M.D. Tenn. Apr.           215.00   30%   Securities
    14, 2016)
    In re Linerboard Antitrust Litig., No. CIV.A.
    98-5055, 2004 WL 1221350, at *19 (E.D. Pa.
20                                                    203.00   30%   Antitrust
    June 2, 2004), amended, No. CIV.A.98-5055,
    2004 WL 1240775 (E.D. Pa. June 4, 2004)
    City of Pontiac General Employees'
    Retirement System v. Wal-Mart Stores, Inc. et
21                                                    160.00   30%   Securities
    al., No. 12-cv-05162, ECF No. 458 (W.D.
    Ark. 2019)
    In re Polyurethane Foam Antitrust Litig., No.
    1:10 MD 2196, 2015 WL 1639269, at *7
22                                                    147.80   30%   Antitrust
    (N.D. Ohio Feb. 26, 2015), appeal dismissed
    (Dec. 4, 2015)
    In re: Informix Corp. Sec. Litig. No 97-CV-
23 1289-CRB, ECF No. 471 (N.D. Cal., Nov 23,          142.00   30%   Securities
    1999)
    Anwar et al v. Fairfield Greenwich Limited et
24 al, No. 09-cv-0118, ECF No. 1457 (S.D.N.Y.         125.00   30%   Securities
    Nov. 20, 2015)
    Kurzweil v. Philip Morris Cos., 1999 U.S.
25                                                    123.80   30%   Securities
    Dist. LEXIS 18378, (S.D.N.Y. Nov 24, 1999)
                                                                     Securities
    In re Ikon Office Sols., Inc., Sec. Litig., 194
26                                                    111.00   30%      and
    F.R.D. 166 (E.D. Pa. 2000)
                                                                     Derivative




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 Table 2: Mega-Fund Settlements With Fee Awards Of 30 Percent Or More
                                                     Settlement
                          Case                       Amount (in Fee     Type
                                                      Millions)
     In re Morgan Keegan Open-End Mutual Fund
 27 Litigation, No. 07-cv-02784, ECF No. 435           110.00   30%   Securities
     (W.D. Tenn. Aug 2, 2016)
     In re Prison Realty Sec. Litig., No. 3:99–0458,
 28 2001 U.S. Dist. LEXIS 21942 (M.D. Tenn.            104.00   30%   Securities
     Feb. 9, 2001).


       71.     The cases in Table 2 show that courts try to award fees that are appropriate in the

circumstances. They apply percentages in the normal range, even when settlements are unusually

large, when they determine that the facts warrant.

X.     LODESTAR CROSS-CHECK

       72.     When awarding fees, courts often gauge their reasonableness by performing

lodestar cross-checks. These cross-checks employ two components: the lodestar basis, which

combines hourly rates and time expended; and a multiplier, which is a factor that brings the basis

into line with the fee request. I discuss both quantities here.

       73.     Before doing so, I wish to note that I oppose the use of cross-checks and have

argued against them in print. By assigning weight to cross-checks, courts encourage lawyers to

expend time rather than to conserve it. In other words, courts unintentionally penalize efficiency

and reward inefficiency. To the best of my knowledge, claimants never use the lodestar method

when hiring lawyers directly. I therefore see no reason for courts to rely on it when assessing the

reasonableness of class counsel’s fees.

       74.     Turning to the comparison itself, Class Counsel requests compensation for

approximately 52,000 hours of work at a blended rate of approximately $667 per hour for all

timekeepers ($34.7 million in fees divided by 52,000 hours of work). There are many sources of

information that may help assess the reasonableness of the requested blended rate. For example,

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one can study the fee applications that lawyers submit in bankruptcy proceedings. Using this

approach, one learns that many lawyers are compensated at rates far higher than those requested

here. For example, in the Sears bankruptcy proceeding, the fee application submitted in 2019 by

Weil, Gotshal & Manges LLP, the debtors’ attorneys, includes dozens of lawyers whose hourly

charges exceed $1,000, with nine lawyers charging $1,500 per hour or more. Unlike Class

Counsel, these lawyers did not work on contingency. Even so, the bankruptcy judge approved the

fee request in full.

        75.     Even higher hourly rates were sought in the Toys R’ Us bankruptcy, where

Kirkland & Ellis LLP serves as debtors’ counsel. There, the highest hourly rate was $1,795, the

blended rate for all partners, of which there were dozens, was $1,227, and the blended rate for all

timekeepers, including paralegals and support staff, was $901.

        76.     Looking at bankruptcy cases more broadly, a survey of almost 3,000 fee requests

found that, “[i]n major markets, bankruptcy partners make $1,000 an hour or more.” Katelyn

Polantz, In Bankruptcy, Flat is Fine; Median Rates at Large Firms Ran $595 Per Hour, The

National Law Journal, May 16, 2016.

        77.     One can also examine opinions containing lodestar cross-checks to learn what

hourly rates courts find reasonable. For example, when presiding over Pantelyat v. Bank of Am.,

N.A., No. 16-CV-8964 (AJN), 2019 WL 402854 (S.D.N.Y. Jan. 31, 2019), which settled for $22

million, Judge Alison J. Nathan of the Southern District of New York approved a 25 percent fee

based on a blended hourly rate of $695,14 higher than the blended rate Class Counsel requests here.




14
  I calculated the blended hourly rate in Pantelyat by dividing the lodestar basis ($1,125,294.50)
by the number of hours worked (1,618.8).
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       78.     Finally, one can consult surveys of law firms’ billing rates, such as those taken by

the NATIONAL LAW JOURNAL (NLJ). The number of firms participating in the NLJ surveys varies

from year to year, but always exceeds 100. The NLJ surveys are often cited to courts as evidence

supporting hourly rates in fee applications. See, e.g., Parkinson v. Hyundai Motor Am., 796 F.

Supp. 2d 1160, 1172-73 (C.D. Cal. 2010) (admitting into evidence and relying upon expert report

by Professor William Rubenstein which was based in part on NLJ surveys).

       79.     The NLJ surveys report that senior partners at large law firms often charge $1000

per hour or more. See Karen Sloan, NLJ Billing Survey: $1,000 Per Hour Isn’t Rare Anymore,

The National Law Journal (January 13, 2014). Reading the text of the article, one learns that

“[n]early 20 percent of the firms included in The National Law Journal’s annual survey of large

law firm billing rates [in 2014] had at least one partner charging more than $1,000 an hour.”

Lawyers who practice in the Supreme Court routinely charge more than $1,000 per hour too.

Billing Rates, The National Law Journal Supreme Court Brief (Online), Sept. 6, 2019.

       80.     The 2014 NLJ survey, which contained information for 159 of the largest law firms

in the U.S., found a median rate (half above/half below) for the highest partner billing rate category

of $775 and a median high hourly rate for associates of $510. Since then, rates at major law firms

have risen, but even so the blended rate that Class Counsel requests falls with the identified range.

       81.     As explained, Class Counsel are the best in the world at litigation of this type.

Consequently, they should be paid at rates comparable to those charged by other outstanding

attorneys. Having considered a variety of sources, it is my opinion that the requested blended rate

of $667 per hour for all timekeepers is reasonable.

       82.     I turn now to the multiplier portion of the lodestar, which will equal 5.9 if the Court

awards 27.5 percent of the recovery as fees. The best-known feature of multipliers is that they



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increase sharply as settlements become larger. For example, a study published in 2017 reported a

mean multiplier of 1.82 for all federal class actions, but also noted that “higher multipliers are

associated with higher recoveries.” Theodore Eisenberg, Geoffrey Miller & Roy Germano,

Attorneys’ Fees in Class Actions: 2009-2013, 92 N.Y.U. L. Rev. 937, 966 (2017). It is difficult to

say more than this, however, because the number of enormous settlements is small. For example,

in the study just cited the largest decile of cases, which has a mean multiplier of 2.72, includes all

settlements greater than $67.5 million. Id., Table 13. Because multipliers increase greatly as

recoveries grow, a category that would lump a $67.6 million settlement together with a $750

million settlement is likely to hide more than it reveals.

       83.     Although a 5.9 multiplier is certainly above average, I believe that a federal district

court judge has discretion to approve it in appropriate circumstances. One reason for holding this

opinion is that multipliers in the same range, including some higher ones, have been awarded in

other mega-fund cases. Table 3, below, lists settlements I found with multipliers of 6 or more.

The table is meant to be illustrative, not complete. There may be cases I have not found.




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     Table 3. Mega-Fund Cases with Lodestar Multipliers of 6 or More
                                                             Settlement
                                 Case                                             Multiplier
                                                             (Millions)
      1 In re Doral Financial Corp. Secs. Litig., No. MDL
                                                               $129.00              10.26
         1706, ECF No. 107 (S.D.N.Y. July 17, 2007)
      2 Cosgrove v. Sullivan, 759 F.Supp. 166, 167 n. 1
                                                               $100.00                8.74
         (S.D.N.Y.1991)
      3 In re Buspirone, 01-md-1410 (S.D.N.Y. Apr. 11,
                                                               $220.00                8.46
         2003)
      4 New England Carpenters Health Benefits Fund v.
         First Databank, Inc., No. 05 Civ. 11148, 2009 WL      $350.00                8.30
         2408560 (D. Mass. Aug. 3, 2009)
      5 In re Healthsouth Corporation Securities Litig.
         (UBS Defendants), No. 05-cv-01500. ECF No.            $117.00                7.01
         1721 (N.D.Ala. Jul 26, 2010)
      6 In re Rite Aid Corp. Sec. Litig., MDL No. 1360,
         2005 WL 697461 at *2-3 (E.D. Pa. Mar. 24, 2005)       $126.64                6.96
      7 In re UnitedHealth Grp. Inc. PSLRA Litig., 643 F.
                                                               $925.50                6.50
         Supp. 2d 1094 (D. Minn. 2009)
      8 In re Credit Default Swaps Antitrust Litig., No.
         13MD2476 DLC, ECF No. 554 (S.D.N.Y. April 18, $1,864.65                      6.36
         2016)
      9 Spartanburg Regional Health Servs. District, Inc. v.
         Hillenbrand Indus., Inc., No. 03-DV-2141, ECF No.     $489.80                6.00
         377 (D.S.C. Aug. 15, 2006)
     10 In re Cardinal Health Inc. Sec. Litig., 528 F. Supp.
                                                               $600.00                6.00
         2d 752 (S.D. Ohio 2007)


       84.     Another reason for awarding large multipliers in mega-fund cases is that, without

them, lawyers’ incentives will be dulled. The multiplier is the lodestar component that ties the fee

award to the recovery. Unless it increases sharply as settlements grow larger, lawyers will find it

advantageous to settle cheaply because, by doing so, they will not put their fees at risk—which

they do whenever settlement offers are declined. In other words, the upside potential of refusing

to settle must exceed the downside risk of losing fees, which it will only if lodestar multipliers

reward lawyers adequate for taking large risks.

       85.     I therefore conclude that a lodestar cross-check confirms the reasonableness of

Class Counsel’s fee request.
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XI.     COMPENSATION

        86.    I received a flat fee of $50,000 for preparing this report.

XII.    CONCLUSION

        87.    For the reasons set out above, I believe that Class Counsel’s request for a fee award

of 27.5 percent of the gross recovery is reasonable and should be approved.




        I declare under penalty of perjury of the laws of the United States that the foregoing is

true and correct. Executed this 11th day of March, 2020, at Austin, Texas.




                                                               CHARLES SILVER




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                                     Ex. B

            Declaration of Professor Charles Silver (excluding CV)

                Allapattah Services, Inc., et al. v. Exxon Corp.,
                          Case No. 91-00986-ASG,

                          Filed on February 16, 2006
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                                       Ex. C

               Declaration of Professor Charles Silver (excluding CV)

   In Re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                             MDL No. 1720(JG)(JO),
                            Civil No. 05-5075(JG)(JO),

                              Filed on April 11, 2013
       Case 4:20-cv-03919-CW
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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK


                                                      x
   In re PAYMENT CARD INTERCHANGE                     :   MDL No. 1720(JG)(JO)
   FEE AND MERCHANT DISCOUNT                          :
   ANTITRUST LITIGATION                               :   Civil No. 05-5075(JG)(JO)
                                                      :
                                                      :   ELECTRONICALLY FILED
   This Document Relates To:                          :
                                                      :   DECLARATION OF PROFESSOR
                                                      :   CHARLES SILVER CONCERNING THE
          ALL ACTIONS.                                    REASONABLENESS OF CLASS
                                                      :
                                                      :   COUNSEL'S REQUEST FOR AN AWARD
                                                      :   OF ATTORNEYS' FEES
                                                      x

   I, Charles Silver, declare as follows:

   1.     SUMMARY OF OPINIONS

          Two facts stand out in this case. First, considering only the monetary relief, the proposed

   settlement is the largest class-based antitrust recovery in history and one of the largest recoveries

   regardless of case type in the history of American civil litigation.1 At $7.25 billion, it ranks

   alongside the two landmark recoveries of the 21st Century: the $7.2 billion Enron settlement and the

   proposed $7.8 billion BP settlement. In an interesting way, it even rivals the settlement of the states’




   1
    The settlement also requires the Defendants to change their procedures going forward. Relying on
   a report submitted by Dr. Alan Frankel, Class Counsel contends that the injunctive reforms will save
   merchants between $26.2 and $62.2 billion over the next decade. Memorandum in Support of Class
   Counsel’s Motion for Final Approval of Settlement (Draft of March 24, 2013). I took no account of
   the non-cash relief when formulating the opinions expressed herein. The cash fund alone is easily
   sufficient to justify the requested award of fees.
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   historic tobacco lawsuits. From 2002 to 2012, only the three most populous states (California, New

   York, and Texas) received payments from the tobacco companies exceeding $7.25 billion.2

          Second, the credit for this accomplishment belongs in large part to the private attorneys who

   investigated the price-fixing scheme, initiated the litigation, and shouldered its cost over nearly a

   decade. Collectively, an army of plaintiffs’ lawyers expended more than half a million hours and

   bore about $40 million in out of pocket expenses. These are enormous amounts of resources to have

   invested in a single, risky lawsuit against well-funded defendants. But, again, they are on par with

   the risks lawyers took in comparable cases. In Enron, for example, class counsel expended about

   300,000 hours and bore $45 million in costs. Lawsuits that generate historic recoveries require

   exceptional dedication and impose enormous risks and costs on attonryes.

          If lawyers working on contingency are to find cases like these financially attractive, the

   rewards must offset the costs and risks the lawyers have to bear. In the private market for legal

   services, where clients hire lawyers directly, compensation is automatically set at the level needed to

   do this. Otherwise, lawyers would decline to represent clients with large claims and find less risky

   work. In class actions, of course, fees are set by courts, not by clients and lawyers bargaining at

   arms’ length. The possibility therefore arises that courts will set fees too low, in which event

   lawyers will be discouraged from handling big cases, or too high, in which event lawyers will

   receive more than the risks warrant.

          Judges can avoid these bad outcomes by using the private market for legal services as a

   guide. In the private market, sophisticated clients pay only what they have to, to get the legal

   services they desire. Typically, they neither waste money by over-paying nor price themselves out


   2
    Campaign for Tobacco-Free Kids, Actual Tobacco Settlement Payments Received by the States,
   2002-2012, available at http://www.tobaccofreekids.org/research/factsheets/pdf/0365.pdf.



                                                     2
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   of the market for legal services by offering too little. By studying the amounts sophisticated clients

   pay attorneys to handle big cases, judges can reliably estimate the fees that are needed to persuade

   lawyers to accept the risks big class actions entail. The Second Circuit agrees that “market rates,

   where available, are the ideal proxy for [class action lawyers’] compensation.” Goldberger v.

   Integrated Resources, Inc., 209 F.3d 43, 52 (2d Cir. 2000).

          In the private market for legal services where sophisticated clients shop for attorneys,

   contingent fees normally equal or exceed 25 percent of recoveries. This is true even in cases where

   recoveries can be large. Agreed fees are sometimes lower in securities fraud cases where

   sophisticated investors seeking to serve as lead plaintiffs hire attorneys, but even here they

   commonly fall near 20 percent.3 Taking the private market as a guide, then, one could justify a fee

   award of 20 percent or more in this case on the ground that the class as a whole, acting in the manner

   of a sophisticated client, would rationally have offered to pay that amount when litigation

   commenced.

          In fact, several class members agreed to pay fees well in excess of 20 percent. When the

   original named plaintiffs in this lawsuit hired the lawyers who became Class Counsel, 4 many signed

   contracts setting fees at 33.33 percent of the recovery. Some even agreed to pay this amount out of

   their own recoveries, should the Court award less or should they settle individually rather than as

   part of a class. The private market thus sent a clear signal as to what a reasonable fee in this

   litigation would be.



   3
    See Lynn A. Baker, Michael A. Perino and Charles Silver, Setting Attorneys’ Fees In Securities
   Class Actions: An Empirical Assessment, VANDERBILT LAW REVIEW (forthcoming 2013).
   4
    Class Counsel are Robins, Kaplan, Miller & Ciresi L.L.P.; Berger & Montague, P.C.; and Robbins
   Geller Rudman & Dowd LLP



                                                     3
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          Yet, the lawyers are requesting far less. They have asked the Court to award approximately

   10 percent in fees. This is a substantial amount of money, but it is on par with the $688 million

   Enron fee award and the $600 million in fees and expense reimbursements provided for in the BP

   settlement agreement. Taking market rates as a guide, the request is entirely reasonable and

   considerably below what the attorneys ought to receive.

   2.     CREDENTIALS

          I have testified as an expert on attorneys’ fees many times. Judges have cited or relied upon

   my opinions when awarding fees in the following enormous cases, as well as many smaller ones:

   Allapattah Services, Inc. v. Exxon Corp.5 (30 percent fee award on recovery exceeding $1 billion); In

   re Checking Account Overdraft Litigation, No. 09-md-2036,( S.D. Fla. 2011) (fee award of 30

   percent on recovery of $410 million);6 In re Enron Corp. Securities, Derivative & “ERISA” Litig.,

   586 F. Supp. 2d 732 (S.D. Tex. 2008) ($688 million fee award on a $7.2 billion recovery); Silverman

   v. Motorola, Inc., No. 07 C 4507 (N.D. Ill. May 7, 2012) (unpublished) (fee award of 27.5 percent

   on recovery of $200 million).

          Professionally, I hold the Roy W. and Eugenia C. McDonald Endowed Chair in Civil

   Procedure at the University of Texas School of Law, where I also serve as Co-Director of the Center

   on Lawyers, Civil Justice, and the Media. I joined the Texas faculty in 1987, after receiving an M.A.

   in political science at the University of Chicago and a J.D. at the Yale Law School. I received tenure



          5
            See Order on Petitions for an Award of Attorneys’ Fees, Costs, and Reimbursable Expenses
   and for Incentive Awards to Named Plaintiffs, Allapattah Services, Inc. v. Exxon Corp., 454 F. Supp.
   2d 1185 (S.D. Fla. 2006).
          6
            See Order of Final Approval of Settlement, Authorizing Service Awards, Granting
   Application for Attorneys' Fees, and Overruling Objections to Settlement, available at
   http://www.bofaoverdraftsettlement.com/CourtDocuments.aspx.



                                                     4
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   in 1991. Since then I have been a Visiting Professor at University of Michigan School of Law, the

   Vanderbilt University Law School, and the Harvard Law School.

            From 2003 through 2010, I served as an Associate Reporter on the American Law Institute’s

   PRINCIPLES OF THE LAW OF AGGREGATE LITIGATION (2010). Many courts have cited the PRINCIPLES

   with approval, including the U.S. Supreme Court.

            I have taught, researched, written, consulted with lawyers, and testified about class actions,

   other large lawsuits, attorneys’ fees, professional responsibility, and related subjects for over 15

   years. I have published over 70 major writings, many of which appeared in peer-reviewed

   publications and many of which focus on subjects relevant to this Report. My writings are cited and

   discussed in leading treatises and other authorities, including the MANUAL FOR COMPLEX

   LITIGATION, THIRD (1996) and the MANUAL FOR COMPLEX LITIGATION, FOURTH (2004).

            Finally, because awards of attorneys’ fees may be thought to raise issues relating to the

   professional responsibilities of attorneys, I note that I have an extensive background, publication

   record, and experience as an expert witness testifying on matters relating to this field. I also served

   as the Invited Academic Member of the Task Force on the Contingent Fee created by the Tort Trial

   and Insurance Practice Section of the American Bar Association. In 2009, the Tort Trial and

   Insurance Practice Section of the American Bar Association gave me the Robert B. McKay Award in

   recognition of my scholarship in the areas of tort and insurance law.

            I have attached a copy of my resume as Exhibit A to this declaration.

   3.       DOCUMENTS REVIEWED

            When preparing this Report, I reviewed the items listed below which, unless noted otherwise,

   were generated in connection with this case. I also reviewed other items including, without

   limitation, cases and published scholarly works.

        •   Declaration of K. Craig Wildfang, Esq
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       •   Declaration of Thomas J. Undlin

       •   Engagement Letter, CHS Inc., dated June 14, 2005

       •   Engagement Letter, 30 Minutes Photos, Etc., Inc., dated May 6, 2005

       •   Engagement Letter, Traditions Classic Home Furnishings, dated April 21, 2005

       •   Engagement Letter, National Association of Convenience Stores, dated September 23, 2005

       •   Definitive Class Settlement Agreement

       •   Publication                  Notice,                available                  at
           https://www.paymentcardsettlement.com/Content/Documents/Settlement%20Publication%2
           0Notice.pdf

       •   Init B & M Draft Payment Card Fee Petition - Legal Section (3.14.13)

       •   Memorandum in Support of Class Plaintiffs’ Motion for Class Settlement Preliminary
           Approval

       •   Objecting Plaintiffs’ Opposition to Class Plaintiffs’ Motion for Preliminary Approval of
           Proposed Settlement

       •   Retailers & Merchants’ Objection to Proposed Class Settlement Agreement

       •   Amended Retailers & Merchants’ Objection to Proposed Class Settlement Agreement

       •   Other Objections to Request for Preliminary Approval of Proposed Settlement

       •   Engagement Letter, Affiliated Foods Midwest Cooperative, Inc., dated November 10, 2005

       •   Engagement Letter, National Restaurant Association, dated April 14, 2006

       •   Engagement Letter, Coborn’s, Incorporated, dated November 9, 2005

       •   Engagement Letter, NATSO, February 24, 2006

       •   Engagement Letter, D’Agostino Supermarkets, October 31, 2005

       •   Engagement Letter, National Community Pharmacists Association, February 7, 2006

       •   Engagement Letter, Jetro Holdings, Inc., September 16, 2005

       •   Engagement Letter, National Grocers Association, dated October 31, 2005

       •   Memorandum in Support of Class Counsel’s Motion for Final Approval of Settlement (Draft
           of March 24, 2013)

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   4.      TO ENSURE THAT CLASS MEMBERS RECEIVE ZEALOUS REPRESENTATION,
           COURTS SHOULD PAY LAWYERS WHO WIN CLASS ACTIONS AT MARKET
           RATES

           Starting with the first article I published as a law professor, I have urged judges to base fee

   awards in successful class actions on market rates.7 Market rates comport with the law of restitution,

   the body of law upon which lawyers’ rights to fee awards are based. 8 Market rates also create

   desirable incentives while protecting class members against over-payments. Many judges have

   accepted this argument. Some agreed with me; others reached the same conclusion on their own.

           The view that class action lawyers should be compensated at market rates has been the rule in

   the Seventh Circuit since 1992, when Judge Richard A. Posner wrote that “it is not the function of

   judges in fee litigation to determine the equivalent of the medieval just price. It is to determine what

   the lawyer would receive if he were selling his services in the market rather than being paid by court

   order.” In re Continental Illinois Securities Litigation, 962 F.2d 566, 568 (7th Cir. 1992). See also

   Id., at 572 (“The object in awarding a reasonable attorney’s fee ... is to give the lawyer what he

   would have gotten in the way of a fee in arm’s length negotiation, had one been feasible.”).9

           Judge Frank Easterbrook elaborated on the rationale for the Seventh Circuit’s rule in In re

   Synthroid Marketing Litig., 264 F.3d 712 (7th Cir. 2001). He pointed out that rates prevailing in


   7
    See Charles Silver, A Restitutionary Theory of Attorneys’ Fees in Class Actions, 76 CORNELL LAW
   REVIEW 656 (1991) (“Silver, Restitutionary Theory”).
   8
    Id., at p. 700. See also Douglas Laycock, MODERN AMERICAN REMEDIES 488 (1985) (“Quasi-
   contract proceeds on the fiction of an implied promise to pay.... If there were a real promise, it
   would probably be to pay the market value, and the implied promise is analogized to that.”).
   9
    Other Seventh Circuit cases establishing the rule are Montgomery v. Aetna Plywood, Inc., 231 F.3d
   399, 409 (7th Cir. 2000); Gaskill v. Gordon, 160 F.3d 361 (7th Cir. 1998); Florin v. Nationsbank of
   Georgia, N.A., 60 F.3d 1245 (7th Cir. 1995) (Florin II); Florin v. Nationsbank of Georgia, N.A., 34
   F.3d 560 (7th Cir. 1994) (Florin I); and In re Continental Illinois Securities Litigation, 985 F.2d 867
   (7th Cir. 1993) (Continental II).



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   private markets compensate lawyers for the costs and risks they incur. Id. at p. 724 (“The greater the

   risk of loss, the greater the incentive compensation required.”); Id. at p. 731 (“The market rate for

   legal fees depends in part on the risk of nonpayment a firm agrees to bear, in part on the quality of its

   performance, in part on the amount of work necessary to resolve the litigation, and in part on the

   stakes of the case.”). He also noted that, because claimants always prefer larger recoveries to

   smaller ones, “markets would not tolerate” the “mega-fund” approach the district court judge

   applied, which encouraged class counsel to settle for lesser amounts. Id. at 723. He completely

   rejected the “mega-fund” rule, according to which fees must fall in the 6 percent to 10 percent range

   when recoveries exceed $75 million, because the market would never punish success. Id. at 722

   (“We have never suggested that a ‘megafund rule’ trumps these market rates.”). To the contrary, “if

   counsel considering the representation in a hypothetical arms’ length bargain at the outset of the case

   would decline the representation if offered only [the “mega-fund”] prospective return,” the fee award

   had to be higher. Id. For these reasons, Judge Easterbrook urged “[district] courts [to] do their best

   to award counsel the market price for legal services, in light of the risk of nonpayment and the

   normal rate of compensation in the market at the time.” Id. at 718.

           It probably surprises no one that Judges Posner and Easterbrook endorse the use of market

   rates. They usually prefer markets to other forms of regulation. But in this instance, they are right,

   and they have the most defensible account of fee awards going. To see this, one must initially

   recognize that fee award practices create the incentives to which lawyers are subject when acting on

   class members’ behalf. Good fee award practices foster good incentives; bad practices foster bad

   ones. It remains to consider what makes particular incentives good or bad.

           Due process law provides the relevant criterion, as I explained more than a decade ago.

   Charles Silver, Due Process and the Lodestar Method: You Can’t Get There From Here, 74 TULANE



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 LAW REVIEW 1809 (2000). It permits judgments and settlements in class actions to bind absent class

 members only when they are zealously represented by lawyers whose interests align with their own.

 Ortiz v. Fibreboard Corp., 527 U.S. 815, 852 (1999) (rejecting a proposed settlement partly because

 “[c]lass counsel [] had great incentive to reach any agreement in the global settlement negotiations

 that they thought might survive a Rule 23(e) fairness hearing, rather than the best possible

 arrangement for the substantially unidentified global settlement class”). Fee award practices directly

 impact the extent to which the interests of class members and their lawyers harmonize. Good

 practices align their interests closely; bad practices cause their interests to conflict.

         With this background in place, the relevance of fee-related practices prevailing in the market

 for legal services can quickly be explained. When sophisticated claimants, such as businesses

 seeking to enforce patent or antitrust claims, hire plaintiffs’ attorneys in the private market, they use

 fee arrangements that align their interests and their lawyers’ interests as closely as possible. By

 doing this, they position themselves to reach the goal they seek, which is to maximize their expected

 recoveries net of litigation costs. By studying the market for legal services, then, judges can learn

 how sophisticated clients with good incentives and information use fee arrangements to encourage

 plaintiffs’ attorneys to provide zealous representation. By mimicking the market when awarding

 fees in class actions, judges can then give class members the greatest possible assurance of receiving

 the faithful representation that the law of due process requires.

         When the Second Circuit took up the subject of class action lawyers’ compensation in 2000,

 it “agree[d] that “that lawyers who successfully prosecute [class actions] deserve reasonable

 compensation, and that market rates, where available, are the ideal proxy for their compensation.”

 Goldberger v. Integrated Resources, Inc., 209 F.3d 43, 52 (2d Cir. 2000). However, the Second

 Circuit had two concerns. First, trial judges “cannot know precisely what fees common fund



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 plaintiffs in an efficient market for legal services would agree to, given an understanding of the

 particular case and the ability to engage in collective arm's-length negotiation with counsel.” Id.

 Second “’hard data’ on analogous situations-such as the fees sophisticated corporate plaintiffs

 typically agree to pay their attorneys-are “sketchy.”

 Id.

        Neither concern should cause the Court to stray from market-based compensation in this

 case. For one thing, we know more about the fees sophisticated corporate clients pay when hiring

 lawyers on contingency than we did in 2000, and the evidence, which I survey below, shows that the

 fee Class Counsel requests is reasonable by comparison. For another, in this case, we have the fee

 agreements actually entered into by several trade associations that represent thousands of individual

 businesses.1011 When retaining Robbins, Miller, Kaplan and Ciresi LLP as Class Counsel and

 agreeing to pay a one-third of the class-wide recovery as fees, the trade associations “engage[d] in

 collective arm's-length negotiation with counsel”, Goldberger, 209 F.3d at 52, as their members’


 10
    The National Association of Convenience Stores is “an international trade association representing
 more than 2,200 retail and 1,600 supplier company members”. About NACS,
 http://www.nacsonline.com/About_NACS/Pages/default.aspx. NATSO “represents more than 1,230
 travel plazas and truckstops nationwide, owned by over 200 corporate entities”/ About NATSO,
 http://www.natso.com/about. The National Restaurant Association “is the largest foodservice trade
 association in the world*—supporting nearly 500,000 restaurant businesses”. About Us,
 http://www.restaurant.org/About-Us. “The National Community Pharmacists Association …
 represents the pharmacist owners, managers, and employees of more than 23,000 independent
 community       pharmacies      across     the     United       States.”    Introducing       NCPA,
 http://www.ncpanet.org/index.php/home/introducing-ncpa. “The National Grocers Association
 (NGA) is the national trade association representing the retail and wholesale grocers that comprise
 the independent sector of the food distribution industry.” Who We Are,
 http://www.nationalgrocers.org/who-we-are.
 11
   Years after retaining Class Counsel, the trade associations withdrew as a named plaintiff and now
 oppose the proposed settlement. For present purpose, this is irrelevant. All that matters is that they
 thought one-third of the class-wide recovery was a reasonable contingent fee when hiring lawyers to
 advance the interests of their members at the start of litigation.



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 representatives. In this case, the Court has the information recognized in Goldberger as legitimating

 the use of market rates.

 5.      BY BASING FEE AWARDS ON MARKET RATES, JUDGES CAN AVOID OVER-
         PAYING ATTORNEYS OR UNDER-PAYING THEM

         The view that judges should base class action fee awards on market rates has many

 adherents. It also appeals to judges regardless of political affiliation. Judges Easterbrook and Posner

 were appointed the bench by a Republican President. So was Judge Melinda Harmon, who awarded

 $688 million in fees out of the $7.2 billion Enron recovery. In dollars, this is the largest fee award I

 know of, and it was based in important part on market-based practices.12 See, e.g., In re Enron Corp.

 Securities, Derivative & ERISA Litigation, 586 F.Supp.2d 732, 753 (S.D. Tex., 2008) (rejecting the

 mega-fund rule and citing Synthroid, 264 F.3d at 718).

         Enron is far from the only mega-fund case in which a judge granted an enormous fee award.

 For example, in the three Air Cargo settlements, which collectively generated $422.2 million in

 settlement monies, this Court awarded 25 percent of the total recovery—over $100 million—as

 fees.13 Nor were the awards in the Air Cargo cases unprecedented. To the contrary, many mega-



 12
    Enron was a federal securities action governed by the Private Securities Litigation Reform Act,
 [cite] (“PSLRA”). Under the PSLRA, the lead plaintiff candidate with the largest financial stake in
 the outcome of litigation gains control of the case and retains counsel for the class. As a result, there
 was a real fee contract between the Regents of the University of California—the Enron lead
 plaintiff—and the law firm of Coughlin, Stoia, Geller Rudman & Robbins LLP. Following the
 Seventh Circuit’s lead, Judge Harmon found that the contract was reasonable and based the fee
 award on its terms. Judge Harmon also invoked the private market when addressing objections to
 the fee request. When an objector contended that she should assess the riskiness of the litigation ex
 post (as of the date of the first settlement with a major defendant), Judge Harmon pointed out that the
 private market values risk ex ante (when litigation begins). See In re Enron Corp. Securities,
 Derivative & ERISA Litigation, 586 F.Supp.2d at 824 (quoting Florin v. Nationsbank, N.A., 34 F.3d
 560, 565 (7th Cir.1994)).
 13
   See In re Air Cargo Shipping Servs. Antitrust Litig. (“Air Cargo 1”), No. 06–MD–1775, 2009 WL
 3077396 (E.D.N.Y. Sept. 25, 2009) ($85 million recovery/$12.75 million in fees); In re Air Cargo


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 fund cases have yielded large percentage fee awards. Table 1 lists 66 cases with recoveries of at

 least $100 million and fee awards equal to or greater than 20 percent.




 Shipping Services Antitrust Litig. (“Air Cargo II”), No. 06–MD–1775, MDL 1775, 2011 WL
 2909162 (E.D.N.Y. July 15, 2011) ($153.8 million recovery/$38.5 million in fees); and In re Air
 Cargo Shipping Services Antitrust Litig. (“Air Cargo III”), No. 06–MD–1775, MDL 1775, 2012 WL
 3138596 (E.D.N.Y. Aug. 2, 2012) ($183.4 million recovery/$54.3 million in fees).



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         A curious observer might reasonably ask whether in Enron, the Air Cargo cases, and the

 other cases listed in Table 1 the presiding judges were too generous. The fee awards were certainly

 large. Were they sized appropriately or excessive?

         The mimic-the-market approach provides an objective basis for answering this question. A

 fee award is right-sized if it pays the amount that is reasonably thought to be needed to obtain legal

 services in the private market, given the best available evidence of prevailing rates. It is too large if

 it pays more than this amount and too small if it pays less. The basis for these conclusions is

 straightforward. By awarding a market-based fee, a judge transfers only the amount of resources

 that is needed to acquire legal services on contingency, as demonstrated by actual transactions

 between clients and lawyers. By picking a percentage above the market rate, a judge would require

 class members to pay more than the services are worth. In other words, the fee will exceed the

 amount class members could have offered plaintiffs’ lawyers and found ready takers. By choosing a

 below-market rate, a judge would fail to cover the value of the legal services, as demonstrated by the

 amounts lawyers are willing to accept and real clients are willing to pay. Consequently, they would

 discourage lawyers from handling class actions.

         The market-based approach also meshes well with the law of restitution, the law upon which

 lawyers’ payment rights are based. A standard measure of recovery in restitution is the market value

 of the service supplied, often referred to as the providers usual and customary charge.14 It makes

 sense to use the market for this purpose. Restitution provides for payments when, for various


 14
   See Silver, Restitutionary Theory, supra, at p. 700 (“Quasi-contractual damages usually equal the
 reasonable or market value of the service provided.”). Douglas Laycock, arguably the most
 prominent living writer on restitution, concurs. “Quasi-contract proceeds on the fiction of an
 implied promise to pay.... If there were a real promise, it would probably be to pay the market value,
 and the implied promise is analogized to that.” Douglas Laycock, MODERN AMERICAN REMEDIES
 488 (1985)).



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 reasons, service recipients and service providers cannot bargain directly. Had direct negotiations

 been possible, however, there is every reason to think that the parties would have settled on the

 going rate. The recipient would have had no reason to pay more than the market price, that being

 demonstrably sufficient to obtain the service. The provider would have had no reason to work for

 less, other opportunities being more profitable. The rate prevailing in the market is thus the most

 reliable measure of the payment that would have changed hands had a voluntary exchange been

 possible.

        To evaluate the reasonableness of the fee awards in Enron, the Air Cargo cases, and the other

 mega-fund class actions listed in Table 1, one thus needs evidence of the amount clients willingly

 pay for legal services and lawyers willingly accept. The next two sections of this report survey the

 evidence I have been able to amass about fees agreed to in cases involving sophisticated clients.

 Section 6 shows that sophisticated clients use the percentage approach. Section 7 shows that they

 commonly pay 20 percent of recovered amounts or more.

        If fees paid by unsophisticated clients were dispositive, the discussion would be very brief.

 There is broad agreement that contingent fees normally range from 25 percent to 40 percent in

 personal injury representations.15 See, e.g., Deborah R. Hensler et al., COMPENSATION FOR

 ACCIDENTAL INJURIES IN THE UNITED STATES 135-36 & Table 5.11 (RAND 1991), available at

 http://www.rand.org/pubs/reports/2006/R3999.pdf (reporting that randomly selected accident victims

 who hired attorneys on contingency paid median fees of 33 percent and mean fees of 29 percent);

 Herbert M. Kritzer, Investing in Contingency Fee Cases, WISCONSIN LAWYER 11, 12 (August 1997)



 15
    Somewhat lower rates prevail in commercial airplane crash cases, where liability is usually
 conceded. Higher rates are charged in medical malpractice cases and many mass tort
 representations, where costs are unusually high and the risk of losing can be great.



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 (reporting that in a sample of 989 plaintiff representations in Wisconsin, slightly more than half of

 the claimants agreed to pay a one-third contingent fee). Fees tend to be about the same, or perhaps

 slightly higher, in mass tort cases that involve large numbers of injured claimants. 16 Lower fees are

 said to prevail in cases arising out of commercial airplane crashes, where liability is often

 conceded.17 Market forces account for this. When a defendant concedes liability and puts a




        16
             See, e.g., In re A.H. Robins Co., Inc., 182 B.R. 128, 131 (E.D.Va. 1995) (reporting that
 thousands of women injured by the Dalkon Shield signed contingent fee arrangements providing for
 fees between one-quarter and one-half of the recovery, with most charging one-third); Mireya
 Navarro, Sept. 11 Workers Agree to Settle Health Lawsuits, New York Times, November 19, 2010,
 available at http://www.nytimes.com/2010/11/20/nyregion/20zero.html (reporting that thousands of
 rescue and clean-up workers who were harmed as a result of the terrorist attacks on September 11,
 2001, hired lawyers on terms requiring them to pay one-third of their recoveries); Martha Neil,
 Frustration Over Uncontained Gulf Oil Spill—and Tort Claim Contingency Fees of Up to 50
 Percent,          ABA          JOURNAL         (May        24,       2010),        available        at
 http://www.abajournal.com/news/article/frustration_over_uncontained_gulf_oil_spill--
 and_tort_legal_fees_of_up_to_5/ (reporting that thousands of clients with claims against BP arising
 out of the Deepwater Horizon catastrophe promised to pay contingent fees in the range of 40 percent
 to 50 percent); James S. Kaklik, et al., COSTS OF ASBESTOS LITIGATION Table S.2 (RAND 1983)
 (finding that asbestos claimants whose cases closed before August, 1982, paid legal fees and other
 litigation equal to about 42 percent of their recoveries); James S. Kakalik et al., VARIATION IN
 ASBESTOS LITIGATION COMPENSATION AND EXPENSES xviii Figure S.1 (RAND 1984) (finding that
 asbestos claimants paid legal fees and expenses equal to 39 percent of their recoveries); Deborah R.
 Hensler et al., COMPENSATION FOR ACCIDENTAL INJURIES IN THE UNITED STATES 135-36 & tbl.5.11
 (RAND 1991), available at http://www.rand.org/pubs/reports/2006/R3999.pdf (reporting that
 randomly selected accident victims who hired attorneys on contingency paid median fees of 33
 percent and mean fees of 29 percent); Herbert M. Kritzer, Investing in Contingency Fee Cases,
 WISCONSIN LAWYER 11, 12 (August 1997) (reporting that in a sample of 989 plaintiff representations
 in Wisconsin, slightly more than half of the claimants agreed to pay a one-third contingent fee); Nora
 Freeman Engstrom, Sunlight and Settlement Mills, 86 NEW YORK UNIVERSITY LAW REVIEW 805,
 846 (2011) (reporting that “every one of the twelve [high volume plaintiffs’ firms she] studied
 charge[d] a tiered contingency fee,” with most charging “at least 33%--and perhaps as high as
 40%”).
          17
             See ABA Formal Opinion 94-389, n. 13 (1994) (reporting that “[i]n cases where airline
 insurers voluntarily sent out the ‘Alpert letter’ which makes an early settlement offer and concedes
 all legal liability, average contingent fee rates dropped to 17% and were often only charged on a
 portion of the recovery”) (citing L. Kriendler, The Letter: It Shouldn’t be Sent, 12 THE BRIEF 4, 38
 (November 1982)).


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 settlement offer on the table from the get-go, risks fall and the market pays contingent fee lawyers

 less for handling cases.

        Many judges know that market rates normally equal or exceed 33.3 percent of recoveries in

 personal injury cases. For example, in Gaskill v. Gordon, 160 F.3d 361, 362-63 (7th Cir.1998),

 where he affirmed a 38 percent fee, Judge Posner stated that the market range for contingent fee

 cases is 33 percent to 40 percent. Many cases contain similar observations. See, e.g., Retsky Family

 Ltd. P’ship v. Price Waterhouse LLP, 2001 WL 1568856, at *4 (N.D. Ill. Dec. 10, 2001) (“A

 customary contingency fee would range from 33% to 40% of the amount recovered.”).

        By comparison to the rates charged in any context where plaintiffs’ lawyers represent

 unsophisticated clients on contingency, the fee Class Counsel requests is low. Thus, if fees paid by

 unsophisticated clients are considered, the reasonableness of Class Counsel’s fee request is patent.

 6.     THE FEE AWARD SHOULD BE A PERCENTAGE OF THE RECOVERY

        When awarding fees in Enron, Judge Harmon understood that, to approximate the bargain

 class members and their attorneys would have struck in direct negotiations, she needed evidence of

 prevailing market rates. She cited Taubenfeld v. AON Corp., 415 F.3d 597, 599 (7th Cir. 2005), for

 the following proposition:

        Although it is impossible to know ex post exactly what terms would have resulted

        from arm’s length bargaining ex ante, courts must do their best to recreate the market

        by considering factors such as actual fee contracts that were privately negotiated for

        similar litigation, information from other cases, and data from class-counsel

        auctions.”

 In re Enron Corp. Securities, Derivative & ERISA Litigation, 586 F.Supp.2d 732, 824 (S.D.Tex.,

 2008). For reasons that need not be addressed here, class counsel auctions were discredited after

 Taubenfield was decided. Even so, the spirit of Taubenfeld is absolutely correct. To mimic the
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 private market for legal services, judges need to know how the market compensates plaintiffs’

 attorneys. This is a factual matter requiring evidence.

         When searching for evidence, one must narrow the focus. Lawyers who handle class actions

 normally work on contingency. They get paid when they win and not otherwise. This is so because

 class members rarely agree to hire them on other terms. That was true here. Upon being asked to

 submit a report on attorneys’ fees in this case, I asked Class Counsel whether the named plaintiffs

 signed retainer agreements. On learning that they had, I requested copies of the agreements and

 examined their terms. Without exception, the named plaintiffs hired the lawyers on contingency. 18

         There is nothing odd about this. To the contrary, it would be extremely unusual, although not

 entirely unprecedented,19 for a named plaintiff to pay a lawyer a guaranteed hourly rate for waging a

 class suit.20 Consider securities fraud class actions filed after the enactment of the Private Securities


 18
   See Engagement Letter, CHS Inc., dated June 14, 2005; Engagement Letter, 30 Minutes Photos,
 Etc., Inc., dated May 6, 2005; Engagement Letter, Traditions Classic Home Furnishings, dated April
 21, 2005; and Engagement Letter, National Association of Convenience Stores, dated September 23,
 2005; Engagement Letter, Affiliated Foods Midwest Cooperative, Inc., dated November 10, 2005;
 Engagement Letter, National Restaurant Association, dated April 14, 2006; Engagement Letter,
 Coborn’s, Incorporated, dated November 9, 2005; Engagement Letter, NATSO, February 24, 2006;
 Engagement Letter, D’Agostino Supermarkets, October 31, 2005; Engagement Letter, National
 Community Pharmacists Association, February 7, 2006; Engagement Letter, Jetro Holdings, Inc.,
 September 16, 2005; and Engagement Letter, National Grocers Association, dated October 31, 2005.
 19
  Trustees v. Greenough, 105 U.S. 527 (1881), is the most recent reported case I can think of in
 which a named plaintiff paid a lawyer to wage a class action out of his own pocket.
 20
    It would be unusual for personal injury clients to do so as well. In 1998, Professor Herbert
 Kritzer, now of the University of Minnesota Law School, published the results of a survey of
 Wisconsin lawyers that produced 511 usable responses containing information on 989 cases,
 including 332 that were unfiled, 390 that were filed but not tried, and 267 that went to trial. Only
 3% of the cases “involved a fee with a contingency element that did not conform to the standard
 percentage fee arrangement”. Interestingly, none of the variations Professor Kritzer described
 resembled the lodestar method; that is, none combined a contingent hourly rate with a multiplier.
 Herbert M. Kritzer, The Wages of Risk: The Returns of Contingency Fee Legal Practice, 47 DEPAUL
 LAW REVIEW 267, 284-288 (1998).


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 Litigation Reform Act in 1995. In my academic study of these cases and my experience with them

 as a consultant, both of which are extensive, I have encountered not a single instance in which an

 investor serving as a lead plaintiff agreed to pay class counsel by the hour. This is true even though

 lead plaintiffs are often wealthy institutional investors that could afford to pay guaranteed rates if

 they thought that advisable. Lead plaintiff in securities fraud class actions offer contingent fees

 because they want to transfer litigation-related risks and costs to lawyers.

         The relevant part of the market for legal services to scour for evidence is, then, the sector in

 which sophisticated clients agree to pay contingent fees. This is important for a simple reason:

 contingent fees are almost always set as percentages of clients’ recoveries. Although judges

 sometimes base fee awards on hourly rates or use so-called “lodestar cross-checks”, sophisticated

 clients who hire lawyers on contingency rarely do. No one has ever shown that sophisticated clients

 use the hourly-rate based lodestar method extensively, or even frequently, when hiring lawyers on

 contingency, and I represent to the Court that they do not. Percentage-of-the-recovery compensation

 predominates. See, e.g., David L. Schwartz, The Rise of Contingent Fee Representation in Patent

 Litigation, 64 ALABAMA LAW REVIEW 335 (2012) (reviewing contingent fee agreements used in

 patent cases and reporting on percentage compensation offered). This being so, the mimic-the-

 market approach establishes that judges should also use the percentage approach was awarding fees

 in class actions.

         Abundant evidence supports my contention that sophisticated clients use percentage-based

 fee arrangements. In this case, for example, the named plaintiffs that hired Robbins Miller Kaplan &

 Ciresi LLP agreed to pay a percentage of the recovery. In Enron and other securities fraud class

 actions where compensation terms are set in ex ante agreements, lead plaintiffs also use percentage-

 based approaches. See, e.g., In re Enron Corp. Securities, Derivative & ERISA Litigation, 586



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 F.Supp.2d 732, 766 (S.D. Tex., 2008) (finding that “[t]he ex ante fee agreement,” according to which

 Class Counsel was hired on contingency pursuant to a rising scale of percentages, “weighs heavily in

 support of awarding Lead Counsel 9.52% of the net settlement fund”); Expert Report of Professor

 Charles Silver Concerning the Reasonableness of Class Counsel’s Request for An Award of

 Attorneys’ Fees, submitted in In re Enron Corp. Securities, Derivative & ERISA Litigation, Civil

 Action No. H-01-3624 (S.D. Texas—Houston) (reporting scales of percentages set in ex ante fee

 agreements in securities fraud class actions). The same is true in patent representations and other

 commercial lawsuits.

        Presumably, the market favors percentage-based compensation in contingent fee

 representations because these arrangements motivate lawyers to prosecute claims aggressively by

 giving them sizeable stakes in the upside of litigation. Lodestar-based fee payments would not have

 this effect because they tie lawyers’ rewards more heavily to time expended than to results obtained.

 Multipliers or bonuses linked to amounts recovered could improve matters somewhat. But the

 overwhelming use of percentage-based compensation in the private market suggests that anchoring

 fees primarily to hours expended creates interest conflicts that fee enhancements cannot readily

 ameliorate.

        Second Circuit precedent allows the Court to use the percentage method. In Goldberger v.

 Integrated Res., Inc., 209 F.3d 43 (2d Cir.2000), the Second Circuit freed district courts from having

 “to undertake the cumbersome, enervating, and often surrealistic process of lodestar computation.”

 Id., 209 F.3d at 49-50 (internal quotation marks omitted). See also Wal-Mart Stores, Inc. v. Visa

 U.S.A., Inc., 396 F.3d 96, 121 (2d Cir. 2005) (“Courts may award attorneys' fees in common fund

 cases under either the “lodestar” method or the “percentage of the fund” method.”) The reversal of

 precedent worked in Goldberger was based partly on the Supreme Court’s pronouncement that



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 “under the ‘common fund doctrine,’ ... a reasonable fee is based on a percentage of the fund

 bestowed on the class.” Blum v. Stenson, 465 U.S. 886, 900 n. 16 (1984) (quoted in Goldberger, 209

 F.3d at 49). It makes overwhelming sense when one considers practices prevailing in the market as

 well.

          Goldberger allows the Court to base a percentage fee award on prevailing market rates as

 well. After holding that percentage-based fee awards are permitted, the Second Circuit identified the

 “criteria” a district court just must consider “in determining a reasonable common fund fee”,

 including: the magnitude and complexities of the litigation; the risk of the litigation, the requested

 fee in relation to the settlement; and public policy considerations. Goldberger, 209 F.3d at 50. The

 first three factors all matter in the private market transactions where contingent percentages are set.

 The last permits the Court to decide that, as a matter of public policy, it makes sense to take

 percentage fees paid by sophisticated clients as a guide.

          Plainly, the magnitude and complexity of litigation and the risk involved determine the size

 of contingent percentages in the private sector. For example, percentages are higher in medical

 malpractice cases than in most other personal injury cases because the former are more expensive to

 wage and harder to win. Percentages are also high in patent infringement cases because they involve

 sizeable commitments of resources and, therefore, large risks. These matters are discussed further

 below.

          The requested fee in relation to the settlement practically begs for a market-based

 comparison. What can it mean to say that the relation is appropriate except that it falls in the usual

 and customary range? And how can the usual and customary range be determined, except by

 studying the workings of the private market, where lawyers collect contingent fees every day.




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        Finally, as a policy matter, percentage-based awards are justified on the ground that they

 create superior incentives for attorneys to maximize class members’ expected recoveries. This

 conclusion reflects the high frequency with which sophisticated clients pay lawyers contingent

 percentage fees when acting as plaintiffs in civil lawsuits. Given the due process imperative to

 ensure that class members are represented zealously, judges desirous of protecting class members’

 rights should learn from the market and use the contingent percentage approach.

 7.     SOPHISTICATED CLIENTS NORMALLY PAY CONTINGENT FEES OF 20
        PERCENT OR MORE

        Having established that judges should use the percentage method when awarding fees in class

 actions, it remains to consider how large fee percentages should be. In this section, I survey what is

 known about the fees sophisticated clients, normally businesses, usually pay. Because business

 clients can shop for lawyers and compare rates, are experienced negotiators, and have good

 information, the fees they pay should reflect the value of the services lawyers provide.

        We know less about the fees businesses pay than we might.21 No publicly available database

 collects this information, and businesses that sue as plaintiffs do not often make their fee agreements

 public. Consequently, most of what is known is drawn from anecdotal reports. Businesses also

 sometimes use hybrid arrangements that combine guaranteed payments with contingent bonuses.22



 21
    I have studied the costs insurance companies incur when defending liability suits. See Bernard
 Black, David A. Hyman, Charles Silver and William M. Sage, Defense Costs and Insurer Reserves
 in Medical Malpractice and Other Personal Injury Cases: Evidence from Texas, 1988-2004, 10
 AMERICAN LAW AND ECONOMICS REVIEW 185 (2008). Unfortunately, this information sheds no
 light on the amounts businesses play when acting as plaintiffs.
 22
   In a recent case against Bank of American, a group of bankruptcy creditors with about $58 million
 at stake agreed to pay a law firm $1 million upfront and 5 percent of the net recovery. Petra
 Pasternak, It’s BIG, You're in Charge! Firm Picked for Pending Case Against BofA, Citi,
 CORPORATE COUNSEL (Online) April 9, 2010. I note that the combination of a guaranteed payment
 with a contingent bonus differs from the lodestar method, which is a contingent hourly rate.


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 These arrangements hold few lessons for class actions because lawyers representing plaintiff classes

 must work on straight contingency. That said, the limited evidence available on the use of pure

 contingent fees by sophisticated clients shows that marginal percentages tend to be high.

        Consider patent infringement representations. Reports of high percentages in this area

 abound. The most famous such instance may be the dispute between NTP Inc. and Research In

 Motion Ltd., the company that manufactures the Blackberry. NTP, the plaintiff, promised its law

 firm, Wiley Rein & Fielding (“WRF”), a one-third contingent fee. When the case settled for $612.5

 million, WRF received more than $200 million in fees. Yuki Noguchi, D.C. Law Firm’s Big

 BlackBerry Payday: Case Fees of More Than $200 Million Are Said to Exceed Its 2004 Revenue,

 WASHINGTON POST, March 18, 2006, D03. Another famous case involved the law firm of Dickstein

 Shapiro, which was reported to be entitled to a fee of $90 million under a partial contingent fee

 agreement,23 after securing a $501 million jury award against Boston Scientific. Martha Neil,

 Dickstein Contingent-Fee Payout Could Be $600K Per Partner, ABA JOURNAL (May 20, 2008).24

 In yet another instance, the Texas law firm of McKool Smith won a $200 million jury verdict against

 Microsoft for Toronto-based i4i Inc. Penalties and interest added $90 million to the total. The

 firm’s share, under another partial contingent fee agreement, was reported to be $60 million,




 23
    In a partial contingent fee agreement, the contingent bonus, usually but not necessarily a
 percentage of the recovery, applies on top of other guaranteed compensation, such as a fixed
 payment upfront or a discounted hourly rate. Because guaranteed compensation is unavailable in
 class actions, partial contingent fee agreements provide no guidance for fee percentages in securities
 class actions.
 24
   The parties later settled the case for $50 million. AMERICAN LAWYER, Interest Award Brings
 Doctor's Judgment Against Johnson & Johnson to $593 Million In Patent Fight Over Stents, April
 01,        2011,          http://www.dicksteinshapiro.com/files/News/264f90ee-6c20-49c9-a487-
 98a0b5487d82/Presentation/NewsAttachment/af4ec2e6-3255-4a0b-b3d8-
 996140459f30/American%20Lawyer_Saffran.pdf.


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 assuming the verdict held up. Cheryl Hall, Patents and patience pay off for Dallas law firm McKool

 Smith, THE DALLAS MORNING NEWS, March 27, 2010.

        In a recent article, Assistant Professor David L. Schwartz reports findings based on

 interviews with 44 experienced lawyers who represent plaintiffs in patent cases and his review of 42

 contingent fee agreements.25 His conclusion: The percentages are high.

        On the whole, the contingent rates are similar to the “one-third” that a stereotypical

        contingent personal injury lawyer charges. There are two main ways of setting the

        fees for the contingent fee lawyer: a graduated rate and a flat rate. Of the agreements

        using a flat fee reviewed for this Article, the mean rate was 38.6% of the recovery.

        The graduated rates typically set milestones such as “through close of fact

        discovery,” “through trial,” and “through appeal,” and tied rates to recovery dates. As

        the case continued, the lawyer’s percentage increased. Of the agreements reviewed

        for this Article that used graduated rates, the average percentage upon filing was 28%

        and the average through appeal was 40.2%.

 Schwartz, The Rise of Contingent Fee Representation in Patent Litigation, supra, at 360. In a case

 like this one that lasted almost a decade, the highest graduated rates would apply. 26


 25
   See David L. Schwartz, The Rise of Contingent Fee Representation in Patent Litigation, 64
 ALABAMA LAW REVIEW 335 (2012).
        26
            Professor Schwartz’s findings are consistent with reports found in patent blogs. The
 following passage appeared in Matt Cutler, Contingent Fee Patent Litigation, and Other Options,
 PATENT LITIGATION, http://intellectualproperty-rights.com/?page_id=30 (reviewed March 13, 2012).
         Contingent Fee Arrangements: In a contingent fee arrangement, the client does not
         pay any legal fees for the representation. Instead, the law firm only gets paid from
         damages obtained in a verdict or settlement. Typically, the law firm will receive
         between 33-50% of the recovered damages, depending on several factors—a strictly
         results-based system.
 This item can now be found at http://patentlitigationstrategy.com/?page_id=30.


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        Another example of the use of scaled contingent percentages in patent litigation appears in

 Tanox, Inc. v. Akin, Gump, Strauss, Hauer & Feld, LLP, et al., 105 S.W.3d 244 (Tex. Appls.—

 Houston, 2003), which involved a sophisticated client with an enormous intellectual property claim.

 The decision reports that the plaintiff agreed to pay his attorneys a scale of contingent percentages.

 “Under the fee agreement, Tanox agreed to pay the Lawyers a contingency fee pursuant to a sliding

 scale: 25% of the first $32 million recovered by Tanox, 33 1/3 % of recovery from $32 million to

 $60 million, 40% of recovery from $60 million to $200 million, and 25% of recovery over $200

 million.” Id. at 248-249. The agreement also contained other provisions favorable to the lawyers,

 including a promise of “$100 million if they obtained a permanent injunction.” “The total fees

 Tanox agreed to pay the Lawyers were capped at $500 million and the total fees derived from

 royalties were capped at $300 million.” Id. at 249. Like NTP in the Blackberry litigation, Tanox

 agreed to pay both a high percentage and a potentially enormous amount.

        The payment of high contingent fees in patent cases is not a new phenomenon. In 1993, the

 AMERICAN LAWYER ran a cover story featuring patent litigator Gerald Hosier, who, by handling

 cases on contingency, reportedly made over $150 million in a single year, “more than the draws of

 all the equity partners at New York’s Cravath, Swaine & Moore and Chicago’s Winston & Strawn

 combined.” Stewart Yerton, The Sky’s the Limit, AMERICAN LAWYER (May 1993). An article

 published in 1997 reported that attorney Alfred Engelberg began handling patent cases on

 contingency in 1985. In an interview, Engelberg stated that he “ha[d] been involved in seven

 contingent patent challenges over the last 10 years … and ha[d] received remuneration in excess of

 $100 million. On an hourly basis, even if the cases had been fully staffed, the cases would have

 produced a total of no more than ten to fifteen million dollars in billing.” P.L. Skip Singleton, Jr.,

 Justice For All: Innovative Techniques for Intellectual Property Litigation, 37 IDEA 605, 610



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 (1997). Clearly, in the segment of the market where sophisticated businesspeople hire lawyers to

 handle patent cases on contingency, successful lawyers earn enormous premiums over their normal

 hourly rates. The reason is obvious. When waging patent cases on contingency, lawyers must incur

 large risks and high costs, so clients must promise them hefty returns.

        Turning from patent lawsuits to business representations more generally, many examples

 show that high percentage compensation is common. A famous case from the 1980s involved the

 Texas law firm of Vinson & Elkins (V&E). ETSI Pipeline Project (EPP) hired V&E to sue

 Burlington Northern Railroad and other defendants, alleging a conspiracy on their part to prevent

 EPP from constructing a $3 billion coal slurry pipeline. In a sworn affidavit, Harry Reasoner,

 V&E’s managing partner, described the financial relationship between EPP and V&E.

        The terms of our retention were that our client would pay all out-of-pocket expenses as they

        were incurred, but all legal fees were contingent upon a successful outcome. We were paid

        1/3 of all amounts received by way of settlement or judgment. We litigated the matter for 5

        years. At the conclusion, we had settled with all defendants for a total of $634,900,000.00.

        As a result, a total of $211,633,333.00 was paid as contingent legal fees.

 Declaration of Harry Reasoner, filed in In re Washington Public Power Supply System Securities

 Litigation, MDL No. 551 (D. Arizona, Nov. 30, 1990).

        Several things about this example are noteworthy. First, the contingency fraction was one-

 third of the recovery in a massive case. Second, V&E bore no liability for out-of-pocket expenses.

 The percentage was high even though, by comparison to this case, where Class Counsel advanced

 costs and bore the risk associated with them until the end of litigation, the deal was favorable to the

 law firm. Third, the case was enormous, ultimately generating a recovery greater than $600 million.




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 Fourth, the client was a sophisticated business with access to the best lawyers in the country. No

 claim of pressure or undue influence by V&E could possibly be made.

          If lawyers who write about fee arrangements in business cases can be believed, high

 contingent percentages remain common today. In 2011, THE ADVOCATE, a journal produced by the

 Litigation Section of the State Bar of Texas, published a symposium entitled “Commercial Law

 Developments and Doctrine.” It included an article on alternative fee arrangements, according to

 which:

          A pure contingency fee arrangement is the most traditional alternative fee

          arrangement. In this scenario, a firm receives a fixed or scaled percentage of any

          recoveries in a lawsuit brought on behalf of the client as a plaintiff. Typically, the

          contingency is approximately 33%, with the client covering litigation expenses;

          however, firms can also share part or all of the expense risk with clients. Pure

          contingency fees, which are usually negotiated at approximately 40%, can be useful

          structures in cases where the plaintiff is seeking monetary or monetizable damages.

          They are also often appropriate when the client is an individual, start up, or

          corporation with limited resources to finance its litigation. Even large clients,

          however, appreciate the budget certainty and risk-sharing inherent in a contingent fee

          arrangement.

 Trey Cox, Alternative Fee Arrangements: Partnering with Clients through Legal Risk Sharing, 66

 THE ADVOC. (TEXAS) 20 (2011).

          A recent case shows, in monetary terms, that lawyers who handle business disputes on

 contingency can earn enormous premiums over their hourly rates. In 2012, the U.S. Court of

 Appeals for the Tenth Circuit decided a case involving a dispute over the fee a business client owed



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 to the law firm of Susman & Godfrey (“S&G”). S&G had handled an oil and gas matter for the

 client on the following terms. “Under the Fee Agreement, [the client] agreed to pay [S&G] 30% ‘of

 the sum recovered by settlement or judgment,’” subject to caps based on when the lawsuit was

 resolved. Grynberg Production Corp. v. Susman Godfrey, L.L.P., No. 10-1248, (10th Cir. February

 16, 2012), available at http://law.justia.com/cases/federal/appellate-courts/ca10/10-1248/10-1248-

 2012-02-16.html. “[T]he Fee Agreement capped fees at $50 million if the case settled within one

 year after the action was filed.” Id. The fee agreement thus entitled S&G to be paid $50 million for

 a year of work—and that is what an arbitrator decided S&G should receive, before the case went to

 the Tenth Circuit, subject to an offset of less than $2 million that, for present purposes, is irrelevant.

         Examples of high contingent fees can also be found in reported cases involving business

 clients who retained lawyers to participate on their behalf in class actions. Several appear in the

 Synthroid opinion written by Judge Easterbrook. He reports that, after a settlement was already on

 the table,

         a group of more than 100 [third party payers] … contracted with two law firms to

         represent them…. [T]he contracts provided for a 25% contingent fee at maximum.

         The “Porter Wright Group” (18 [third party payers] referred to collectively by their

         law firm’s name) also negotiated with and hired counsel. Their setup allowed each

         insurance company to pick one of two fee options. Either the client paid Porter

         Wright’s full costs and 70% of its normal hourly fees each month, with a 4% of

         recovery kicker at the end, or the client paid only costs each month but had to pony

         up 15% of the final settlement. Insurers are sophisticated purchasers of legal services,

         and these contracts define the market. Unfortunately, though, they identify a market




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        mid-way through the case, after defendants already had agreed to pay substantial

        sums.27

 In re Synthroid Marketing Litig., 264 F.3d at 727. In Synthroid, the lawyers’ job was merely to

 garner as large a portion of the settlement fund as possible for the third party payers. They bore

 minimal risk of non-payment. Even so, their sophisticated clients promised them large percentage

 fees than Class Counsel is seeking in this case, where the non-payment risk was enormous.

        One can also consider the fees sophisticated business client serving as named plaintiffs or

 opt-out claimants agree to pay when they hire lawyers in connection with class actions. In In re:

 High Fructose Corn Syrup Antitrust Litigation, the two named plaintiffs, Zarda Enterprises and

 Publix Supermarkets Inc., agreed to pay fees of 30% and “more than 25%”, respectively, and an opt-

 out claimant, Gray & Co, agreed to pay its attorney 33%-40% of the recovery, depending on the time

 of settlement. Declaration of John C. Coffee, Jr., submitted in In re High Fructose Corn Syrup

 Antitrust Litigation, M.D.L. 1087 (C.D. Ill. Oct. 7, 2004), pp. 1-2. In securities fraud class actions,

 where lead plaintiffs sometimes enter into ex ante fee agreements with their chosen counsel,

 substantial percentages are also promised. For example, the State of Wisconsin Investment Board

 (SWIB), a sophisticated client, promised the fees set out in Table 2 when it served as lead plaintiff in

 three securities fraud cases.




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             Table 2: Fees Promised by SWIB in Three Securities Fraud Class Actions

                             Case                         Fee               Recovery
            In re Anicom Inc. Securities
                                                         23.5%             $40 Million
            Litigation, 00-CV-04391 (N.D. Ill.)
            In re Physician Computer Network,
            Inc. Securities Litigation, Civil No.         15%              $21 Million
            98-981 (D.N.J.)
            Gluck v. CellStar Corp., 976 F.
                                                          18%              $15 Million
            Supp. 542 (N.D. Tex. 1997)
           Source: Letter from Keith Johnson, Chief Legal Counsel, State of Wisconsin
           Investment Board (May 21, 2005), filed in Schwartz v. TXU Corp., Civil Action No.
           3:02-CV-2243-K (N.D. Texas—Dallas).

 Having studied and consulted on securities class actions for years, I know of many other cases in

 which lead plaintiffs agreed to pay fees in this range. Rather than belabor the matter, though, I will

 represent to the Court that lead plaintiffs often agree to pay fees of 15 percent or more in securities

 class actions. This is so even in cases that generate larger recoveries than those listed in Table 2.

           Really, though, the Court need not search through other cases to learn how much business

 clients serving as named plaintiffs are willing to pay. The Court need only consider the fee

 agreements signed by several of the named plaintiffs in this case. In all, I reviewed retainer

 agreements entered into by 12 class merchants. The agreements vary in important respects,

 indicating that they were negotiated agreements, but generally provide that Class Counsel will

 receive a fee equal to one-third of the class-wide recovery. 28 Some contain additional provisions



 28
      Typical language reads as follows:
          (a) Fees As Class Counsel
              (1) Fees for the Firm’s professional services in the Action as Class Counsel will
              be on a contingent basis and dependent upon the results obtained. In the event of
              a settlement or a favorable outcome at or after a trial, the Firm shall seek to
              recover legal fees equal to one-third of the Value of the Recovery attributable to
              our representation of the Class from one or more of the defendants. Any amount
              which is not recovered from the defendant(s) shall be payable on a contingent fee
              basis as described in paragraph (2) below. The Company agrees to support any


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 promising to make up any difference between one-third of the class-wide recovery and the actual fee

 from the client’s share of the recovery or to pay a one-third fee from the client’s recovery if the

 client recovers individually rather than as part of a class action. The market thus sent a strong signal

 that a fee well above the percentage Class Counsel requests would be reasonable in this case.

        I hope the Court agrees that the cumulative weight of the examples presented in this section

 overwhelming. Sophisticated business clients routinely pay contingent fees of 15 percent or more

 (usually the latter) and rarely pay less. Class Counsel’s request for about 10 percent of the recovery

 is thus at the far low end of the range and is therefore unquestionably reasonable.

 8.     RISK INCURRED

        The papers filed in support of the requested fee award describe the litigation risks Class

 Counsel incurred in detail. They make clear, for example, that this lawsuit has lasted about eight

 years, from the time (2005) the original complaint was filed through the fairness hearing on the

 proposed settlement (2013).

        But the papers do not explain that, by class action standards, nine years is a very long time.

 A study of federal class actions resolved in 2006 and 2007 found that antitrust class actions lasted



            request for attorney’s fees, costs and disbursements to the court that is in an
            amount of one-third of the Value of the Recovery or less.
            (2) In the event that the court does not approve the fee requested by the Firm, the
            Company and the other named plaintiffs agree to pay the difference between the
            fee awarded by the court and an amount equal to one-third of the Value of the
            Recovery made on behalf of the named plaintiffs.
        (b) Fees Owed If Recovery Is Made Outside Of Class Action.
            In the event that The Company makes a recovery outside of the class action (as,
            for example, if a class is not certified or the Company withdraws as a class
            representative) the Company agrees to pay a contingent fee equal to one-third of
            the Value of the Recovery to the Company.




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 1,140 days on average. Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and

 Their Fee Awards, 7 JOURNAL OF EMPIRICAL LEGAL STUDIES 820, Table 2 (2010). The longest

 antitrust class action in the dataset resolved in 2,480 days. At 8 years and counting, this case has

 already outlived the longest class action in Professor Fitzpatrick’s dataset.29

         When this case started, no one could say with confidence when it would end. Even now, the

 answer is not entirely clear. Even assuming that the Court approves the proposed settlement and the

 requested fee award, there may be appeals that drag on for months or years.

         I mention case duration because the difficulty of predicting it provides a vivid reminder of

 the risks Class Counsel incurred when the investigation that preceded this litigation began nine years

 ago. Today, with $7.25 billion on the table, it is all too easy to think that a hugely successful result

 was inevitable. It may even be difficult for many people to credit the possibility that the suit might

 have been lost. As social scientists have shown repeatedly, when people know how a risk actually

 turned out, they often grossly over-estimate the likelihood of the observed result. “Hindsight vision

 is 20/20. People overstate their own ability to have predicted the past and believe that others should

 have been able to predict events better than was possible. Psychologists call this tendency for people

 to overestimate the predictability of past events the ‘hindsight bias.’” Chris Guthrie, Jeffrey J.




 29
    Studies also find that other types of class actions typically resolve much faster than this one has.
 See, e.g., Thomas E. Willging et al., AN EMPIRICAL STUDY OF CLASS ACTIONS IN FOUR FEDERAL
 DISTRICT COURTS: FINAL REPORT TO THE ADVISORY COMMITTEE ON CIVIL RULES 16 (Federal
 Judicial Center 1996) (reporting that, in the four federal district courts studied, median time periods
 from filing to closing for settled non-securities class actions ranged from “eleven and thirteen
 months” on the low end to “thirty-six and fifty months” on the high end); Michael Klausner and
 Jason Hegland, When are Securities Class Actions Dismissed, When Do They Settle, and For How
 Much?—Part II, XXIII PLUS JOURNAL 1, 4 (2010) (study of securities class actions filed from 2000
 to 2003 reporting the cases that survived a motion to dismiss settlement in a mean length of time 24
 months after the motion was decided).



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 Rachlinski and Andrew J. Wistrich, Inside the Judicial Mind, 86 CORNELL LAW REVIEW 777, 799

 (2001) (citations omitted).

        In the fee-setting context, the hindsight bias may cause a court to over-estimate the likelihood

 of a successful result. In other words, a court may inadvertently set the risk of non-recovery, and the

 related risk of non-payment, too low, simply because it knows that the case turned out well for the

 plaintiffs. As Judge Easterbrook wrote in the Synthroid case,

        The best time to determine [a contingent fee lawyer’s] rate is the beginning of the

        case, not the end (when hindsight alters the perception of the suit’s riskiness, and

        sunk costs make it impossible for the lawyers to walk away if the fee is too low).

        This is what happens in actual markets. Individual clients and their lawyers never

        wait until after recovery is secured to contract for fees. They strike their bargains

        before work begins.

 In re Synthroid Marketing Litigation, 264 F.3d at 724.

        In Inside the Judicial Mind, Professors Chris Guthrie, Jeffrey J. Rachlinski and Andrew J.

 Wistrich documented the tendency of the hindsight bias to influence judge’s estimates of ex ante

 likelihoods. They gave more than 150 federal magistrate judges a statement describing a case in

 which a prisoner appealed after being sanctioned by a trial judge for filing a frivolous complaint.

 One-third of the statements indicated that the appellate court affirmed the sanction; another third

 indicated that the appellate court imposed a lesser sanction; and the last third indicated that the

 appellate court vacated the sanction entirely. All the judges were then asked to “go back in time”

 and identify the result that was most likely to occur. Demonstrating the influence of the hindsight

 bias, the judges’ estimates of the ex ante likelihoods depended on the information they received

 about the actual outcome. “[T]he judges exhibited a predictable hindsight bias; when they learned



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 that a particular outcome had occurred, they were much more likely to identify that outcome as the

 most likely to have occurred.” Guthrie et al., Inside the Judicial Mind, supra, at 803.

          The Court possesses an enormous amount of information about the actual outcomes

 associated with probabilistic events in this litigation. For example, the Court is knowledgeable

 regarding all of the motions filed in the case and the risks they pose for all parties. Through their

 motions and oral arguments, the Court also knows what many documents obtained in discovery

 revealed and what many witnesses testified to in depositions. This knowledge could only have been

 guessed at when the lawsuit started, but today they are known outcomes which, because of the

 hindsight bias, may seem far more likely to have occurred than they actually were.

         To accurately assess the risks Class Counsel incurred when litigation started in 2005, the

 Court would somehow have to blind itself to much of what it knows about the case. That is

 impossible, obviously. But there is a way out. The Court can take guidance from the private market

 for legal services, including the fees set in the retainer agreements signed by the named plaintiffs and

 information about prevailing market rates more generally. This is appropriate because in the

 contingent fee sector, compensation terms are set ex ante—when litigation begins—not ex post—

 when the results are known. Ex ante fees can provide valuable guidance concerning the fees that are

 needed to offset the litigation risks that are actually incurred.

 9.      WHEN DONE CORRECTLY, FEE-SETTING IS A POSITIVE-SUM GAME

         Judges take seriously their role as absent plaintiffs’ guardians when awarding fees from class

 action settlements. However, because they ordinarily set fees at the end of litigation rather than the

 beginning, they tend to believe that fee setting is a zero-sum game in which more for the lawyers

 means less for the class. This view exerts strong downward pressure on fees that may hurt class

 members in many ways, such as by discouraging lawyers from handling risky cases and from

 developing the cases they do take as fully and intensively as warranted.
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         The belief that class members always prefer lower fees to higher ones is incorrect. Taken to

 the limit, it implies that class members would be happiest with a fee of 0 percent. This is obviously

 wrong. At the outset of litigation, a 0 percent fee looks terrible to a class member (indeed, to any

 claimant) because no lawyer will take a case for that amount. When the fee is zero, a class

 member’s expected recovery is also zero. Because any positive recovery is better than zero, any

 positive fee is also better than a zero fee.

         The market for legal services, in which contingent fees are set ex ante, recognizes that fee

 setting is a positive-sum game, not a zero-sum competition. A higher attorney’s fee can mean a

 larger expected net recovery for a claimant because a lawyer will take the case, expend effort on it,

 and increase the value of the client’s claim by an amount that exceeds the lawyer’s fee. Both the

 Third Circuit and the Seventh Circuit recognize this. The Third Circuit observed that “[t]he goal of

 appointment [of class counsel] should be to maximize the net recovery to the class and to provide

 fair compensation to the lawyer, not to obtain the lowest attorney fee. The lawyer who charges a

 higher fee may earn a proportionately higher recovery for the class than the lawyer who charges a

 lesser fee.” Third Circuit Task Force Report, 208 F.R.D. 340 (January 15, 2002) (emphasis added).

 The Seventh Circuit agreed in Synthroid I. It rejected the so-called “mega-fund rule,” according to

 which the fee percentage must be capped at a low percentage when the recovery is very large, noting

 that “[p]rivate parties would never contract for such an arrangement” because it would encourage

 cheap settlements. 264 F.3d at 718. Judge Harmon also rejected the “mega-fund rule” in Enron, as

 previously states.

         When setting fees, then, a court should not ask ‘What is the lowest possible fee?’ but ‘What

 fee would a group of claimants rationally have agreed to pay when this lawsuit began?’ The best




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 answer is ‘The market rate’ because that is the fee shown by real engagements of attorneys to be

 most likely to maximize the expected value of claims net of litigation costs.

 10.    ANALYSIS OF THE COURT’S OPINION IN IN RE VISA CHECK/
        MASTERMONEY ANTITRUST LITIGATION

        In the preceding sections, I have urged the Court to place great weight on fee percentages

 prevailing in the market for legal services when fixing the size of Class Counsel’s fee award. I know

 that in In re Visa Check/Mastermoney Antitrust Litigation, 297 F. Supp. 2d 503 (E.D.N.Y. 2003),

 aff’d sub nom. Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96 (2d Cir. 2005), the Court

 considered and rejected several arguments like those I have made. I therefore take a moment to

 respectfully urge the Court to give the “mimic the market” approach another look.

        In Visa Check, the Court’s decision to award a low percentage fee seems to have been

 strongly influenced by the Second Circuit’s observation in Goldberger that “in megafund cases [],

 courts have ‘traditionally accounted for [] economies of scale by awarding fees in the lower

 range[s]’”. Visa Check, 297 F. Supp. 2d at 521 (quoting Goldberger, 209 F.3d at 52). Importantly,

 the quoted language appears in a portion of the Goldberger opinion where the Second Circuit

 criticized the benchmark approach employed in the Ninth Circuit, which employs a presumption that

 25 percent is a reasonable fee.

        Moreover, even a theoretical construct as flexible as a “benchmark” seems to offer an

        all too tempting substitute for the searching assessment that should properly be

        performed in each case. Starting an analysis with a benchmark could easily lead to

        routine windfalls where the recovered fund runs into the multi-millions. “Obviously,

        it is not ten times as difficult to prepare, and try or settle a 10 million dollar case as it

        is to try a 1 million dollar case.” [citation omitted.]

 Goldberger, 209 F.3d at 52.


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        I agree with this observation. A benchmark set at 25 percent could over-compensate lawyers

 for many reasons, one being the existence of economies of scale in litigation costs. That said, over-

 compensation cannot occur when judges set fees on the basis of rates prevailing in the market in

 cases where substantial economies of scale are present. Securities fraud class actions provide the

 best examples of cases fitting this description. Like antitrust class actions, they involve thousands or

 millions of claimants and, therefore, enormous scale economies. They also provide evidence of

 market-based fees because law firms compete for opportunities to represent institutional investors

 with large financial stakes. Many institutional investors routinely consider multiple proposals or

 hold ‘beauty pageants’ before choosing law firms and agreeing on fees. As Associate Professor

 David H. Webber observed recently, “institutions are ideally situated to force [law] firms to compete

 with one another, particularly on price.” David H. Webber, The Plight of the Individual Investor in

 Securities Class Actions, 106 NORTHWESTERN UNIVERSITY LAW REVIEW 157, 167 (2012).

        In securities fraud class actions, I have never seen or read about a fee agreement between an

 institutional investor and a law firm that entitled the firm to 6.511 percent of the recovery, the

 amount the Court awarded in Visa Check. Contracted-for fees are always higher. The fee agreement

 in Enron, arguably the most comparable case and surely one where the scale economies were

 enormous, never dipped that low. It started at 8 percent of the first billion dollars recovered and

 topped out at 10 percent of all dollars in excess of $2 billion. This signals the possibility that the

 6.511 percent fee discounted for economies of scale too heavily. Were the Court to apply the Enron

 fee agreement to the cash portion of this settlement, the fee award would equal $695 million, 9.6

 percent of the recovery.30


 30
   (.08 * $1 billion) + (.09 * $1 billion) + (.10 * $5.25 billion) = $80 million + $90 million + $525
 million = $695 million.


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        Mistakes are inevitable, I believe, when fee awards are based on “reasonableness factors”

 alone without the benefit of evidence of market rates. When acting as guardians charged with

 protecting class members from excessive fees, many judges are predisposed to cut fee requests,

 especially in cases that generate enormous settlements and seemingly breathtaking requests for fees.

 The benefit to class members seems obvious. But both the restitutionary impulse to compensate

 lawyers reasonably and class members’ rational desire to maximize their expected recoveries will be

 frustrated if judges use the existence of scale economies as a reason for cutting fees too much. Too

 be clear, my point is not that judges are wrong in believing that class actions generate scale

 economies—I am confident that they are right about this. Rather, the weight scale economies should

 receive is an empirical matter requiring evidence, and market rates provide the only source of

 evidence that is both reliable and readily available. Judges can learn how much weight to give scale

 economies by studying the amounts real clients pay real lawyers in securities fraud class actions and

 other cases that involve large numbers of claimants.

 11.    FEE AWARDS IN OTHER CLASS ACTIONS

        In my experience, courts often are interested in the results of empirical studies of fee awards

 in class actions. I am familiar with these studies and am in the process of conducting one of my

 own. This section presents the results.

        Before addressing the studies, however, I think it is important to make two points. First, fee

 awards in other class actions do not provide direct evidence of market rates. They show how judges

 regulate fees, and judges often deviate from market-based practices. The findings reported in this

 section are therefore fallible guides. Second, it is perilous to use the studies as a basis for the fee

 award in this case because there are no other antitrust class actions as enormous as this one. A

 dataset that contains no comparable cases cannot provide much to go on.



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         Because empirical studies of class action fee awards document judicial practices, I begin by

 mentioning Table 1 of this report, which lists 66 mega-fund cases with recoveries of $100 million or

 more and fee awards of at least 20 percent. These cases provide ample precedent in support of the

 requested fee award. I also point to the $688 million award in Enron, arguably the most comparable

 case. Finally, I note that in the Vioxx MDL, which settled for $4.85 billion, the court awarded the

 lead attorneys $315,250,000 in common benefit fees on top of the enormous sum the very same

 lawyers received from their clients pursuant to contingent fee agreements capped at 32 percent.

 Order & Reasons, In re Vioxx Products Liability Litigation, MDL 1657 (E.D. LA, Oct. 19, 2010).

 Although the total amount the lead Vioxx attorneys took home is unknown, it surely equals or

 exceeds the amount Class Counsel is requesting even though the recovery in this case is billions of

 dollars larger.

         I now turn to empirical studies of fee awards in class actions. There are many of these, 31 so I

 focus first on two of the most recent that examine class actions of diverse types: Brian T. Fitzpatrick,

 An Empirical Study of Class Action Settlements and Their Fee Awards, 7 JOURNAL OF EMPIRICAL

 LEGAL STUDIES 811 (2010) (“Fitzpatrick Study”); and Theodore Eisenberg and Geoffrey P. Miller,

 Attorney Fees and Expenses in Class Action Settlements: 1993–2008, 7 JOURNAL OF EMPIRICAL

 LEGAL STUDIES 248 (2010) (“E&M Study”). Both studies were peer-reviewed.



 31
   See, e.g., Denise N. Martin, Vinita M. Juneja, Todd S. Foster, and Frederick C. Dunbar, RECENT
 TRENDS IV: WHAT EXPLAINS FILINGS AND SETTLEMENTS IN SHAREHOLDER CLASS ACTIONS?, Table 9
 (1996); Thomas E. Willging, Laural L. Hooper & Robert J. Niemic, EMPIRICAL STUDY OF CLASS
 ACTIONS IN FOUR FEDERAL DISTRICT COURTS: FINAL REPORT TO THE ADVISORY COMMITTEE ON
 CIVIL RULES 151 (1996); Mukesh Bajaj, et al., SECURITIES CLASS ACTION SETTLEMENTS: AN
 EMPIRICAL ANALYSIS (Nov. 16, 2000); Stuart J. Logan, Jack Moshman & Beverly C. Moore, Jr.,
 Attorney Fee Awards in Common Fund Class Actions, 24 CLASS ACTION REPORTS 167 (2003); and
 Theodore Eisenberg and Geoffrey P. Miller, Attorney Fees in Class Action Settlements: An
 Empirical Study, 1 JOURNAL OF EMPIRICAL LEGAL STUDIES 27, 75 (2004).


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        Before discussing studies, it will be helpful to explain a statistics concept: the standard

 deviation. The standard deviation is a measure of the extent to which data points are spread about a

 reported estimate. A larger standard deviation means that the data points are spread farther from the

 point estimate than a smaller standard deviation, which indicates closer clustering.

        The standard deviation also provides an easy way of identifying the core of a distribution.

 Assuming a normal distribution, about 68 percent of the data points will fall within one standard

 deviation above or below the reported point estimate. For example, suppose the average height of a

 U.S. adult male is 70” with a standard deviation of 3”. It follows that the range running from 67” to

 73” will capture about 68 percent of all adult U.S. males. If the standard deviation were 4”, a wider

 spread running from 66” to 74” would be required to achieve the same result.

        Turning to the studies, Fitzpatrick collected all class action settlements approved by federal

 judges in 2006 and 2007, a total of 668 reported and unreported decisions. The following figure

 describes the range of fee awards in cases where judges applied the percentage method with or

 without a lodestar cross-check. As is apparent, awards ranging from 30 percent to 35 percent of the

 recovery constitute the most common category. Over 30 percent of the cases in Fitzpatrick’s dataset

 had fee awards this large.




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                     Source: Fitzpatrick Study, supra, at p. 834.

        Fitzpatrick also reported aggregate settlement amounts and fee awards in antitrust class

 actions, which numbered 29 in all. In 2006, the antitrust settlements in his dataset collectively

 brought in $1.079 billion, 26 percent of which was awarded as fees. In 2007, settlements totaled

 $660.5 million, of which attorneys received 24 percent. Fitzpatrick Study, supra, at 825, Table 4 &

 p. 831, Figure 7.

        Breaking down settlements by size, Fitzpatrick reported mean fee percentages for settlements

 in the largest decile, which contained 45 cases and spanned an incredible range from $72.5 million to

 $6.6 billion. The mean fee was 18.4 percent with a standard deviation of 7.9 percent, meaning that

 about two-thirds of the cases fell in the range extending from 10.5 percent to 26.3 percent. See

 Fitzpatrick Study, at p. 839, Table 10. The fee requested by Class Counsel falls at the low end of

 this range.

        The E&M Study examined common fund class actions that closed from 1993 to 2008, a total

 of 689 cases. The authors drew their sample from Westlaw, Lexis and other reporters. For the entire

 dataset, the average fee-to-recovery ratio was 23 percent. E&M Study, supra, at pp. 258-259.


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 Focusing on antitrust cases, of which the dataset contained 71, the authors found a mean fee award

 of 22 percent on an average gross recovery of $163.48 million. Id., at p. 262, Table 5.

        Eisenberg and Miller also found a strong inverse correlation between the percentage awarded

 and the size of the common fund. Fee percentages tended to be larger in cases with smaller

 recoveries and smaller in the cases that produced the largest common funds. Figure 7, shown below,

 makes this relationship clear.




                         Source: E&M Study, supra, at p. 265.

        Obviously, the recovery in this case, $7.25 billion (excluding the non-cash relief), falls at the

 extreme high end of this the table. For the 68 cases in this decile, the mean (average) fee award was

 12 percent with a standard deviation of 7.9 percent. The core of the distribution thus extended from

 about 4.1 percent to about 19.9 percent. The fee percentage requested by Class Counsel is lower

 than the mean and squarely within this size range.

        The E&M Study also found a positive correlation between fee awards and risk. In most of

 the case categories studied, “mean fee percentages were higher in high-risk cases than in other

 cases.” E&M Study, supra, at 265. The measure of risk was exceedingly noisy, however. The

 researchers could not assess the riskiness of any case directly, so they coded cases on the basis of the

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 comments about risk that appeared in judges’ opinions. Consequently, although the finding makes

 sense, it would be a mistake to place much weight on the numbers. Having said that, the average fee

 in cases coded as high-risk was 26.1 percent, with no standard deviation reported. E&M Study,

 supra, at p. 265. Because this case was exceptionally risky, the requested fee of about 10 percent

 can easily be justified on that basis.

         I will now briefly discuss two recent studies of fee awards in securities class actions, which

 can also be large, high-risk cases. Choi et al. found that fees averaged 30% of the recovery in cases

 led by individual investors and private institutions, and 25% in cases led by public institutions.

 Stephen J. Choi, Jill E. Fisch, and A.C. Pritchard, Do Institutions Matter? The Impact of the Lead

 Plaintiff Provision of the Private Securities Litigation Reform Act, 83 WASHINGTON UNIVERSITY

 LAW QUARTERLY 869, 897, Table 6A (2005). More recently, Professor Michael Perino, who also

 studied securities class actions, reported average fees of 26.6 percent, which dropped to 19.3 percent

 in cases where public pension funds served as lead plaintiffs. Michael Perino, Institutional Activism

 Through Litigation: An Empirical Analysis of Public Pension Fund Participation in Securities Class

 Actions, 9 JOURNAL OF EMPIRICAL LEGAL STUDIES 368, 380, Table 1 (2012). Viewed as a percentage

 of the recovery, the fee requested in this case is well below average for cases led by public

 institutional investors.

         In sum, empirical studies of fee awards in class actions suggest that a fee of about 10 percent

 in a case of this magnitude would be a normal result.




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 I declare under penalty of perjury of the laws of the United States that the foregoing is true and
 correct.


 DATED: April 10, 2013




                                                                 CHARLES SILVER




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                                     Ex. D

             Declaration of Professor Charles Silver (excluding CV)

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                         Filed on September 22, 2021
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANTHONY D. KOLTON, et al.,              )
                                        )
               Plaintiffs,              )
v.                                      )       No. 16-cv-3792
                                        )       Hon. Charles P. Kocoras
MICHAEL W. FRERICHS,                    )
Treasurer of the State of Illinois,     )
                                        )
               Defendant.               )

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         EXPERT REPORT OF PROFESSOR CHARLES SILVER ON THE
    REASONABLENESS OF CLASS COUNSELS’ REQUEST FOR AN AWARD OF
                              ATTORNEYS’ FEES
______________________________________________________________________________




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I, CHARLES SILVER, declare as follows:
I.       SUMMARY OF OPINIONS

         1.    The proposed settlement will create a common fund from which Class Counsel are

entitled to be paid. This is true even though some Class Members will be paid in the future rather

than immediately.

         2.    Class Counsel’s fee should be set as a percentage of the fund because percentage-

based compensation arrangements dominate the market for legal services obtained on contingency.

         3.    The percentage should be set in light of market rates, which typically range from

one-third to 40 percent of the recovery. For this purpose, the Court can estimate the present value

of the stream of payments that Class Members will receive.

         4.    Because Class Counsel have requested a fee equal to about 20.3 percent, their

request is reasonable and should be granted.

II.      CREDENTIALS

         5.    I hold the Roy W. and Eugenia C. McDonald Endowed Chair in Civil Procedure at

the University of Texas School of Law. I joined the Texas faculty in 1987, after receiving an M.A.

in political science at the University of Chicago and a J.D. at the Yale Law School. I received

tenure in 1991. Since then, I have been a Visiting Professor at University of Michigan School of

Law (twice), the Vanderbilt University Law School, and the Harvard Law School.

         6.    The study of attorneys’ fees has been a principal focus of my academic career. I

published my first article on the subject shortly after I joined the law faculty at the University of

Texas at Austin. See Charles Silver, A Restitutionary Theory of Attorneys’ Fees in Class Actions,

76 CORNELL L. REV. 656 (1991). Since then, I have published about a dozen more articles, two of

which are empirical studies of fee awards in class actions. Lynn A. Baker, Michael A. Perino, and

Charles Silver, Setting Attorneys’ Fees In Securities Class Actions: An Empirical Assessment, 66

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Vanderbilt L. Rev. 1677 (2013); and Lynn A. Baker, Michael A. Perino, and Charles Silver, Is the

Price Right? An Empirical Study of Fee-Setting in Securities Class Actions, 115 COLUM. L. REV.

1371 (2015) (“Is the Price Right?”). The CORPORATE PRACTICE COMMENTATOR chose Is the Price

Right? as one of the ten best in the field of corporate and securities law in 2016. In his concurring

opinion in in Laffitte v. Robert Half Internat. Inc., 1 Cal. 5th 480, 376 P.3d 672 (2016), Justice

Goodwin Liu cited Is The Price Right? nine times. He also cited two of my other works.

       7.      My writings are also cited and discussed in leading treatises and other authorities,

including the MANUAL FOR COMPLEX LITIGATION, THIRD (1996), the MANUAL FOR COMPLEX

LITIGATION, FOURTH (2004), the RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS, and

the RESTATEMENT (THIRD) OF RESTITUTION AND UNJUST ENRICHMENT.

       8.      From 2003 through 2010, I served as an Associate Reporter on the American Law

Institute’s PRINCIPLES OF THE LAW OF AGGREGATE LITIGATION (2010). Many courts have cited

the PRINCIPLES with approval, including the U.S. Supreme Court.

       9.      I have testified as an expert on attorneys’ fees many times. Judges have cited or

relied upon my opinions when awarding fees in many class actions, including In re Payment Card

Interchange Fee and Merchant Discount Antitrust Litigation, 2019 WL 6888488 (E.D.N.Y. 2019),

In re Enron Corp. Securities, Derivative & “ERISA” Litig., 586 F. Supp. 2d 732 (S.D. Tex. 2008),

and Allapattah Services, Inc. v. Exxon Corp., 454 F. Supp. 2d 1185 (S.D. Fla. 2006), all of which

settled for amounts exceeding $1 billion.

       10.     Finally, because awards of attorneys’ fees may be thought to raise issues relating

to the professional responsibilities of attorneys, I note that I have an extensive background,

publication record, and experience as an expert witness testifying on matters relating to this field.

I also served as the Invited Academic Member of the Task Force on the Contingent Fee created by



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the Tort Trial and Insurance Practice Section of the American Bar Association. In 2009, the Tort

Trial and Insurance Practice Section of the American Bar Association gave me the Robert B.

McKay Award in recognition of my scholarship in the areas of tort and insurance law.

       11.      I have attached a copy of my resume as Appendix 1 to this declaration.

III.   DOCUMENTS REVIEWED

       12.      When preparing this report, I reviewed the items listed below which, unless noted

otherwise, were generated in connection with this case. I may also have reviewed other items

including, without limitation, cases, studies, and published scholarly works.

       •     Second Amended and Supplemental Class Action Complaint
       •     Plaintiffs’ Memorandum in Support of Motion for Preliminary Approval of Proposed
             Class Action Settlement
       •     Liability Analysis (Excel Spreadsheet)
       •     Interest Summary (Excel Spreadsheet)
       •     Notice of Certification of Class Action, Proposed Settlement of Class Action, and
             Hearing on the Proposed Settlement and Attorneys’ Fee Petition
       •     Agreement of Settlement
       •     Order Preliminarily Approving Proposed Settlement, Directing the Issuance of Notices
             to the Classes, and Setting a Fairness Hearing
       •     Summary Notice of Proposed Class Action Settlement
       •     Judgment Approving Settlement and Dismissing Action (Draft)
       •     Declaration of Anthony Kolton
       •     Declaration of David Goldberg
       •     Declaration of Jeffrey Sculley
       •     Declaration of Henry C. Krasnow
       •     Declaration of Sam Peltzman (draft)
       •     Letter from Ken Wagers to G. Allen Mayer dated July 4, 2021
       •     Treasurer’s Monthly Rate of Return, 6/1/2020-5/3/2021
       •     Minute Order, Doc. 121 (granting motion for preliminary approval of proposed
             settlement)



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IV.     FACTS

        13.     Having won a substantial recovery by means of a settlement for the owners of

unclaimed property in Illinois, Class Counsel have applied for an award of attorneys’ fees and

reimbursement of expenses equal to the lesser of 25 percent of the recovery or $9.5 million. In

this Report, I focus upon the fee application.

        14.     The settlement includes two classes: a settlement class to be certified under Rule

23(b)(3) of the Federal Rules of Civil Procedure and a litigation class that the Court previously

certified under Rule 23(b)(2).

        15.     The (b)(3) class contains all property owners “whose claims were paid or approved

for payment during the period between August 22, 2017 and continuing through the date of the

entry of the Preliminary Approval Order” (July 20, 2021). Agreement of Settlement, ¶ 2.1.1.

        16.     The (b)(2) class contains owners whose property was in the possession of the State

of Illinois as of the date of the Preliminary approval order (July 20, 2021) and whose claims are

approved for payment after that date. Id.

        17.     A third group of property owners falls outside both classes but also benefits from

the settlement. This group contains all persons whose property is delivered to the State after July

20, 2021. The Agreement of Settlement refers to these individuals as “Future Claimants.” Id. ¶

1.14

        18.     The settlement entitles members of both classes to monetary relief in the form of

interest payments calculated in the manner specified in ¶ 2.3 of the Agreement of Settlement. It

also obligates the Treasurer to use the same method when returning funds to Future Claimants,

unless and until the Illinois General Assembly passes a statute providing for a different method.

Id., ¶ 2.3. See also id., ¶ 2.4.1 (reiterating requirement).



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       19.     The settlement allows the Treasurer to deduct a $5 administrative fee from the

interest paid on each property. Id., ¶ 2.6.

       20.     Turning to the value of the settlement, the Notice of Certification of Class Action,

Proposed Settlement of Class Action and Hearing on the Proposed Settlement and Attorneys’ Fee

Petition (“Settlement Notice”) states that

       The Treasurer has calculated that, as of March 31, 2021, the net interest payable to
       Rule 23(b)(3) Settlement Class Members is $13,563,730.89. Net interest payable
       to Rule 23(b)(2) Class Members can only be estimated because those claims have
       not yet been made. However, based on historical averages relating to holding
       periods and return rates of the Unclaimed Property Trust Fund [UPTF], recent
       interest rates, and calculations of interest payable to the Rule 23(b)(3) Class, the
       Treasurer has estimated that the present value of interest payable to the Rule
       23(b)(2) Class will be approximately $30,851,391.

Class Counsel has informed me that the Treasurer subsequently updated the present value of the

interest payable to the (b)(3) class. As of July 20, 2021, it was $15,878,236.

       21.     Class Counsel believe that the Treasurer has understated the value of the settlement

for the members of the (b)(2) class. According to their expert, who based his estimates on

properties in the UPTF as of March 31, 2021, the interest payable to this class could turn out to be

twice as much as the Treasurer predicts. Declaration of Sam Peltzman, p. 5..

       22.     The Settlement Notice does not indicate the present value of the settlement for

Future Claimants but based upon the Treasurer’s expert’s calculation for the (b)(3) class, Class

Counsel estimates that it will be $3.5-$4 million per year.

       23.     Taking the Treasurer’s estimates included in the settlement notice and considering

only the (b)(3) and (b)(2) classes (that is, ignoring payments to Future Claimants), the value of the

settlement is $44,415,121.89. Using the Treasurer’s updated figure for the (b)(3) class, the figure

increases to $46,729,627. Below, I will refer to $46.7 million as the “conservative estimate” of the

settlement’s value.


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       24.     As mentioned, Class Counsel have applied to the Court for a fee award equal to 25

percent of the recovery or $9.5 million, whichever is less. Applying 25 percent to the conservative

estimate of $46.7 million yields a fee of about $11.7 million. The cap at $9.5 million therefore

applies, so Class Counsel’s request is for that amount, which equals 20.3 percent of the recovery.

V.     CLASS COUNSEL ARE ENTITLED TO A FEE AWARD UNDER THE COMMON
       FUND DOCTRINE

       25.     Class Counsel have applied to the Court for a common fund fee award. These

awards are appropriate when a lawyer’s efforts create or augment a fund for the benefit of passive

recipients (here, non-party owners of unclaimed property), all of whom are entitled to share the

gain and would be enriched unjustly if payment to their lawyers were withheld. As it happens, I

wrote a foundational article on fee awards from common funds decades ago. See Charles Silver,

A Restitutionary Theory of Fee Awards in Class Actions, 76 CORNELL L. REV. 656 (1991). My

position on these awards was thus developed long before I had any involvement in this case.

       26.     In restitutionary parlance, a lawyer who requests an award from a common fund is

known as a “claimant” and the persons who stand to gain by sharing the fund are “beneficiaries.”

See RESTATEMENT (THIRD) OF RESTITUTION AND UNJUST ENRICHMENT § 29 (2011). By paying a

lawyer-claimant from a common fund, a court cures unjust enrichment by spreading the cost of

legal services across the beneficiaries in proportion to their gains.

       27.     The Restatement provides an illustration.

       Plaintiffs sue Utility, asserting the illegality of rates charged to a particular class of
       customers. The statutes and regulations on which the action is based contain no
       provision for the recovery of attorney’s fees by a successful litigant. Plaintiffs
       obtain a judgment requiring Utility to refund $5 million in excess charges to
       Plaintiffs and all customers within the affected rate class. Attorneys for Plaintiffs
       seek an award of fees and expenses. Although the claimants are not entitled to fees
       from Utility, an adverse party, they may require the beneficiaries of their
       intervention to contribute ratably to the expense of the litigation, including
       reasonable attorneys’ fees. The court approves an award to Attorneys of $500,000,


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         payable from the amount of the judgment, thereby reducing to $4.5 million the
         aggregate refunds distributed to customers.

Id., § 29, Illus. 1. Although the illustration differs from this case in that there the Utility is

refunding money while here the Treasurer is restoring property to its rightful owners, the parallels

between the two are many.

         28.    First, as in the illustration, the proposed settlement obligates an entity—there, the

Utility; here, the Treasurer—to return money that, but for the litigation, it would have retained.

Before Class Counsel filed suit, the Treasurer had been keeping all the interest earned on

unclaimed money property, as required under a state statute. Now, if the proposed settlement is

approved, the Treasurer will have to return the interest to an identified group of prior claimants

and pay the interest going forward to a second set of beneficiaries who will claim their property in

the future.1

         29.    Second, in both the illustration and this lawsuit, the beneficiaries have identical

interests because successful litigation would entitle all to payments. The object of creating the

fund—and of making it as large as possible—ensures that the beneficiaries’ interests harmonize.

         30.    Third, in both instances, the creation of the fund requires the resolution of a legal

question which, when decided, enables the amounts to be paid to be calculated formulaically. No

individual issues of any substance need be considered, and the use of a formula ensures that the

common fund is allocated among the beneficiaries in an appropriate manner.

         31.    Fourth, and again both here and in the illustration, the persons who stand to gain

have individual claims to payments. The fund is a common one because the claims can be resolved

by means of a single judgment or settlement that encompasses all individuals, not because the


1
 The Treasurer can charge members of both groups a one-time administrative fee of $5 for each
property claimed.

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beneficiaries own the fund jointly as, for example, two or more people may jointly own a piece of

land or a house.

         32.   Fifth, both groups of beneficiaries are enriched monetarily by ascertainable

amounts after fees are paid. In the illustration, they net 90 percent of the gross recovery ($4.5

million out of $5 million). Here, per ¶ 3.2.5 of the Agreement of Settlement, fees are to be paid

out of the UPTF, and, if the Court grants Class Counsel’s fee request to award fees from monies

that remain in the UPTF after Class Members are paid, Class Members will net 100 percent

because, per ¶3.2.5 of the Agreement of Settlement, fees are to be paid out of the UPTF.2

         33.   Sixth, in both instances the fee award distributes the cost of legal services across

the beneficiaries in an equitable manner by requiring pro rata contributions. Owners whose assets

generate more interest pay more than others but also receive larger payments.

         34.   Seventh, in both cases the beneficiaries are passive. In the illustration, the only

beneficiaries who hired counsel and sought to vindicate the refund claim were those in whose

names the lawsuit was filed. Here, the same is true. All owners with unclaimed assets were

passive, except the class representatives.

         35.   Eighth, although the illustration does not address the matter explicitly, one imagines

that both there and here beneficiaries need not take special steps to benefit from the fund. In the

example, the Utility could refund the overcharges for most or all ratepayers by discounting future

bills. Here, the Treasurer can pay the interest required to all owners who request their property.

Owners need not do anything extra to receive it.




2
 Paragraph 3.2.5 says nothing about deducting fees from Class Members’ payments. If the Court
grants the fee request for 20.3 percent but does order that fees be deducted, Class Members will
net 79.7 percent of the interest payments.

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       36.       Abstracting from the illustration, the Restatement sets out the general requirements

for common fund fee awards as follows.

       (2) A claimant may require those beneficiaries for whom the claimant is not acting
       by agreement to contribute to the reasonable and necessary expense of securing the
       common fund for their benefit, in proportion to their respective interests therein, as
       necessary to prevent unjust enrichment.

       (3) A beneficiary is liable in restitution only if:

             (a) liability will not oblige the beneficiary to make a net payment in cash;

             (b) the measurable value added to the beneficiary's interest in the common fund
             by the claimant's intervention exceeds the beneficiary's liability to the claimant;

             (c) the claimant has neither acted gratuitously nor received full compensation
             from others; and

             (d) liability will not impose an obligation that should properly have been the
             subject of contract between the claimant and the beneficiary.

RESTATEMENT (THIRD) OF RESTITUTION AND UNJUST ENRICHMENT § 29 (2011).

       37.       Here, it is apparent that these conditions are met.

             •   Re condition (2): Class Counsel neither had nor could have had retainer agreements

                 with absent property owners because their whereabouts are unknown. This is why

                 the numerosity requirement for class certification is met. Paying Class Counsel out

                 of the fund will also spread the burden across class members in proportion to their

                 gains, thereby preventing unjust enrichment in an equitable way.

             •   Re condition (3)(a): Withdrawing the fee from the fund will not require any class

                 member to make a net payment in cash. All class members will be better off than

                 they would otherwise have been even after Class Counsel’s fees are paid.

             •   Re condition (3)(b): The value to each owner of the increase in the common fund

                 can be calculated with precision and will always exceed the owner’s liability for

                 fees.
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               •   Re condition (3)(c): Class Counsel have neither acted gratuitously nor received

                   payment from anyone. They have provided professional services for which they

                   normally charge and for which they hoped to be compensated in this case if they

                   prevailed.

               •   Re condition (3)(d): Class Counsel’s compensation could not have been handled

                   contractually, as previously explained.

VI.      THE MARKET RATE DETERMINES THE SIZE OF THE COMMON FUND FEE
         AWARD

         38.       Seventh Circuit case law requires judges to “mimic the market” when awarding

fees from common funds, as Judge Andrea R. Wood of the Northern District of Illinois recently

explained in Charvat v. Valente, No. 12-CV-05746, 2019 WL 5576932 (N.D. Ill. Oct. 28, 2019),

a case brought under the Telephone Consumer Protection Act that produced a $12.5 million

settlement.3 In the course of approving a fee award equal to 33.99 percent of the recovery, Judge

Wood made the following observations.

               •   In a common fund case, “the Court should ‘award counsel the market price for legal

                   services, in light of the risk of nonpayment and the normal rate of compensation in

                   the market at the time.’” Id., at *11 (quoting In re Synthroid Mktg. Litig., 264 F.3d

                   712, 718 (7th Cir. 2001);

               •   “[T]he percentage-of-recovery method is preferable to the lodestar method in this

                   instance.” Id.;




3
  Judge Wood’s decision approving the settlement was appealed, but the appeal was dropped after
the settlement was amended. Charvat v. Valente, No. 19-3280, 2020 WL 6819148, at *1 (7th Cir.
Mar. 20, 2020) (granting joint motion to remand filed by counsel for all parties).


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             •   “[Class Counsel’s] request for a 33.99% award comports with the attorneys’ fees

                 awards granted in similar cases.” Id.; and

             •   “Class Counsel faced a real risk of nonpayment.” Id., at *12.

These observations apply with equal force here, the only exception being that Class Counsel’s

request for a 20.3 percent fee is considerably lower than the request that Judge Wood approved.

       39.       Because Seventh Circuit case law is utterly clear, I do not expect the Treasurer to

disagree about the dependency of common fund awards on market rates and will not belabor the

point. Instead, I will show below that the market rate for legal services normally ranges from

33.33 percent to 40 percent of the recovery, with lower fees and higher fees occasionally being

charged.

VII.   THE COURT CAN BASE THE DOLLAR AMOUNT OF THE FEE AWARD ON
       THE PRESENT VALUE OF FUTURE PAYMENTS

       40.       I mentioned above that Judge Wood handled fees correctly in Charvat v. Valente,

2019 WL 5576932. Her analysis applies straightforwardly to the (b)(3) class, whose members will

be paid in short order. But as regards the (b)(2) class, it is only suggestive because she did not

have to address how fees should be measured when class members will be paid amounts that can

only be estimated and will receive their benefits over time. Can the Court base the size of the fee

award on the estimated present value of the stream of payments members of the (b)(2) class will

receive? Or must Class Counsel be paid in dribs and drabs as class members file claims?

       41.       It is hardly unusual for class members to receive benefits over time. This often

occurs in ERISA cases involving pension funds. The complaints in these cases frequently assert

that benefits were calculated incorrectly, with the result that pensioners were underpaid in the past

and that benefits should be more generous in the future. When the plaintiffs’ position is vindicated,




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benefits that were wrongly withheld can be calculated with precision and paid immediately, but

the present value of future payment increases can only be estimated.

       42.     The Seventh Circuit considered a settlement involving payments of past and future

benefits in Williams v. Rohm & Haas Pension Plan, No. 404-CV-0078-SEB, 2010 WL 1490350,

at *1 (S.D. Ind. Apr. 12, 2010), aff'd, 658 F.3d 629 (7th Cir. 2011). There, the plaintiffs argued

that they were wrongly denied cost of living adjustments when they opted for lump-sum payouts

of their pension benefits. One subclass contained beneficiaries who received or elected to receive

lump sum distributions on or before December 31, 2009. The other contained all other pensioners

who would become eligible for lump sum payments after that date. Under the settlement, the

members of the first subclass would receive payments in two installments dated one year apart.

The members of the second subclass would be paid in the future, as they became eligible for

benefits under the pension plan.      Joint Motion for Preliminary Approval of Class Action

Settlement, Doc. 234, ¶¶ 27 & 28, Williams v. Rohm & Haas Pension Plan, No. 404-CV-0078-

SEB (S.D. Ind. Nov. 18, 2009).

       43.     In Williams, the parties estimated the settlement payments would have a total value

between $176 million and $180 million. Id., ¶ 14. Some of the uncertainty existed because data

relating to pension payments to members of the first subclass were still being collected when the

settlement was approved. Some also reflected the fact that the size of the increments added to

future lump-sum payouts would be determined on the basis of factors whose actual values could

not be known until beneficiaries retired.

       44.     Neither the uncertainty nor the fact that benefits would be paid in the future

prevented the trial court from awarding fees based on the settlement’s expected value, which it

pegged at $180 million for this purpose. Applying the Seventh Circuit’s mimic-the-market



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methodology, the district court ordered the pension plan to pay $43,500,000 in fees, 24.2 percent

of the gross recovery. Pursuant to the settlement agreement, fees would be paid in installments on

the same dates that the members of the first subclass were slated to receive their payments. When

objectors challenged the award, the Seventh Circuit affirmed.

       45.     Williams establishes several important points, the first being that a settlement can

produce a common fund recovery by requiring a defendant to make payments to individual class

members, including payments in the future to persons who are not yet eligible to receive them.

The district court judge described the Williams settlement as a “common fund,” Williams, 2010

WL 1490350 at *1, and the Seventh Circuit embraced this characterization by applying the

common fund methodology and affirming the trial court’s fee award. The settlement submitted

for the Court’s approval here, which also requires individual payments and payments to be made

in the future, is a common fund too. Consequently, when sizing the (b)(3) and (b)(2) classes’ fee

obligations, the Court can apply the common fund methodology and set the fee as a market-based

percentage of the aggregate recovery.

       46.     Williams also shows that a court can properly base a decision approving a

settlement and granting a common fund fee award on an estimate of the present value of a stream

of payments. When doing so, of course, a court must demand evidence supporting the accuracy

of an estimate and guard against inflated estimates whose purpose is to gain approval of a

settlement or increase class counsel’s compensation. And when a good-faith disagreement exists

regarding the likely value of a proposal, a court must address the dispute.

       47.     Finally, Williams establishes that a court can properly order fees to be paid upfront,

before many class members receive the benefits that a settlement confers. As mentioned, the

Williams settlement agreement provided for the payment of fees in two installments made in



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consecutive years, 2010 and 2011. The structure may seem novel because it entitled class counsel

to be paid before some class members were compensated and, consequently, required that the fee

award be based on an estimate of the present value of future benefits. But when time must

inevitably pass before class members become eligible for benefits, the structure is natural, not odd.

The entitlement to a future payment, which springs into existence when a settlement is approved,

has a present value. It is something that, in theory at least, a class member could sell. Awarding

fees payable in the present (or, as in Williams, the near future) recognizes this fact and cures the

problem of unjust enrichment concurrently.

         48.    In Williams, the parties agreed that the pension plan would pay up to $43.5 million

in attorneys’ fees and would bill the expense as a reasonable cost of administration. Here,

however, the Treasurer has not agreed to pay fees in any amount. The question therefore arises as

to whether the Court can require the payment of fees upfront even though owners will receive their

benefits in later years.

         49.    The law of restitution and unjust enrichment permits the Court to do this. Because

unjust enrichment often occurs in contexts where a simple transfer of money from defendant to

plaintiff will either leave the problem uncured or create new difficulties that should be avoided,

this body of law encourages the use of creativity to achieve the desired, equitable result.

         50.    A relevant example of appropriate creativity can be found in Bowles v. Washington

Dep't of Ret. Sys., 121 Wash. 2d 52, 847 P.2d 440 (1993), another pension fund case in which

benefits were to be paid out in the future.4 After finding that “the estimated present value of the




4
 Unsurprisingly, I have not found another case in which, like Bowles, an entity was required to
pay attorneys’ fees in the present and to recoup the cost from payments to be made to class
members in the future. Few class actions are tried to judgments and parties usually provide for the
payment of fees by agreement when these cases settle. This litigation is one of the few in which
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class recovery was approximately $18.8 million,” the trial judge “awarded $1.5 million in attorney

fees to the plaintiffs' attorneys under the equitable ‘common fund/common benefit’ theory.”

Id.,121 Wash. 2d at 60-61, 847 P.2d at 444. The judge also “required the [defendant] to

immediately pay the attorney fees” and to recoup the cost from class members by applying pro

rata deductions to their benefit increases. Id. By this means, the cost of legal services would be

spread across all class members in proportion to their gains, and the defendant would merely be a

conduit through which dollars were routed from the beneficiaries to their attorneys.

         51.   On appeal, the Supreme Court of Washington affirmed. It found that the trial judge

properly used the percentage method when setting the fee; that, at 8 percent of the recovery, the

fee was far from excessive; and that the order to pay the fees upfront was proper even though the

valuation of the recovery at $18.8 million was only an estimate. Id., 121 Wash. 2d at 73-74, 847

P.2d at 451-52. The court found no reason to doubt the accuracy of the estimate, which “was

performed by the Office of the State Actuary.” Id., 121 Wash.2d at 74, 847 P.2d at 452.5

         52.   Here, as mentioned, the present value of the settlement is disputed. The Treasurer

has offered the estimate of $47.6 million, an amount that Class Counsel believe is overly

conservative. Class Counsel argue that the value is considerably higher: as much as $27 million

more because the estimate for the 23(b)(2) class is likely understated by that amount. As an expert,

I cannot take a position on a disputed fact but I can say two things.




the parties have settled the merits portion of the case while continuing to dispute the amount and
manner of paying the class’s attorneys.
5
 The holding in Bowles was subsequently applied in Lyzanchuk v. Yakima Ranches Owners Ass'n,
Phase II, Inc., 73 Wash. App. 1, 8, 866 P.2d 695, 699 (1994) (“Whether th[e] fund was
immediately available or will be available at a reasonable future time is immaterial to the award
of attorney fees based on the common fund theory.”) (citing Bowles, 121 Wash.2d at 70-71, 847
P.2d at 440).

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         53.   First, the Treasurer is not at risk of being prejudiced by an estimate that turns out

to be too high because fees are to be paid out of the UPTF, the money in which is owned by the

Class Members, not the Treasurer. Paying the fees out of the UPTF will achieve the restitutionary

objective, which is to spread litigation costs across the pool of beneficiaries, which, I note here,

includes Future Claimants as well as Class Members.6

         54.   Second, any harm that Class Members may suffer if the estimated value of the

recovery turns out to be too high will be de minimis. For example, suppose that the estimated sum

of interest payments exceeds the actual sum by $500,000 and that the Court awards a 20 percent

contingent fee. The fee award would then be off by $100,000. Given the number of properties in

the UPTF, which Class Counsel informed me was 27,310,863 in June of 2019, the overpayment

per property would be less than a penny ($100,000/27,310,863 = 0.004). An error this trivial can

safely be ignored.

VIII. THE PROPOSED SETTLEMENT ELIMINATES THE TREASURER’S
      LIABILITY FOR A STATUTORY AWARD OF ATTORNEYS’ FEES

         55.   When plaintiffs sue under 42 U.S.C. § 1983 and prevail, 42 U.S.C. § 1988 entitles

them to recover attorneys’ fees. Because courts use the lodestar method, not the market-based

approach, when sizing statutory fee awards, these awards tend to be smaller than common fund

awards. Consequently, a question arises: Can class counsel receive a common fund award that

exceeds a statutory award in size? (This question concerns only the (b)(2) class, as the (b)(3) class

has no claim for damages under § 1983 and, therefore, no right to a fee award under § 1988.)




6
  Future Claimants will benefit on the same terms as Class Members unless and until the State
adopts a less generous interest rate formula. Even then, however, they will still benefit from the
litigation because the Treasurer will pay some amount of interest per property.

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         56.    The Seventh Circuit answered this question affirmatively in Florin v. Nationsbank

of Georgia, N.A., 34 F.3d 560 (7th Cir. 1994). Florin was an ERISA case the settlement of which

created a common fund.        Because ERISA contains a fee-shifting provision, the question

concerning class counsel’s entitlement arose straightforwardly. Quoting Skelton v. General

Motors Corp., 860 F.2d 250, 257 (7th Cir.1988), cert. denied, 493 U.S. 810 (1989), the court ruled

that “‘when a settlement fund is created in exchange for release of the defendant's liability both

for damages and for statutory attorney’s fees, equitable fund principles must govern the court’s

award of the attorney's fees.’” Florin, 34 F.3d at 563. The supporting reason was that “an award

of fees from the settlement fund comports with the fee-shifting policy of enabling meritorious

plaintiffs who would not otherwise be able to afford to bring a lawsuit under ERISA, to pursue

their claims.” Id., at 564.

         57.    As in Florin, no statutory fee is available here because the settlement agreement

precludes one. To see why, one must know two things. First, losing parties, including settling

defendants, fund statutory awards. Second, the Agreement of Settlement frees the Treasurer from

having to spend the State’s money. Paragraph 3.2.5 provides that “[a]ny award of attorneys’ fees

or reimbursement of expenses shall be paid from the Unclaimed Property Trust Fund.” Because,

as the Court knows, the State owns none of the money in the UPTF but merely holds it in trust for

the property owners, State funds are no longer at risk and the possibility of shifting costs to

Defendant is closed.7 The settlement thus satisfies Florin’s requirement that a settlement release

a defendant’s liability for both damages and statutory fees.




7
 Defendant’s Liability Analysis Spreadsheet indicates that the UPTF includes approximately $900
million in assets classified as “unknown/aggregates.”

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         58.   Under the settlement, then, a common fund award is the only option. There is

nothing unusual about this. Many settlements include fee-waiver provisions, the use of which the

Supreme Court approved in Evans v. Jeff D., 475 U.S. 717 (1986). The limitation imposed by ¶

3.2.5 also makes sense. The object of a common fund award is to spread costs across beneficiaries

in proportion to their gains. Charging fees against the Fund will accomplish this.8

         59.   The only real question here, then, is how much Class Counsel should be paid, there

being no option other than to charge fees against the common fund. The answer to that question

is the market rate, as previously explained.

IX.      THE MARKET RATE FOR LEGAL SERVICES RANGES FROM ONE-THIRD
         TO 40 PERCENT OF THE RECOVERY

         A.    Market Rates Increasingly Dominate the Fee-Setting Process

         60.   In both scholarly works and expert reports written over decades, I have urged

judges to take guidance from the market for legal services when sizing fee awards. As mentioned,

more and more judges are embracing the “mimic the market” approach. They increasingly

understand “market rates, where available, are the ideal proxy for [class action lawyers’]

compensation.” Goldberger v. Integrated Resources, Inc., 209 F.3d 43 (2d Cir. 2000). It is hard

to do better than “ideal.”

         61.   Although only the Seventh Circuit currently mandates the exclusive use of market

rates, federal judges across the country recognize the superiority of this approach and use it often.


8
  To understand this point, one must first recognize that when bargaining over terms the Treasurer,
like any defendant, cared about the total cost of settling, not the division of the total between the
Class and its attorneys—a matter in which the Treasurer has no financial stake. For example, the
Treasurer would rationally be indifferent between paying $1 million to the Class and $200,000 to
Class Counsel—with both payments coming out of the UPTF—and $1.2 million to the Class from
which $200,000 would be withheld to pay Class Counsel’s fees. The Treasurer’s loss is the same
in either event. Under both arrangements, fees are spread across Class Members pro rata too.
Either $200,000 in fees is deducted from their payments or their payments are reduced by $200,000
(because the agreed interest rate is lower) and fees come out of the UPTF.
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Examples include Guevoura Fund Ltd. v. Sillerman, No. 1:15-CV-07192-CM, 2019 WL 6889901,

at *21 (S.D.N.Y. Dec. 18, 2019); In re TRS Recovery Servs., Inc. & Telecheck Servs., Inc., Fair

Debt Collection Practices Act (FDCPA) Litig., No. 2:13-MD-2426-DBH, 2016 WL 543137, at *9

(D. Me. Feb. 10, 2016); In re Capital One Tel. Consumer Prot. Act Litig., 80 F. Supp. 3d 781, 788

(N.D. Ill. 2015); In re Prudential Ins. Co. of Am. SGLI/VGLI Contract Litig., No. 3:10-CV-30163-

MAP, 2014 WL 6968424, at *6 (D. Mass. Dec. 9, 2014); In re New Motor Vehicles Canadian Exp.

Antitrust Litig., 842 F. Supp. 2d 346 (D. Me. 2012); In re Trans Union Corp. Privacy Litig., No.

00 C 4729, 2009 WL 4799954, at *9 (N.D. Ill. Dec. 9, 2009), order modified and remanded, 629

F.3d 741 (7th Cir. 2011); In re Cabletron Sys., Inc. Sec. Litig., 239 F.R.D. 30, 40 (D.N.H. 2006).

       62.     When awarding fees from the enormous settlement in Allapattah Servs., Inc. v.

Exxon Corp., 454 F. Supp. 2d 1185, 1203 (S.D. Fla. 2006), which exceeded $1 billion, the federal

district court judge “conclude[d] that the most appropriate way to establish a benchmark is by

reference to the market rate for a contingent fee in private commercial cases tried to judgment and

reviewed on appeal.” Anchoring the fee to the market rate avoids arbitrariness by providing an

objective basis for awarding a particular amount and also creates desirable incentives. It also

“create[s] incentives for the lawyer to get the most recovery for the class by the most efficient

manner (and penalize[s] the lawyer who fails to do so).” Nilsen v. York Cty., 400 F. Supp. 2d 266,

277–78 (D. Me. 2005) . See also In re Thirteen Appeals Arising out of the San Juan Dupont Plaza

Hotel Fire Litig., 56 F.3d 295, 307 (1st Cir.1995) (observing that the percentage-of-fund method

eliminates incentive to be inefficient, as inefficiency just reduces the lawyer's own recovery); and

Wal–Mart Stores, Inc. v. Visa U.S.A. Inc.,396 F.3d 96, 121 (2d Cir.2005) (the percentage method

“directly aligns the interests of the class and its counsel” and provides a powerful incentive for

efficiency and early resolution).



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       63.     State court judges see the wisdom of mimicking the market too. For example, in

Laffitte v. Robert Half Internat. Inc., 1 Cal. 5th 480, 376 P.3d 672 (2016), the Supreme Court of

California cited the desirability of approximating the market as a reason for permitting judges to

grant percentage-based fee awards from common funds.

       We join the overwhelming majority of federal and state courts in holding that when
       class action litigation establishes a monetary fund for the benefit of the class
       members, and the trial court in its equitable powers awards class counsel a fee out
       of that fund, the court may determine the amount of a reasonable fee by choosing
       an appropriate percentage of the fund created. The recognized advantages of the
       percentage method—including relative ease of calculation, alignment of incentives
       between counsel and the class, a better approximation of market conditions in a
       contingency case, and the encouragement it provides counsel to seek an early
       settlement and avoid unnecessarily prolonging the litigation … convince us the
       percentage method is a valuable tool that should not be denied our trial courts.

Laffitte, 1 Cal. 5th at 503, 376 P.3d at 686, (emphasis added) (citations omitted).

       64.     Judges use the market-based approach and methods that approximate market

conditions because they appreciate the importance of incentivizing lawyers properly and because

they want an objective basis for deciding how much lawyers will be paid. The two considerations–

incentives and objectivity–are linked. By taking guidance from the market, judges constrain their

discretion and thereby make lawyers’ incentives clearer and more reliable.

       B.      In Contingent Fee Litigation, Percentage-Based Compensation Predominates

       65.     Having established that market rates are “ideal” proxies, it remains to consider how

the market compensates plaintiffs’ attorneys. In this section and the next, I explain what I know

about this issue.

       66.     I start by noting that when clients hire lawyers to handle lawsuits on straight

contingency, the market sets lawyers’ compensation as percentages of claimants’ recoveries. Even

sophisticated business clients with complex, high-dollar legal matters use the percentage approach.




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        67.     Abundant evidence supports this contention. When two co-authors and I studied

hundreds of settled securities fraud class actions specifically looking for terms included in fee

agreements between lawyers and investors seeking to serve as lead plaintiffs, all the agreements

we found provided for contingent percentage fees. Is the Price Right, supra. No lead plaintiff

agreed to pay its lawyers by the hour; nor did any retain counsel on a lodestar-multiplier basis.

Contracting practices are the same in antitrust cases, as discussed below.

        68.     The finding that sophisticated businesses use contingent fee arrangements when

hiring lawyers to handle securities class actions was expected. Over the course of my academic

career, I have studied or participated in hundreds of class actions, many of which were led by

sophisticated business clients. To the best of my recollection, I have encountered only one in

which a lead plaintiff paid class counsel out of pocket; that case is more than 100 years old and

was decided before the common fund doctrine was well established. Even wealthy named

plaintiffs like prescription drug wholesalers and public pension funds that, in theory, could pay

lawyers by the hour have used contingent, percentage-based compensation arrangements instead.

Because percentage-based compensation arrangements dominate the market, courts should also

use them when awarding fees from common funds.

        69.     The market also favors fee percentages that are flat or that rise as recoveries

increase. Scales with percentages that decline at the margin are rarely employed. Professor John

C. Coffee, Jr., the country’s leading authority on class actions, made this point in a report filed in

the antitrust litigation relating to high fructose corn syrup.

        I am aware that “declining” percentage of the recovery fee formulas are used by
        some public pension funds, serving as lead plaintiffs in the securities class action
        context. However, I have never seen such a fee contract used in the antitrust
        context; nor, in any context, have I seen a large corporation negotiate such a
        contract (they have instead typically used straight percentage of the recovery
        formulas).

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Declaration of John C. Coffee, Jr., submitted in In re High Fructose Corn Syrup Antitrust

Litigation, M.D.L. 1087 (C.D. Ill. Oct. 7, 2004), ECF No. 1421, ¶ 22. My experience is similar to

Professor Coffee’s. I know of few instances in which large corporations used scales with declining

percentages when hiring attorneys.

       70.     In view of the rarity with which declining scales are used, the “mimic the market”

approach suggests that flat percentages and scales with percentages that rise at the margin create

better incentives. There is a sound economic rationale for this. Flat percentages and rising scales

reward plaintiffs’ attorneys for recovering higher dollars that are harder to obtain because they

demand a willingness on the part of counsel to proceed ever closer to trial, thereby increasing their

costs and exposing them to greater risk of loss. Flat percentages and percentages that increase

with the recovery encourage plaintiffs’ attorneys to shoulder the costs and risks that must be borne

when lawyers encourage clients to turn down inadequate settlements.

       C.      Sophisticated Clients Normally Pay Fees of 30 Percent to 40 Percent When
               Hiring Lawyers to Handle Commercial Lawsuits on Straight Contingency

       71.     Countless plaintiffs have hired lawyers on contingency to handle cases of diverse

types. Consequently, the market for legal services is a rich source of information about lawyers’

fees. In this section, I survey this evidence.

       72.     Before doing so, I wish to note that there is broad agreement that in most types of

plaintiff representations contingent fees range from 30 percent to 40 percent of the recovery, and

that higher fees prevail in litigation areas like medical malpractice and patents where costs and

risks are unusually great. See, e.g., George v. Acad. Mortg. Corp. (UT), 369 F. Supp. 3d 1356,

1382 (N.D. Ga. 2019) (“Plaintiffs request for approval of Class Counsel’s 33% fee falls within the

range of the private marketplace, where contingency-fee arrangements are often between 30 and

40 percent of any recovery”); and Leung v. XPO Logistics, Inc., 326 F.R.D. 185, 201 (N.D. Ill.


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2018) (“a typical contingency agreement in this circuit might range from 33% to 40% of

recovery”). The same range is known to prevail in high-dollar, non-class, commercial cases. See,

e.g., Kapolka v. Anchor Drilling Fluids USA, LLC, No. 2:18-CV-01007-NR, 2019 WL 5394751,

at *10 (W.D. Pa. Oct. 22, 2019); and Cook v. Rockwell Int'l Corp., No. 90-CV-00181-JLK, 2017

WL 5076498, at *2 (D. Colo. Apr. 28, 2017).

         73.   The point of surveying the evidence, then, is not to establish something new. It is

to show that what everyone already knows is correct. The market rate for contingent fee lawyers

generally ranges from 30 to 40 percent of clients’ recoveries, with 33 percent being especially

common.

         74.   We do not know as much about fees paid in large commercial lawsuits as we might.9

No publicly available database collects information about this sector of the market, and businesses

that sue as plaintiffs rarely reveal their fee agreements. Consequently, most of what is known is

drawn from anecdotal reports.10 That said, the evidence available on the use of contingent fees by

sophisticated clients shows that marginal percentages tend to be high.



9
  I have studied the costs insurance companies incur when defending liability suits. See Bernard
Black, David A. Hyman, Charles Silver and William M. Sage, Defense Costs and Insurer Reserves
in Medical Malpractice and Other Personal Injury Cases: Evidence from Texas, 1988-2004, 10
AM. L, & ECON, REV. 185 (2008). Unfortunately, this information sheds no light on the amounts
that businesses pay when acting as plaintiffs.
10
   Businesses sometimes use hybrid arrangements that combine guaranteed payments with
contingent bonuses. For example, when representing Caldera International, Inc. in a dispute with
IBM, Boies, Schiller & Flexner LLP billed two-thirds of its lawyers’ standard hourly rates and
stood to receive a contingent fee equal to 20 percent of the recovery. Letter from David Boies and
Stephen N. Zack to Darl McBride dated Feb. 26, 2003, available at
https://www.sec.gov/Archives/edgar/data/1102542/000110465903028046/a03-
6084_1ex99d1.htm (visited Aug. 23, 2020). According to Wikipedia, the damages sought in the
lawsuit initially totaled $1 billion, but were later increased to $3 billion, and then to $5 billion.
Wikipedia,      SCO      Group,      Inc.   v.    International    Business     Machines      Corp.,
https://en.wikipedia.org/wiki/SCO_Group,_Inc._v._International_Business_Machines_Corp.
(visited Aug. 23 , 2020).

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                 1.     Sophisticated Named Plaintiffs In Class Actions

       75.       Sophisticated business clients commonly agree to pay fees of 33 percent or greater

when serving as lead plaintiffs in class actions. Here are a few examples.

             •   In San Allen, Inc. v. Buehrer, Case No. CV-07-644950 (Ohio – Court of Common

                 Pleas), which settled for $420 million, seven businesses serving as named plaintiffs

                 signed retainer contracts in which they agreed to pay 33.3 percent of the gross

                 recovery obtained by settlement as fees, with a bump to 35 percent in the event of

                 an appeal. Expenses were to be reimbursed separately.

             •   In In re U.S. Foodservice, Inc. Pricing Litigation, Case No. 3:07-md-1894 (AWT)

                 (D. Ct.), a RICO class action that produced a $297 million settlement, both of the

                 businesses that served as named plaintiffs were represented by counsel in their fee

                 negotiations and both agreed that the fee award might be as high as 40 percent.

             •   In In re International Textile Group Merger Litigation, C.A. No. 2009-CP-23-3346

                 (Court of Common Pleas, Greenville County, South Carolina), which settled in

                 2013 for relief valued at about $81 million, five sophisticated investors serving as

                 named plaintiffs agreed to pay 35 percent of the gross class-wide recovery as fees,

                 with expenses to be separately reimbursed. (The fee was initially set at over 40

                 percent but was later bargained down to 35 percent.)

       76.       Similar rates prevail in antitrust class actions in which businesses participate as

plaintiffs. For example, I studied and prepared expert reports in a series of pharmaceutical cases

bought against manufacturers that engaged in pay-for-delay settlements to patent challenges. The

named plaintiffs in these cases were drug wholesalers. All were large companies, and several were

of Fortune 500 size or bigger. All also had in-house or outside counsel monitoring the litigations.



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The potential damages were enormous. In one case, King Drug Company of Florence, Inc. v.

Cephalon, Inc., No. 2:06-cv-1797-MSG (E.D. Pa. Oct. 8, 2015), the plaintiffs recovered over $500

million. In the series as a whole, they won more than $2 billion. In most of the cases, these

sophisticated businesses supported fees equal to one-third of the recovery. In one case, they

endorsed a fee of 30 percent and in another of 27.5 percent.

        77.     These cases were not exceptional. Professor Brian Fitzpatrick gathered information

on an even larger number of pharmaceutical antitrust cases—33 in all—that were resolved between

2003 and 2020. According to his forthcoming article, “the fee requests ranged from a fixed

percentage of 27.5% to a fixed percentage of one-third”; “one-third heavily dominated” the

sample”; and “the average was 32.85%.” And “in the vast majority of cases, one or more of these

corporate class members—often the biggest class members—came forward to voice affirmative

support for the fee request, and not a single one of these corporate class members objected to the

fee request in any of the 33 cases.” Brian T. Fitzpatrick, A Fiduciary Judge’s Guide to Awarding

Fees in Class Actions, 89 FORDHAM L. REV. 1151 (March 2021). Professor Fitzpatrick’s table of

cases appears in Appendix II.

        78.     In sum, when sophisticated business clients seek to recover money in risky

commercial lawsuits involving large stakes, they typically pay contingent fees ranging from 30

percent to 40 percent, with fees of 33 percent or more being promised in most cases. As well,

there is little variation in fee percentages across cases of different sizes.

                2.      Patent Cases

        79.     Now consider patent infringement cases, another context in which sophisticated

business clients often hire law firms on contingency. There are many anecdotal reports of high

percentages in this area. The most famous one relates to the dispute between NTP Inc. and

Research In Motion Ltd., the company that manufactures the Blackberry. NTP, the plaintiff,
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promised its law firm, Wiley Rein & Fielding (“WRF”), a 33⅓ percent contingent fee. When the

case settled for $612.5 million, WRF received more than $200 million in fees. Yuki Noguchi,

D.C. Law Firm’s Big BlackBerry Payday: Case Fees of More Than $200 Million Are Said to

Exceed Its 2004 Revenue, WASHINGTON POST, March 18, 2006, D03.

       80.     The fee percentage that WRF received is typical, as Professor David L. Schwartz

found when he interviewed 44 experienced patent lawyers and reviewed 42 contingent fee

agreements.

       There are two main ways of setting the fees for the contingent fee lawyer [in patent
       cases]: a graduated rate and a flat rate. Of the agreements using a flat fee reviewed
       for this Article, the mean rate was 38.6% of the recovery. The graduated rates
       typically set milestones such as “through close of fact discovery,” “through trial,”
       and “through appeal,” and tied rates to recovery dates. As the case continued, the
       lawyer’s percentage increased. Of the agreements reviewed for this Article that
       used graduated rates, the average percentage upon filing was 28% and the average
       through appeal was 40.2%.

David L. Schwartz, The Rise of Contingent Fee Representation in Patent Litigation, 64 ALA. L.

REV. 335, 360 (2012). In a case like this one that required the lawyers to bear significant litigation

and trial preparation hours and expenses with no guarantee of payment or reimbursement, a high

fixed percentage would apply.11




11
   Professor Schwartz’s findings are consistent with reports found in patent blogs, one of which
stated as follows.
       Contingent Fee Arrangements: In a contingent fee arrangement, the client does not
       pay any legal fees for the representation. Instead, the law firm only gets paid from
       damages obtained in a verdict or settlement. Typically, the law firm will receive
       between 33-50% of the recovered damages, depending on several factors. This is
       strictly a results-based system.
Matthew L. Cutler, Contingent Fee and Other Alternative Fee Arrangements for Patent Litigation,
HARNESS DICKEY, (JUNE 8, 2020), https://www.hdp.com/blog/2020/06/08/contingent-fee-and-
other-alternative-fee-arrangements-for-patent-litigation/.

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       81.     Clearly, in the segment of the market where sophisticated business clients hire

lawyers to litigate patent cases on contingency, successful lawyers earn sizeable premiums over

their normal hourly rates. The reason is obvious. When waging patent cases on contingency,

lawyers must incur large risks and high costs, so clients must promise them hefty returns. Patent

plaintiffs have the option of paying lawyers to represent them on an hourly basis, but still prefer a

contingency arrangement, even at 30-40 percent, to bearing the risks and costs of litigation

themselves.

               3.      Other Large Commercial Cases

       82.     Turning from patent lawsuits to business representations more generally, many

examples show that compensation tends to be a significant percentage of the recovery. A famous

case from the 1980’s involved the Texas law firm of Vinson & Elkins (“V&E”). ETSI Pipeline

Project (“EPP”) hired V&E to sue Burlington Northern Railroad and other defendants, alleging a

conspiracy on their part to prevent EPP from constructing a $3 billion coal slurry pipeline. V&E

took the case on contingency, “meaning that if it won, it would receive one-third of the settlement

and, if it lost, it would get nothing.” David Maraniss, Texas Law firm Passes Out $100 Million in

Bonuses,            WASHINGTON                POST,            Aug.             22,            1990,

https://www.washingtonpost.com/archive/politics/1990/08/22/texas-law-firm-passes-out-100-

million-in-bonuses/8714563b-10b8-4f85-b74a-1e918d030144/. After many years of litigation, a

series of settlements and a $1 billion judgment against a remaining defendant yielded a gross

recovery of $635 million, of which the firm received around $212 million in fees. Patricia M.

Hynes, Plaintiffs’ Class Action Attorneys Earn What They Get, 2 JOURNAL OF THE INSTITUTE FOR

THE STUDY OF LEGAL ETHICS, 243, 245 (1991). It bears emphasizing that the clients who made up

the plaintiffs’ consortium, Panhandle Eastern Corp., the Bechtel Group, Enron Corp., and K N



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Energy Inc., were sophisticated businesses with access to the best lawyers in the country. No claim

of undue influence by V&E can possibly be made.

        83.     The National Credit Union Administration’s (“NCUA”) experience in litigation

against securities underwriters provides a more recent example of contingent-fee terms that were

used successfully in large, related litigations.       After placing 5 corporate credit unions into

liquidation in 2010, NCUA filed 26 complaints in federal courts in New York, Kansas, and

California against 32 Wall Street securities firms and banks. To prosecute the complaints, which

centered on sales of investments in faulty residential mortgage-backed securities, NCUA retained

two outside law firms, Korein Tillery LLP and Kellogg, Hansen, Todd, Figel, & Frederick PLLC,

on a straight contingency basis. The original contract entitled the firms to 25 percent of the

recovery, net of expenses. As of June 30, 2017, the lawsuits had generated more than $5.1 billion

in recoveries on which NCUA had paid $1,214,634,208 in fees.12

        84.     When it retained outside counsel on contingency, NCUA knew that billions of

dollars were at stake. The failed corporate credit unions had sustained $16 billion in losses, and

NCUA’s objective was to recover as much of that amount as possible. It also knew that dozens of

defendants would be sued and that multiple settlements were possible. Even so, NCUA agreed to

pay a straight contingent percentage fee in the standard market range on all the recoveries. It

neither reduced the fees that were payable in later settlements in light of fees earned in earlier ones,



12
  The following documents provide information about NCUA’s fee arrangement and the
recoveries obtained in the litigations: Legal Services Agreement dated Sept. 1, 2009,
https://www.ncua.gov/services/Pages/freedom-of-information-act/legal-services-agreement.pdf;
National Credit Union Administration, Legal Recoveries from the Corporate Crisis,
https://www.ncua.gov/regulation-supervision/Pages/corporate-system-resolution/legal-
recoveries.aspx; Letter from the Office of the Inspector General, National Credit Union
Administration     to     the     Hon.      Darrell    E.      Issa,    Feb.      6,    2013,
https://www.ncua.gov/About/leadership/CO/OIG/Documents/OIG20130206IssaResponse.pdf.

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nor bargained for a percentage that declined as additional dollars flowed in, nor tied the lawyers’

compensation to the number of hours they expended.

       85.     In In re Merry-Go-Round Enterprises, Inc., 244 B.R. 327 (D. Md. 2000), the

bankruptcy trustee wanted to assert claims against Ernst & Young. He looked for counsel willing

to accept a declining scale of fee percentages, found no takers, and ultimately agreed to pay a law

firm a straight 40 percent of the recovery. Ernst & Young subsequently settled for $185 million,

at which point the law firm applied for $71.2 million in fees, 21 times its lodestar. The bankruptcy

judge granted the request, writing: “[v]iewed at the outset of this representation, with special

counsel advancing expenses on a contingency basis and facing the uncertainties and risks posed

by this representation, the 40% contingent fee was reasonable, necessary, and within a market

range.” Id. at 335.

       86.     Based on what lawyers who write about fee arrangements in business cases have

said, contingent fees of 33⅓ percent or more remain common. In 2011, The Advocate, a journal

produced by the Litigation Section of the State Bar of Texas, published a symposium entitled

“Commercial Law Developments and Doctrine.”             It included an article on alternative fee

arrangements, which reported typical contingent fee rates of 33 percent to 40 percent.

       A pure contingency fee arrangement is the most traditional alternative fee
       arrangement. In this scenario, a firm receives a fixed or scaled percentage of any
       recoveries in a lawsuit brought on behalf of the client as a plaintiff. Typically, the
       contingency is approximately 33%, with the client covering litigation expenses;
       however, firms can also share part or all of the expense risk with clients. Pure
       contingency fees, which are usually negotiated at approximately 40%, can be useful
       structures in cases where the plaintiff is seeking monetary or monetizable damages.
       They are also often appropriate when the client is an individual, start up, or
       corporation with limited resources to finance its litigation. Even large clients,
       however, appreciate the budget certainty and risk-sharing inherent in a contingent
       fee arrangement.

Trey Cox, Alternative Fee Arrangements: Partnering with Clients through Legal Risk Sharing, 66

THE ADVOCATE (TEXAS) 20 (2011).
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       87.       In sum, when seeking to recover money in class actions involving large stakes and

in commercial lawsuits, sophisticated business clients typically pay contingent fees ranging from

30 percent to 40 percent, with fees of 33 percent or more being promised in most cases.

X.     FEE AWARDS IN COMPARABLE CASES

       88.       In my experience, judges want to know how other courts have handled fees in

similar cases. Being familiar with empirical studies of fee awards, I can confidently report that

Class Counsel’s request for a fee equal to 20.3 percent of the monetary recovery falls below the

range that courts typically award.

       A.        ERISA Cases

       89.       When discussing the permissibility of basing a fee award on the estimated present

value of a payment stream, I analogized this lawsuit to ERISA cases in which benefits are also

often paid in the future. I therefore begin this discussion by focusing on fee awards in ERISA

class actions.

       90.       To show that judges have often awarded fees greatly in excess of 20.3 percent, I

begin by presenting a table of cases that resolved between 2010 and 2020 with fee awards equal

to one-third of the recovery.




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    TABLE 1. ERISA CLASS ACTIONS WITH FEE AWARDS EQUAL TO ONE-
    THIRD OF THE RECOVERY
                                      CASE                                     FEE %
    Cassell v. Vanderbilt Univ., No. 16-2086, Doc. 174 (M.D. Tenn. Oct. 22,
                                                                                33.33
    2019)
    Tussey v. ABB, Inc., No. 06-4305-NKL, Doc. 870 (W.D. Mo. August 16,
                                                                                33.33
    2019)
    Sims v. BB&T Corp., No. 15-1705, 2019 WL 1993519 (M.D. N.C. May
                                                                                33.33
    6, 2019)
    Clark v. Duke, No. 16-1044, 2019 WL 2579201 (M.D. N.C. June 24, 2019)       33.33
    Ramsey v. Philips N.A., No. 18-1099, Doc. 27 (S.D. Ill. Oct. 15, 2018)      33.33
    In re Northrop Grumman Corp. ERISA Litig., No. 06-6213, 2017 WL
                                                                                33.33
    9614818 (C.D. Cal. Oct. 24, 2017)
    Gordan v. Mass. Mut. Life Ins. Co., No. 13-30184, 2016 WL 11272044
                                                                                33.33
    (D. Mass. Nov. 3, 2016)
    Kruger v. Novant Health, Inc., No. 14-208, 2016 WL 6769066 (M.D.N.C.
                                                                                33.33
    Sept. 29, 2016)
    Spano v. Boeing Co., No. 06-743, 2016 WL 3791123 (S.D. Ill. Mar. 31,
                                                                                33.33
    2016)
    Abbott v Lockheed Martin Corp., No. 06-701, 2015 WL 4398475 (S.D.
                                                                                33.33
    Ill. July 17, 2015)
    Krueger v. Ameriprise Fin., Inc., No. 11-2781, 2015 WL 4246879 (D.
                                                                                33.33
    Minn. July 13, 2015)
    Beesley v. Int’l Paper Co., No. 06-703, 2014 WL 375432 (S.D. Ill. Jan. 31,
                                                                                33.33
    2014)
    Nolte v. Cigna Corp., No. 07-2046, 2013 WL 12242015 (C.D. Ill. Oct. 15,
                                                                                33.33
    2013)
    George v. Kraft Foods Global, Inc., Nos. 08-3899, 07-1713, 2012 WL
                                                                                33.33
    13089487 (N.D. Ill. June 26, 2012)
    Will v. Gen. Dynamics Corp., No. 06-698, 2010 WL 4818174 (S.D. Ill.
                                                                                33.33
    Nov. 22, 2010)
    Martin v. Caterpillar Inc., No. 07-1009, 2010 WL 11614985 (C.D. Ill.
                                                                                33.33
    Sept. 10, 2010)

       91.     Although their datasets tend to contain few ERISA cases, empirical studies of class

actions also support the conclusion that fee awards in excess of the one sought here are common.

The table below is reproduced from a study of class actions that settled from 2009 to 2013. As the

highlighted line shows, the mean and median fee awards were both 26 percent of the recovery.


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Source: Theodore Eisenberg, Geoffrey P. Miller & Roy Germano, Attorneys’ Fees in Class
Actions: 2009-2013, 92 N. Y.U. L. REV. 937 (2017).

       92.    The table below is from an exhaustive study of federal class actions that settled

2006-2007. It reports similar mean and median fee percentages for ERISA cases.




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             Source: Brian T. Fitzpatrick, An Empirical Study of Class Action
             Settlements and Their Fee Awards, 7 J. EMPIRICAL LEGAL STUD. 820
             (2010).

       93.      The preceding figures also show that, in percentage terms, fee awards in ERISA

cases are on par with those made in class actions of other types. Taking this as true, one can infer

that awards equal to or below 20.3 percent are exceedingly uncommon.

       94.      The figure below shows that distribution of awards by size of fee percentage

Professor Brian Fitzpatrick’s study of federal class actions. As is visually apparent, the awards

cluster in the 25 percent to 35 percent range. Cases with awards of 15 percent or less are

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uncommon. Because fee percentages are often smaller in cases with enormous recoveries, mega-

fund settlements likely dominate this group.




Source: Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and Their Fee
Awards, 7 J. EMPIRICAL LEGAL STUD. 820 (2010).

          B.    Cases with Comparable Recoveries

          95.   When one switches from subject matter to recovery size, the datasets become larger

and the finding that awards rarely fall at or below 20.3 percent becomes more robust. The figure

below, which reports results for antitrust class actions, comes from the 2018 Antitrust Annual

Report. Only when recoveries exceed $1 billion does the median fee award become comparable

to the percentage sought here. At all lower recovery levels, median awards are considerably

higher.




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Source: 2018 ANTITRUST ANNUAL REPORT, p.13, Fig. 12.

       96.     The same pattern of fee percentages is found in securities class actions. The figure

below appears in the 2020 edition of an annual report on class actions of this type produced by

NERA Economic Consulting. The relevant finding is that, for class actions with recoveries

ranging from 25 million to $100 million, the median fee award was 25 percent during the 2011-

2020 period.




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Source: Janeen McIntosh and Svetlana Starykh, RECENT TRENDS IN SECURITIES CLASS ACTION
LITIGATION: 2020 FULL-YEAR REVIEW (NERA 2021).

       97.     I know of no dataset that surveys fee awards in unclaimed property cases. But the

many studies I have reviewed all report that fee awards commonly exceed 20.4 percent in cases of

other types with similarly sized recoveries. I therefore infer that, by comparison to awards made

in other cases, Class Counsel’s request for 20.3 percent of the recovery is reasonable.

XI.    NO LODESTAR CROSS-CHECK IS ADVISABLE OR REQUIRED

       98.     Courts in other circuits sometimes sneak the lodestar method in the back door by

“crosschecking” the fee percentage they are inclined to award against class counsel’s lodestar. See

Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and Their Fee Awards, 7 J.

EMPIRICAL LEGAL STUD. 820, 833 (2010) (finding that 49 percent of courts consider the lodestar

when awarding fees with the percentage method); Theodore Eisenberg, Geoffrey Miller, and Roy

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Germano, Attorneys’ Fees in Class Actions: 2009-2013, 92 N.Y.U. L. REV. 937, 945 (2017)

(finding that courts used the percentage method with a lodestar crosscheck in 38 percent of the

cases and used the percentage method alone in 54 percent of them).

       99.     The additional effort that lodestar cross-checks entail may not be worth the bother,

however. Studying securities class actions, two coauthors and I found that “cross-checked fee

awards [did] not differ statistically from those based on the percentage method alone.” Lynn A.

Baker, Michael A. Perino, and Charles Silver, Is the Price Right? An Empirical Study of Fee-

Setting in Securities Class Actions, 115 COLUM. L. REV. 1371, 1417 (2015).

       100.    By applying cross-checks, judges also depart from the Seventh Circuit’s mandate

to mimic the market. To my knowledge, sophisticated clients never use the lodestar method—as

the primary fee formula or a cross-check—when they hire lawyers on contingency. They use the

percentage method alone. Consequently, courts wanting to mimic the market should do so too.

       101.    The Seventh Circuit upheld reliance on the percentage method in Williams. After

repeating the point it made years ago that “‘[p]rivate parties would never contract for [] an

arrangement [like the lodestar method with a capped multiplier], because it would eliminate

counsel’s incentive to press for” a higher settlement, the court upheld the district judge’s finding

“that a pure percentage fee approach best replicated the market for ERISA class action attorneys.”

Williams v. Rohm & Haas Pension Plan, 658 F.3d at 636 (quoting In re Synthroid Mktg. Litig.,

264 F.3d 712, 718 (7th Cir. 2001)). The district court judge considered the lawyers’ time and rates

but gave their lodestar minimal weight.

       102.    In Synthroid, the Seventh Circuit identified one of the lodestar method’s perverse

incentives: it can discourage lawyers from holding out for higher recoveries. It also causes

settlement delays, as lawyers engage in make-work so as to increase their hours, and encourages



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fraud, as lawyers report more hours than they actually expended. Both effects make judges’ jobs

harder. The contingent percentage method lends credibility to a lawyer’s opinion that a settlement

is reasonable because it encourages attorneys to maximize the value of class members’ claims.

The lodestar method has the opposite effect. Consequently, judges must examine settlements more

closely to fulfill their responsibilities under Federal Rule of Civil Procedure 23(e), which permits

them to approve only settlements that are reasonable. The lodestar method also turns judges into

bill auditors because lawyers statements may be unreliable. In my opinion, judges have more

valuable things to do with their time than review lawyers’ bill.

       103.    I could opine about the lodestar’s shortcomings at greater length, but I hope the

point has already been made. It is an inferior compensation arrangement. That is why clients

never use it. The market’s verdict is clear.

XII.   COMPENSATION

       104.    I have been compensated for the time I spent preparing this report.

XIII. CONCLUSION

       105.    Class Counsel’s request for a fee award in the amount of $9.5 million, which equals

20.3 percent of the conservative estimate of the value of the recovery, is reasonable because it is

below the market rate and compares favorably to awards in other cases.



       I declare under penalty of perjury of the laws of the United States that the foregoing is true

and correct. Executed this 17th day of September 2021, at Austin, Texas.




                                                               CHARLES SILVER


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